     Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 1 of 131 PageID #:1




                       UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION


SYSCO CORPORATION

              Plaintiff,
v.                                          Case No.: 18-cv-700

TYSON FOODS, INC.; TYSON CHICKEN,
INC.; TYSON BREEDERS, INC.; TYSON           COMPLAINT
POULTRY, INC.; PILGRIM’S PRIDE
CORPORATION; KOCH FOODS, INC.;
JCG FOODS OF ALABAMA, LLC; JCG
FOODS OF GEORGIA, LLC; KOCH MEAT
CO., INC.; SANDERSON FARMS, INC.;           Jury Trial Demanded
SANDERSON FARMS, INC. (FOOD
DIVISION); SANDERSON FARMS, INC.
(PRODUCTION DIVISION); SANDERSON
FARMS, INC. (PROCESSING DIVISION);
HOUSE OF RAEFORD FARMS, INC.;
MAR-JAC POULTRY, INC.; PERDUE
FARMS, INC.; PERDUE FOODS, LLC;
WAYNE FARMS, LLC; FIELDALE
FARMS CORPORATION; GEORGE’S,
INC.; GEORGE’S FARMS, INC.;
SIMMONS FOODS, INC.; SIMMONS
PREPARED FOODS, INC.; O.K. FOODS,
INC.; O.K. FARMS, INC.; O.K.
INDUSTRIES, INC.; PECO FOODS, INC.;
HARRISON POULTRY, INC.; FOSTER
FARMS, LLC; FOSTER POULTRY
FARMS; CLAXTON POULTRY FARMS,
INC.; MOUNTAIRE FARMS, INC.;
MOUNTAIRE FARMS, LLC;
MOUNTAIRE FARMS OF DELAWARE,
INC.; and AGRI STATS, INC.,

              Defendants.
         Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 2 of 131 PageID #:2




I.      NATURE OF THE ACTION ...................................................................................................1
     A. Defendants illegally agreed to curtail the supply of chicken. ...............................................1
     B. Defendants illegally agreed to manipulate and artificially inflate the Georgia Dock. ..........5
II. PARTIES ..................................................................................................................................8
     A. Plaintiff .................................................................................................................................8
     B. Defendants ............................................................................................................................8
        (i)       The Tyson Defendants ...................................................................................................8
        (ii)      Pilgrim’s Pride Corporation...........................................................................................9
        (iii)     The Koch Defendants ....................................................................................................9
        (iv)      The Sanderson Farms Defendants ...............................................................................10
        (v)       House of Raeford Farms, Inc. ......................................................................................11
        (vi)      Mar-Jac Poultry, Inc. ...................................................................................................11
        (vii)     The Perdue Defendants ................................................................................................12
        (viii) Wayne Farms, LLC .....................................................................................................12
        (ix)      Fieldale Farms Corporation .........................................................................................13
        (x)       The George’s Defendants ............................................................................................13
        (xi)      Simmons Foods ...........................................................................................................13
        (xii)     The O.K. Foods Defendants ........................................................................................14
        (xiii) Peco Foods, Inc............................................................................................................14
        (xiv) Harrison Poultry, Inc. ..................................................................................................15
        (xv)      Foster Farms ................................................................................................................15
        (xvi) Claxton Poultry Farms, Inc. .........................................................................................15
        (xvii) The Mountaire Farms Defendants ...............................................................................16
        (xviii) Agri Stats .....................................................................................................................17
III.       JURISDICTION AND VENUE .........................................................................................18
IV.        TRADE AND COMMERCE..............................................................................................19
     A. Background on the Broiler Chicken Market .......................................................................19
     B. The United States Broiler Market Is A National Market Comprising Tens of Billions
     of Dollars’ Worth of Annual Sales ................................................................................................20
V. FACTUAL ALLEGATIONS REGARDING DEFENDANTS’ ILLEGAL
CONSPIRACY ..............................................................................................................................22
     A. Overview of Defendants’ Illegal Conspiracy .....................................................................22

                                                                          i
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 3 of 131 PageID #:3




B. Agri Stats Participated In, and Actively Facilitated, Defendants’ Communications
Among Themselves, and Provided Data Necessary to Effectuate, Monitor and Enforce
the Conspiracy ............................................................................................................................25
C. Agri Stats’ Detailed Reports Enable Defendants to Accurately Assess and Monitor
their Competitors’ Production Levels and Breeder Flocks ........................................................32
   (i)       Agri Stats’ Critical Role in the Chicken Industry........................................................35
   (ii)   Defendants’ Public Statements Show the Relevance of Agri Stats’
   Data to their Collective Efforts to Cut Production .................................................................38
D. Defendants’ Conspiracy Artificially Increased and Maintained Chicken Prices ................41
   (i)       The State of the U.S. Chicken Market in 2007. ...........................................................41
   (ii)  Defendants Depart from Historical Practice by Collectively Reducing
   Breeder Flocks in Unprecedented Amounts Beginning in 2008 ............................................43
   (iii)     Collusively Manipulating the Georgia Dock Benchmark Price Index .......................79
E. The Structure and Characteristics of the Chicken Market Make It Highly
Susceptible to Collusion .............................................................................................................93
   (i)       Highly-Concentrated Market with Vertically-Integrated Producers ...........................93
   (ii) The Market For Broilers Is Characterized By Inelastic Supply And
   Demand ...................................................................................................................................97
   (iii)     There Are No Significant Substitutes For Broiler Chickens .......................................98
   (iv) The Broiler Industry Has Experienced High Consolidation And Is
   Highly Concentrated ...............................................................................................................98
   (v)   The Broiler Industry Has A History of Government Investigations And
   Collusive Actions..................................................................................................................101
   (vi) Existence of Numerous Trade Associations and Access to Competitors’
   Data through Agri Stats ........................................................................................................103
   (vii)     High Barriers to Entry. ..............................................................................................108
   (viii) Defendants Have Similar Cost Structures And Work Collaboratively
   To Share Cost Information ...................................................................................................111
F. Defendants Collusively Adopted Additional Strategies to Reinforce Their
Conspiracy................................................................................................................................113
   (i)       A Collective Shift Away from Long-Term Fixed-Price Contracts ...........................113
   (ii)      Inter-Defendant Sales ................................................................................................115
   (iii)     Atypical Increases in Defendants’ Exporting of Chickens ........................................116
G. The Statute of Limitations Does Not Bar Plaintiff’s Claims ............................................118
   (i)   Plaintiff Did Not Discover (and Could Not Have Discovered) the
   Conspiracy Until 2016 ..........................................................................................................118

                                                                    ii
        Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 4 of 131 PageID #:4




       (ii)     Defendants Actively Concealed Their Conspiracy ...................................................119
       (iii) Plaintiff’s Claims Were Tolled By the Direct Purchaser Class Action
       Complaint Filed in 2016 .......................................................................................................122
VI.       ANTITRUST IMPACT ....................................................................................................123
VII.      CLAIMS FOR RELIEF AND CAUSES OF ACTION ....................................................123
PRAYER FOR RELIEF ..............................................................................................................125
JURY DEMAND .........................................................................................................................126




                                                                   iii
      Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 5 of 131 PageID #:5




        Plaintiff Sysco Corporation (“Plaintiff” or “Sysco”) brings this action against the

Defendants identified below under the federal antitrust laws for Defendants’ illegal conspiracy

which increased the prices of chicken sold in the United States. Plaintiff demands a trial by jury

in which it will seek treble damages from Defendants, which are jointly and severally liable, for

its purchases of chicken from at least as early as 2008 through at least as late as 2016.

      I.     NATURE OF THE ACTION

        1.          This is a case about how a group of America’s chicken producers reached illegal

agreements and restrained trade beginning at least as early as 2008 through at least as late as

2016 (generally referred to herein as the “relevant period”). Through those illegal agreements,

Defendants successfully implemented supracompetitive chicken prices to Sysco and other

purchasers throughout the United States.

        2.          Defendants’ restraint of trade was primarily implemented through two

mechanisms. The first focused on the beginning of the distribution chain by reducing the supply

of broiler chickens into the market. The second focused on the end of the distribution chain by

through (among other things) price index manipulation with respect to wholesale chicken prices

for buyers such as Plaintiff, which purchased affected products directly from the Defendants and

their affiliates.

        3.          One of the participants in the alleged conspiracy, Defendant Fieldale Farms, has

already agreed to pay $2.25 million to settle claims by a putative class of direct purchasers

alleging that it participated in this conspiracy. And the Antitrust Section of the Florida Attorney

General’s office is currently investigating the industry for anticompetitive practices.

        A.          Defendants illegally agreed to curtail the supply of chicken.

        4.          Broiler chickens constitute approximately 98% of all chicken meat sold in the

United States. Defendants are the leading suppliers of chicken in an industry with over $30
                                                  1
     Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 6 of 131 PageID #:6




billion in annual wholesale revenue, and control approximately 90% of the wholesale chicken

market. The industry is highly concentrated, with a small number of large producers in the

United States controlling supply.

       5.      One aspect of Defendants’ scheme curtailed the supply of chickens in the market

via unprecedented cuts at the top of the supply chain in the form of jointly and collusively

reducing “breeder flocks” that produce chickens ultimately slaughtered for meat consumption.

Historically, when faced with low market prices, Defendants relied primarily on mechanisms that

temporarily reduced production—at the middle or end of the supply chain, such as reducing eggs

placements, killing newly-hatched chicks, or idling processing plants—but which still allowed

them to ramp up production within weeks if chicken prices rose.

       6.      Historically, the chicken industry was marked by boom and bust cycles where, in

response to rising prices, producers increased production, which caused an oversupply and

resulting decrease in pricing. However, that market pattern changed markedly in 2008. By their

wrongful conduct as alleged in this complaint, Defendants not only materially reduced or

eliminated the historical boom and bust cycle of the chicken industry, they propped up chicken

prices during periods of rapidly falling input costs by, among other means, coordinating supply

restrictions and manipulating one or more Broiler price indices.

       7.      The historic pattern of annual increases in chicken production became so

entrenched over decades of experience that by the 2000s, a widely-repeated industry quip was

that life only held three certainties: death, taxes, “and 3% more broilers.” A leading industry

publication noted in early 2009 that chicken “production in the U.S. used to be just like

government spending, it never went down and cutbacks only resulted in slowing the rate of

growth, but not anymore,” because for “the first time in decades, total broiler production in 2008



                                              2
     Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 7 of 131 PageID #:7




remained virtually unchanged from the year before. WATT PoultryUSA 2008 rankings data show

the industry’s total weekly ready-to-cook (RTC) production at 724.05 million pounds, just

slightly more than the 723.71 million RTC pounds per week reported at the end of 2007.”

       8.      In 2008, faced with cratering prices and anemic profits, Defendants collectively

began cutting their ability to ramp up production by materially reducing their breeder flocks.

While in the past, Defendants undertook traditional, short-term production cuts, this was a

significant shift in their behavior.   Defendants’ collective market-changing cuts to breeder

flocks—a first round from 2008 to early 2009, and a subsequent round from 2011 to 2012 as the

conspiracy continued into the current decade—effectively eliminated their ability to

meaningfully increase supply for years.

       9.      Defendants’ joint efforts to impose supply-side “discipline” included public

statements by their senior executives about a Defendant’s individual commitment to production

cuts as well as the importance of instituting and maintaining this “discipline” within the industry

as a whole. Defendants’ public statements on the need for, and benefits of, industry-wide supply

“discipline” marked a significant departure from past industry practice.

       10.     Defendants’ coordinated output restriction scheme was successfully facilitated by,

monitored and policed using reports purchased, at significant cost, from Defendant Agri Stats,

Inc. (“Agri Stats”), which in 2013 became a subsidiary of global pharmaceutical company Eli

Lilly & Co. Agri Stats collects detailed, proprietary data from all Defendants, including housing

used, breed of chicks, average size, and production and breeder flock levels. Although certain

Defendants had used Agri Stats before 2008, the output-restriction part of Defendants’

conspiracy began when Defendant Tyson Foods—which had stopped using Agri Stats sometime

in the mid-2000s—became a subscriber again in early 2008.



                                               3
     Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 8 of 131 PageID #:8




       11.     While the Agri Stats reports superficially “anonymize” individual producer

information, they are sufficiently detailed so that any reasonably informed producer may discern

the identity of its competitors’ information, including breeder flocks, and other production,

capacity and cost data. Agri Stats, as detailed below, plays both a unique role in the chicken

industry and an important role in the conspiracy alleged here, by willfully enabling Defendants

to know what each of them were doing in furtherance of the concerted action among the

producers.

       12.     The information available to Defendants in these Agri Stats reports is not the kind

of information that, in a competitive market, would be disclosed by one competitor to another.

Agri Stats reports include individual lines (sometimes called “rows”) of facility-level data for

over 100 of Defendants’ chicken integrated production facilities. Most of these vast facilities,

referred to as “complexes,” include housing for Defendants’ breeder flocks and hatcheries where

breeder flock hens lay the eggs that will ultimately become the chickens sold to the market.

       13.     The Agri Stats reports identify each complex with unique numbers, including a

coding system identifying the region and sub-region, for each chicken complex, with the cover

pages of each sub-regional report identifying by name the companies whose complexes are

covered in the report itself. For example, “Region 20” includes “Sub-Region 21 – Upper Mid

Atlantic,” identifying, with a unique number, sixteen chicken complexes, including four Tyson

complexes, four Perdue complexes, three Mountaire complexes, two Pilgrim’s Pride complexes,

and one George’s complex.1




1
  Agri Stats reports also include specific data for Defendants’ chicken complexes (listed by
producer and location) in: North Carolina (“Sub-Region 22”); Northern Georgia and Tennessee
(“Sub-Region 31”); Southern Georgia, Florida and South Carolina (“Sub-Region 32”); Alabama
and Mississippi (sub-regions 41 and 42); lower Arkansas, Louisiana and Texas (“Sub-Region
                                              4
     Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 9 of 131 PageID #:9




          14.       Agri Stats’ reports are not publicly available and Defendants closely guard from

those outside the industry the reports’ contents and the degree of Defendants’ participation in

Agri Stats’ data-gathering and data-dissemination processes. But, Defendants have reported

detailed data to Agri Stats on a regular basis, typically weekly.

          15.       Agri Stats both facilitated and participated in the conspiracy because, among other

things:

                   Agri Stats’ coding system enabled Defendants’ personnel to decipher, simply by
                    eyeballing the “rows” in a given report, the production, feed, sales and other
                    competitively-sensitive metrics of their competitors, many of whom had
                    complexes “right down the road from” each other in the same Agri Stats sub-
                    region;

                   Agri Stats’ regular meetings with each Defendant allowed Agri Stats to share
                    production information among the Defendants. For example, mid-level Tyson
                    personnel working at complexes in the Mid-Atlantic region were advised by their
                    complex managers about competitors’ production following quarterly meetings
                    between the Tyson complex managers and Agri Stats account managers; and

                   Agri Stats account managers created, for each of their Defendant customers, a
                    series of data compilations known as “books,” based on the competitively-
                    sensitive data that a particular Defendant had submitted to Agri Stats. On a
                    number of occasions, Agri Stats personnel sent copies of one Defendant’s
                    “books” to other Defendants.

          B.        Defendants illegally agreed to manipulate and artificially inflate the Georgia
                    Dock.

          16.       A second aspect of Defendants’ conspiracy to illegally increase and maintain

chicken prices was the manipulation and artificial inflation of prices on the “Georgia Dock,” a

widely used weekly benchmark price compiled and published by the Georgia Department of

Agriculture (the “GDA”). Unlike other price indices available to chicken buyers, the Georgia




51”); upper Arkansas and Missouri (“Sub-Region 52”); Kentucky, Ohio, Minnesota, Indiana and
Wisconsin (“Sub-Region 60”); and California and the Pacific Northwest (“Region 10)” (which is
composed solely of Defendant Foster Farms’ three complexes).
                                                   5
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 10 of 131 PageID #:10




Dock benchmark price is a self-reported number from a group of at least ten chicken producers

(Defendants Pilgrim’s Pride, Tyson, Fieldale Farms, Perdue, Sanderson Farms, Koch Foods,

Claxton Poultry, Harrison Poultry, Mar-Jac and Wayne Farms). Senior executives from eight of

the ten companies who participated in the Georgia Dock price submission prices (those ten

companies are herein referred to as the “Georgia Dock Defendants”) were members of a private

sector “Georgia Dock Advisory Board,” which played a role in the compilation and manipulation

of the Georgia Dock benchmark price.

       17.     Following intense scrutiny—first in mid-2016 from the U.S. Department of

Agriculture (“USDA”), and then by the news media, which in late 2016 first revealed the easily

manipulated methodology used to create the Georgia Dock benchmark price—the GDA, on

November 28, 2016, suspended reporting it. The GDA considered implementing new price-

reporting requirements, including the submission of an affidavit by each Georgia Dock

Defendant vouching for the accuracy of their submitted price inputs. However, the Georgia

Dock Defendants balked at these new rules, so in late November 2016, the GDA stopped

publishing the Georgia Dock benchmark index altogether, citing a “lack of submissions” under

the new reporting requirements.

       18.     The November 23, 2016 Georgia Dock benchmark whole-bird price of

$1.0975/lb. was the last one reported by the GDA. The GDA later introduced the “Georgia

Premium Poultry Price Index,” which purported to be a more transparent, accurate, and verifiable

pricing mechanism—but abandoned the new index in February 2017 due to a lack of

participation by chicken producers. The Antitrust Section of the Florida Attorney General’s

office is currently investigating the chicken industry for anticompetitive practices, including the

manipulation of the Georgia Dock.



                                               6
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 11 of 131 PageID #:11




       19.     Defendants’ conduct has led to public reports of Defendants’ anticompetitive

behavior. For instance, stock market analysis service Seeking Alpha reported in November

2016, in an article titled “Evidence Of Chicken Price Manipulation: The Curious Case Of The

Georgia Dock,” that the chicken companies (including Pilgrim’s Pride, Tyson, and Sanderson)

“may be manipulating the Georgia Dock price index in order to receive a much higher price than

real market prices.” Seeking Alpha noted that Defendants’ conduct surrounding this price index

manipulation “has accounted for >100% of earnings for pure-play chicken companies recently.”

So serious is this alleged illegal conduct that Seeking Alpha projected “60% downside for

[Pilgrim’s Pride], 40% downside for [Sanderson], 40% downside for [Tyson]” upon correction of

their behavior, before any “potential penalties.” The result of the “potential LIBOR-rigging type

scandal,” Seeking Alpha reported, was that “US consumers have been over-charged for chicken

by more than $3 billion per year” and that major chicken producers were “significantly over-

earning as a result of what may be a manipulated price index.”

       20.     Defendants’ conspiracy was instigated in a market with numerous characteristics

making it highly susceptible to collusion, including: (a) a highly-concentrated market dominated

by vertically-integrated producers; (b) high barriers to market entry; (c) a standardized,

commodity product where competition is based principally on price; (d) inelastic demand for the

product; (e) numerous opportunities for producers to conspire through a number of regularly

scheduled trade association meetings; and (f) access to competitors’ data through Agri Stats.

Indeed, the chicken industry has the hallmarks of an industry susceptible to collusion, including

high consolidation, predictable demand in a commodity market, and routine, public display of

prices to deter cheating.




                                              7
   Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 12 of 131 PageID #:12




    II.      PARTIES

       A.      Plaintiff

       21.     Plaintiff Sysco Corporation is a Delaware corporation with its principal place of

business in Houston, Texas. Sysco is one of the leading marketers and distributors of food

products and food services throughout the United States. From 2008 through 2016, Sysco

purchased chicken at artificially inflated prices directly from various Defendants, and their

affiliates and co-conspirators, and suffered injury to its business or property as a direct or

proximate result of Defendants’ wrongful conduct.

       B.      Defendants

               (i)     The Tyson Defendants

       22.     Defendant Tyson Foods, Inc. is a publicly held Delaware corporation

headquartered in Springdale, Arkansas.

       23.     Defendant Tyson Chicken, Inc., a Delaware corporation headquartered in

Springdale, Arkansas, is a wholly owned subsidiary of Defendant Tyson Foods, Inc.

       24.     Defendant Tyson Breeders, Inc., a Delaware corporation headquartered in

Springdale, Arkansas, is a wholly owned subsidiary of Defendant Tyson Foods, Inc.

       25.     Defendant Tyson Poultry, Inc., a Delaware corporation headquartered in

Springdale, Arkansas, is a wholly owned subsidiary of Defendant Tyson Foods, Inc.

       26.     Defendants Tyson Foods, Inc., Tyson Chicken, Inc., Tyson Breeders, Inc. and

Tyson Poultry, Inc. are collectively referred to as “Tyson” in this Complaint. Tyson reports a

wide variety of data to Agri Stats, including information about its breeder flocks and hatchery

capacity, and data for its complexes in Virginia, Pennsylvania, North Carolina, Georgia,

Alabama, Mississippi, Texas, Arkansas, Missouri, Indiana, Tennessee, and Kentucky. Until the

Georgia Dock benchmark price index stopped being published by the GDA in late November

                                              8
       Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 13 of 131 PageID #:13




2016, Tyson was one of the ten Defendants that submitted false and artificially inflated price

quotes to the GDA. One of its plant managers served on the Georgia Dock Advisory Board.

Tyson is a Georgia Dock Defendant.

                (ii)    Pilgrim’s Pride Corporation

          27.   Defendant Pilgrim’s Pride Corporation (“Pilgrim’s” or “Pilgrim’s Pride”) is a

publicly held Delaware corporation headquartered in Greeley, Colorado. Pilgrim’s Pride reports

a wide variety of data to Agri Stats, including information about its breeder flocks and hatchery

capacity, and data for its complexes in Virginia, West Virginia, North Carolina, Georgia,

Tennessee, Florida, South Carolina, Alabama, Texas, Arkansas, and Kentucky. Until the Georgia

Dock benchmark price index stopped being published by the GDA in late November 2016,

Pilgrim’s Pride was one of the ten Defendants that submitted false and artificially inflated price

quotes to the GDA. Its executive vice president of sales and operations served on the Georgia

Dock Advisory Board. Pilgrim’s Pride is a Georgia Dock Defendant.

          28.   Defendant Pilgrim’s Pride is liable for all conspiratorial acts undertaken while it

was in bankruptcy proceedings during 2009, and reentered, and reaffirmed its commitment to,

the conspiracy following its discharge from bankruptcy on December 29, 2009.

                (iii)   The Koch Defendants

          29.   Defendant Koch Foods, Inc. is a privately held Illinois corporation headquartered

in Park Ridge, Illinois.

          30.   Defendant JCG Foods of Alabama, LLC, an Alabama limited liability corporation

headquartered in Park Ridge, Illinois, is a wholly owned subsidiary of Defendant Koch Foods,

Inc.




                                               9
       Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 14 of 131 PageID #:14




          31.   Defendant JCG Foods of Georgia, LLC, a Georgia limited liability corporation

headquartered in Park Ridge, Illinois, is a wholly owned subsidiary of Defendant Koch Foods,

Inc.

          32.   Defendant Koch Meat Co., Inc., an Illinois corporation headquartered in Chicago,

is a wholly owned subsidiary of Defendant Koch Foods, Inc.

          33.   Defendants Koch Foods, Inc., JCG Foods of Alabama, LLC, JCG Foods of

Georgia, LLC and Koch Meat Co., Inc. are collectively referred to as “Koch” in this Complaint.

Koch reports a wide variety of data to Agri Stats, including information about its breeder flocks

and hatchery capacity, and data for its complexes in Georgia, Tennessee, and Alabama. Until the

Georgia Dock benchmark price index stopped being published by the GDA in late November

2016, Koch, through JCG Foods of Georgia, LLC, was one of the ten Defendants that submitted

false and artificially inflated price quotes to the GDA. Its vice-president of sales served on the

Georgia Dock Advisory Board. Koch is a Georgia Dock Defendant.

                (iv)   The Sanderson Farms Defendants

          34.   Defendant Sanderson Farms, Inc. is a publicly held Mississippi corporation

headquartered in Laurel, Mississippi.

          35.   Defendant Sanderson Farms, Inc. (Foods Division), a Mississippi corporation

headquartered in Laurel, Mississippi, is a wholly owned subsidiary of Defendant Sanderson

Farms, Inc.

          36.   Defendant Sanderson Farms, Inc. (Production Division), a Mississippi corporation

headquartered in Laurel, Mississippi, is a wholly owned subsidiary of Defendant Sanderson

Farms, Inc.




                                              10
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 15 of 131 PageID #:15




       37.     Defendant Sanderson Farms, Inc. (Processing Division), a Mississippi corporation

headquartered in Laurel, Mississippi, is a wholly owned subsidiary of Defendant Sanderson

Farms, Inc.

       38.     Defendants Sanderson Farms, Inc., Sanderson Farms, Inc. (Foods Division),

Sanderson Farms, Inc. (Production Division) and Sanderson Farms, Inc. (Processing Division)

are collectively referred to as “Sanderson Farms” in this Complaint. Sanderson reports a wide

variety of data to Agri Stats, including information about its breeder flocks and hatchery

capacity, and data for its complexes in Georgia, Mississippi, and Texas. Until the Georgia Dock

benchmark price index stopped being published by the GDA in late November 2016, Sanderson

Farms was one of the ten Defendants that submitted false and artificially inflated price quotes to

the GDA. Sanderson Farms is a Georgia Dock Defendant.

               (v)    House of Raeford Farms, Inc.

       39.     Defendant House of Raeford Farms, Inc. (“Raeford”) is a privately held North

Carolina corporation headquartered in Rose Hill, North Carolina. Raeford reports a wide variety

of data to Agri Stats, including information about its breeder flocks and hatchery capacity, and

data for its North Carolina and Louisiana complexes.

               (vi)   Mar-Jac Poultry, Inc.

       40.     Defendant Mar-Jac Poultry, Inc. (“Mar-Jac”) is a Delaware corporation

headquartered in Gainesville, Georgia. Mar-Jac reports a wide variety of data to Agri Stats,

including information about its breeder flocks and hatchery capacity, and data for its Gainesville,

Georgia complex. Until the Georgia Dock benchmark price index stopped being published by the

GDA in late November 2016, Mar-Jac was one of the ten Defendants that submitted false and

artificially inflated price quotes to the GDA. Its vice president of operations served on the

Georgia Dock Advisory Board. Mar-Jac is a Georgia Dock Defendant.

                                               11
       Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 16 of 131 PageID #:16




                (vii)    The Perdue Defendants

          41.   Defendant Perdue Farms, Inc. is a privately held Maryland corporation

headquartered in Salisbury, Maryland.

          42.   Defendant Perdue Foods, LLC, a privately held Maryland limited liability

corporation headquartered in Salisbury, Maryland, is a subsidiary of Defendant Perdue Farms,

Inc.

          43.   Defendants Perdue Farms, Inc. and Perdue Foods, LLC are together referred to as

“Perdue” in this Complaint. Perdue reports a wide variety of data to Agri Stats, including

information about its breeder flocks and hatchery capacity, and data for its complexes in

Delaware, Maryland, North Carolina, South Carolina, Florida, and Kentucky. Until the Georgia

Dock benchmark price index stopped being published by the GDA in late November 2016,

Perdue was one of the ten Defendants that submitted false and artificially inflated price quotes to

the GDA. Perdue is a Georgia Dock Defendant.

                (viii)   Wayne Farms, LLC

          44.   Defendant Wayne Farms, LLC (“Wayne Farms”) is a Delaware limited liability

corporation headquartered in Oakwood, Georgia. Wayne Farms reports a wide variety of data to

Agri Stats, including information about its breeder flocks and hatchery capacity, and data for its

complexes in North Carolina, Georgia, Alabama, Mississippi, and Arkansas. Until the Georgia

Dock benchmark price index stopped being published by the GDA in late November 2016,

Wayne Farms was one of the ten Defendants that submitted false and artificially inflated price

quotes to the GDA. Its vice president of fresh sales served on the Georgia Dock Advisory

Board. Wayne Farms is a Georgia Dock Defendant.




                                                 12
   Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 17 of 131 PageID #:17




              (ix)      Fieldale Farms Corporation

       45.    Defendant Fieldale Farms Corporation (“Fieldale”) is a privately held Georgia

corporation headquartered in Baldwin, Georgia. Fieldale reports a wide variety of data to Agri

Stats, including information about its breeder flocks and hatchery capacity, and its Gainesville,

Georgia complex. Until the Georgia Dock benchmark price index stopped being published by the

GDA in late November 2016, Fieldale was one of the ten Defendants that submitted false and

artificially inflated price quotes to the GDA. Its owner and CEO also served on the Georgia

Dock Advisory Board. Fieldale is a Georgia Dock Defendant.

              (x)       The George’s Defendants

       46.    Defendant George’s Inc. is a privately held Arkansas corporation headquartered

in Springdale, Arkansas.

       47.    Defendant George’s Farms, Inc., is a privately held Arkansas corporation

headquartered in Springdale, Arkansas. It is a wholly owned subsidiary of George’s, Inc.

Defendants George’s Inc. and George’s Farms, Inc. are together referred to as “George’s” in this

Complaint. George’s reports a wide variety of data to Agri Stats, including information about its

breeder flocks and hatchery capacity, and data for its complexes in Harrisonburg, Virginia and

Springdale, Arkansas.

              (xi)      Simmons Foods

       48.    Defendant Simmons Foods, Inc. (“Simmons Foods”) is a privately held Arkansas

corporation headquartered in Siloam Springs, Arkansas. Simmons Foods reports a wide variety

of data to Agri Stats, including information about its breeder flocks and hatchery capacity, and

data for its two Siloam Springs, Arkansas complexes.

       49.    Simmons Prepared Foods, Inc. is a privately held Arkansas company

headquartered in Siloam Springs, Arkansas. Simmons Prepared Foods, Inc. is a wholly-owned

                                              13
   Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 18 of 131 PageID #:18




subsidiary of Simmons Foods, Inc. During the Class Period, Simmons Foods, Inc. exclusively

sold the chicken it produced to Simmons Prepared Foods, Inc., which in turn resold the chicken

in various forms to its customers. Simmons Prepared Foods, Inc. and/or its predecessors, wholly-

owned or controlled subsidiaries, or affiliates was engaged in the processing, distribution, sale,

pricing, and/or marketing of Broilers, directly or through its wholly-owned or controlled

affiliates, to purchasers in the United States. Defendants Simmons Foods, Inc. and Simmons

Prepared Foods, Inc. are collectively referred to as “Simmons” or “Simmons Foods.”

               (xii)   The O.K. Foods Defendants

       50.     Defendant O.K. Foods, Inc. is an Arkansas corporation headquartered in Fort

Smith, Arkansas.

       51.     O.K. Farms, Inc., an Arkansas corporation headquartered in Fort Smith, Arkansas,

is a wholly owned subsidiary of Defendant O.K. Foods, Inc.

       52.     O.K. Industries, Inc., an Arkansas corporation headquartered in Fort Smith,

Arkansas, is a wholly owned subsidiary of Defendant O.K. Foods, Inc.

       53.     Defendants O.K. Foods, Inc., O.K. Farms, Inc. and O.K. Industries, Inc. are

collectively referred to collectively as “O.K. Foods” in this Complaint. O.K. Foods, which

entities are subsidiaries of the Mexican poultry conglomerate Industrias Bachoco, reports a wide

variety of data to Agri Stats, including information about its breeder flocks and hatchery

capacity, and data for its Fort Smith, Arkansas complex.

               (xiii) Peco Foods, Inc.

       54.     Defendant Peco Foods, Inc. (“Peco Foods”) is a privately held Alabama

corporation headquartered in Tuscaloosa, Alabama. Peco Foods reports a wide variety of data to

Agri Stats, including information about its breeder flocks and hatchery capacity, and data for its

complexes in Gordo, Alabama and Sebastopol, Louisiana.

                                              14
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 19 of 131 PageID #:19




               (xiv)   Harrison Poultry, Inc.

       55.     Defendant Harrison Poultry, Inc. (“Harrison”) is a Georgia corporation

headquartered in Bethlehem, Georgia. Harrison reports a wide variety of data to Agri Stats,

including information about its breeder flocks and hatchery capacity, and data for its Bethlehem,

Georgia complex. Until the Georgia Dock benchmark price index stopped being published by the

GDA in late November 2016, Harrison was one of the ten Defendants that submitted false and

artificially inflated price quotes to the GDA. Its owner and CEO served on the Georgia Dock

Advisory Board. Harrison is a Georgia Dock Defendant.

               (xv)    Foster Farms

       56.     Defendant Foster Farms, LLC is a privately held California corporation

headquartered in Modesto, California. Foster reports a wide variety of data to Agri Stats,

including information about its breeder flocks and hatchery capacity, and data for its complexes

in Fresno, California, Livingston, California, and the Pacific Northwest.

       57.     Defendant Foster Poultry Farms is a privately held California corporation

headquartered in Livingston, California. Foster Poultry Farms is a related entity of Foster Farms,

LLC. During the Class Period, Foster Poultry Farms and/or its predecessors, wholly-owned or

controlled subsidiaries, or affiliates was engaged in the processing, distribution, sale, pricing,

and/or marketing of Broilers, directly or through its wholly-owned or controlled affiliates, to

purchasers in the United States. Defendants Foster Farms, LLC and Foster Poultry Farms are

collectively referred to as “Foster” or “Foster Farms.”

               (xvi)   Claxton Poultry Farms, Inc.

       58.     Defendant Claxton Poultry Farms, Inc. (“Claxton”) is a Georgia corporation

headquartered in Claxton, Georgia. Claxton reports to Agri Stats a wide variety of data,

including information about its breeder flocks and hatchery capacity and its Claxton, Georgia

                                                15
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 20 of 131 PageID #:20




complex. Until the Georgia Dock benchmark price stopped being published by the GDA in late

November 2016, Claxton was one of the ten Defendants that submitted false and artificially

inflated price quotes to the GDA. Its CEO also served on the Georgia Dock Advisory Board.

Claxton is a Georgia Dock Defendant.

               (xvii) The Mountaire Farms Defendants

       59.     Defendant Mountaire Farms, Inc. is a privately held Delaware corporation

headquartered in Millsboro, Delaware.

       60.     Defendant Mountaire Farms, LLC, a privately held Arkansas limited liability

corporation headquartered in Little Rock, Arkansas, is a wholly owned subsidiary of Defendant

Mountaire Farms, Inc.

       61.     Defendant Mountaire Farms of Delaware, Inc., a privately held Delaware

corporation headquartered in Millsboro, Delaware, is a wholly owned subsidiary of Defendant

Mountaire Farms, Inc.

       62.     Defendants Mountaire Farms, Inc., Mountaire Farms, LLC and Mountaire Farms

of Delaware, Inc. are collectively referred to as “Mountaire Farms” in this Complaint. Mountaire

reports a wide variety of data to Agri Stats, including information about its breeder flocks and

hatchery capacity, and data for its complexes in Delaware and North Carolina.

       63.     All of the above-named Defendants are collectively referred to as “Defendants” in

this Complaint. Defendants are horizontal competitors in the United States chicken market.

Defendants and their co-conspirators, directly and through their wholly owned or controlled

affiliates, produced and sold chicken throughout the United States, including in this District, at

prices that were artificially inflated as a result of their conspiracy alleged in this Complaint.

       64.     All of Defendants’ wrongful actions described in this Complaint are part of, and

in furtherance of, the unlawful conduct alleged herein, and were authorized, ordered, and/or
                                                 16
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 21 of 131 PageID #:21




engaged in by Defendants’ various officers, agents, employees, or other representatives within

the course and scope of their duties and employment, or with Defendants’ actual, apparent or

ostensible authority. Defendants used the instrumentalities of interstate commerce to facilitate

the conspiracy, and its conduct was within the flow of, was intended to, and did have, a

substantial effect on the interstate commerce of the U.S., including in this District.

                (xviii) Agri Stats

        65.     Defendant Agri Stats, Inc. (which is referred to in this Complaint as “Agri Stats”)

is an Indiana corporation headquartered in Fort Wayne, Indiana, and a subsidiary of Eli Lilly &

Co., a publicly-held Indiana corporation headquartered in Indianapolis.

        66.     Agri Stats is a co-conspirator of the Defendants, and has knowingly played an

important and active role in Defendants’ collusive scheme detailed in this Complaint. All of Agri

Stats’ wrongful actions described in this Complaint are part of, and in furtherance of, the

unlawful conduct alleged herein, and were authorized, ordered, or engaged in by Agri Stats’

various officers, agents, employers or other representatives while actively engaged in the

management and operation of Agri Stats’ business affairs within the course and scope of their

duties and employment, or with Agri Stats’ actual apparent or ostensible authority. Agri Stats

used the instrumentalities of interstate commerce to facilitate the conspiracy, and its conduct was

within the flow of, was intended to, and did have, a substantial effect on the interstate commerce

of the U.S., including in this District.

        67.     A representative from Agri Stats was elected to the board of the National Chicken

Council, one of the industry’s most important trade associations, in 2008 and 2010—two key

periods in the conspiracy alleged in this Complaint. Several Defendants, including Wayne Farms

and Pilgrim’s, also have hired former Agri Stats executives to work in senior sales positions, and

Agri Stats employs or has employed several former executives of the Defendants.
                                                17
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 22 of 131 PageID #:22




    III.      JURISDICTION AND VENUE

        68.      This action arises under Section 1 of the Sherman Act, 15 U.S.C. § 1, and Section

4 of the Clayton Act, 15 U.S.C. § 15(a), and seeks to recover treble damages, costs of suit, and

reasonable attorneys’ fees for the injuries sustained by Plaintiff resulting from Defendants’

conspiracy to restrain trade. The Court has subject matter jurisdiction under 28 U.S.C. §§ 1331,

1337(a), 1407, and 15 U.S.C. § 15.

        69.      Venue is proper in this District under 15 U.S.C. § 15(a), 15 U.S.C. § 22, and 28

U.S.C. §§ 1391(b) because during the relevant period, Defendants resided, transacted business,

were found, or had agents in this District, and because a substantial portion of Defendants’

alleged wrongful conduct affecting interstate trade and commerce was carried out in this District.

        70.      Defendants are amenable to service of process under Fed. R. Civ. P. 4(k)(1)(A)

and the Illinois long-arm statute 734 Ill. Comp. Stat. 5/2-209 because each Defendant has

transacted business in this state and because the Illinois long-arm statute extends jurisdiction to

the limits of Due Process, and each Defendant has sufficient minimum contacts with the state of

Illinois to satisfy Due Process.

        71.      This Court has personal jurisdiction over each Defendant because each Defendant

has transacted business, maintained substantial contacts, or committed overt acts in furtherance

of its illegal scheme and conspiracy throughout the U.S., including in this District. The alleged

scheme and conspiracy have been directed at, and had the intended effect of, causing injury to

persons and entities residing in, located in, or doing business throughout the U.S., including in

this District.

        72.      This Court also has personal jurisdiction over the Defendants because each of

them knew, or should have known, that because the Georgia Dock index price was used to price



                                                18
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 23 of 131 PageID #:23




chicken sold in Illinois and nationwide, their participation in the collusive manipulation of the

Georgia Dock would have effects on the price of chicken purchased in Illinois based on the

Georgia Dock benchmark. The alleged scheme and conspiracy have been directed at, and had the

intended effect of, causing injury to persons and entities residing in, located in, or doing business

in the state of Illinois.

    IV.       TRADE AND COMMERCE

        A.       Background on the Broiler Chicken Market

        73.      Broiler chicken (referred to either as “Broilers” or “chicken” in this complaint)

refers to chicken raised for meat consumption to be slaughtered before the age of 10–13 weeks.2

Broiler chicken can be sold fresh or frozen, raw or cooked, or whole or in parts, but as used in

this complaint the term excludes chicken grown, processed and sold according to halal, kosher,

free-range or organic standards. According to a 2012 report by Focus Management Group,

chicken “is a commodity product with little or no product differentiation based on the

processors,” and the CEO of defendant Pilgrim’s recently commented that “the chicken business

per se is a commodity business.” The commodity nature of chicken is evidenced by the fact that,

as detailed below, numerous Defendants have during the relevant time period purchased chicken

from each other (then likely resold it) to buttress their conspiracy by soaking up excess supply in

the market.

        74.      Typically, when a product is characterized as a commodity, competition is based

principally on price—as opposed to other attributes, such as product quality or customer service.




2
  On January 1, 2014, the USDA’s Food Safety and Inspection Service (“FSIS”) implemented a
final rule lowering the age definitions for broilers/fryers from 13 weeks to the current 10 weeks.
See 9 C.F.R. 381.170 (2014) (also noting that “FSIS is not establishing separate definitions for
‘broiler’ and ‘fryer’ chickens in this final rule”).
                                                19
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 24 of 131 PageID #:24




           75.   Chicken producers pay USDA graders to examine their chickens, and almost all

companies sell USDA Grade A chicken, meaning that there is very little differentiation amongst

sellers.

           76.   Due to the lack of product differentiation, Defendants are forced to compete on

price (absent collusion) such that the supply decisions of each chicken producer impact the

market price for chickens. While an individual producer often has the incentive to increase

production to maximize profits, any increased production will ultimately reduce the profitability

of the industry as a whole. Thus, the commodity nature of the product in the chicken industry

makes it easier to implement a price-fixing scheme and provides industry players with the

incentive to agree to reduce overall supply.

           77.   During the relevant period, Defendants collectively controlled nearly 90% of the

market for chicken in the United States. The chicken industry is almost entirely vertically

integrated, with producers (sometimes known as “integrators”) owning, or tightly controlling,

each of the six stages of the supply chain: breeding, hatching, chick-rearing and feeding,

slaughtering mature birds, processing, and selling. At the top of the supply chain are Defendants’

“breeder flocks,” which include the hens that lay the eggs that, when hatched, become chickens

slaughtered for meat consumption.

           B.    The United States Broiler Market Is A National Market Comprising Tens of
                 Billions of Dollars’ Worth of Annual Sales

           78.   According to the U.S. Poultry & Egg Association, the value of wholesale U.S.

Broilers produced in 2014 was $32.7 billion, up 6 percent from 2013. The market value varied

between $21.8 and $30.7 billion from 2008-2013.

           79.   There is a single national market for Broilers in the United States.   Prices for

Broilers sold in the United States are quoted in whole bird or disassembled parts, with


                                               20
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 25 of 131 PageID #:25




adjustments for transportation, product form (i.e., degree of processing or added value), and

packaging at the time of sale.

       80.     About 50-70% of Broilers are sold under contract with a customer, about 10-20%

are sold on the spot market, and roughly 17-20% are exported.

       81.     Exports of Broilers from the United States account for approximately 45% of all

United States meat exports. Broilers produced in the U.S. are exported to well over 100 different

countries, with the major export markets including Mexico, Canada, Hong Kong, and China.

Some of the exports from the United States include products less desirable to United States

consumers, such as chicken feet or dark meat, but exports also increasingly include white meats

and other products widely consumed in the United States.

       82.     Exports of Broilers from the United States have increased since 2007 both in

quantity and value. In 2006 exports constituted only 14.8% of U.S. exports and increased to

16.5% by 2007. But between 2008-2014 export levels were never lower than 18.5% of U.S.

production levels, dropping down to 16% in 2015 due to export bans by countries due to

Avian Flu concerns.

       83.     While this complaint does not seek damages for Broilers sold into export

commerce, Broilers exported from the United States decrease available supply and increase

Broiler prices in the United States. Therefore, exports by Defendants were a mechanism used by

Defendants to effect their United States-based Broiler market conspiracy.

       84.     The prices for certain of Defendants’ chicken sales were based on benchmark

price indices, including the Georgia Dock whole-bird price, which was one of three benchmark

price indices used by chicken buyers until early 2017.




                                              21
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 26 of 131 PageID #:26




        85.         Defendants’ conduct, as described in this Complaint, was within the flow of,

intended to, and did have a substantial effect on, the interstate commerce of the U.S., including

in this District.

        86.         During the relevant period, Defendants produced, sold and shipped chicken in a

continuous and uninterrupted flow of interstate commerce. The conspiracy in which Defendants

participated had a direct, substantial, and reasonably foreseeable effect on interstate commerce,

including commerce in Illinois.

        87.         During the relevant period, each Defendant, or one or more of its affiliates, used

the instrumentalities of interstate commerce to join or effectuate their conspiracy.

     V.       FACTUAL ALLEGATIONS                   REGARDING         DEFENDANTS’         ILLEGAL
              CONSPIRACY

        A.          Overview of Defendants’ Illegal Conspiracy

        88.         In 2007, Pilgrim’s and Tyson attempted to cut their production levels enough to

cause industry prices to rise. However, despite Pilgrim’s and Tyson’s combined 40% market

share, their production cuts in 2007 were not enough to increase prices through supply cuts

because other Broiler companies increased their production.

        89.         As a result, in January 2008 Pilgrim’s and Tyson changed tactics, seeking

broader cooperation among major producers in the Broiler industry to increase prices.              In

January 2008, both Pilgrim’s and Tyson stated to the chicken industry that neither Pilgrim’s

nor Tyson would continue to cut production. A few days after attending an industry event in

late January 2008, Tyson’s CEO announced Tyson would be raising prices because “we have no

choice [but] to raise prices substantially.”        A day later, a Pilgrim’s executive announced

publicly that Pilgrim’s would be cutting its production and “the rest [] of the market is going to

have to pick-up a fair share in order for the production to come out of the system.”


                                                   22
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 27 of 131 PageID #:27




       90.     The other Defendants soon joined Pilgrim’s and Tyson’s plan, making

substantial cuts to their own production.

       91.     Defendants went further, however, cutting their ability to ramp up production for

18 months or more by destroying breeder hens in their breeder flocks responsible for supplying

the eggs Defendants raise into chicken. This destruction of the breeder flock was unparalleled

and the consequences reverberated in the chicken industry for many years. Further, when some

Defendants in 2010 became “undisciplined” and began gradually increasing their production,

Defendants made a second wave of coordinated production cuts in 2011 and 2012, which

included further substantial destruction of industry breeder flocks.       Defendants continued to

limit the United States chicken supply in subsequent years by destroying eggs, relying upon one

another’s production to meet customer needs, and exporting excess breeder flocks to Mexico,

even when doing so was against their independent economic interest.

       92.     The consequence of Defendants’ cuts in 2008 and 2011-2012 has been a nearly

50% increase in wholesale chicken prices since 2008, by one measure, despite input costs

(primarily corn and soybeans) falling roughly 20% to 23% over the same time period. The rise

in chicken prices relative to input costs has led to record profits for Defendants.

       93.     To effectuate their conspiracy, Defendants turned to a modernized version of an

antitrust conspiracy in the chicken industry during the 1970s.            During the 1970s, major

chicken producers held a weekly conference call to discuss production levels and prices for

chicken. After the Department of Justice and civil antitrust plaintiffs sued, that practice was

suspended.

       94.     However, by January 2008, modern technology provided a way for Defendants to

share detailed production and pricing information and coordinate without industry-wide



                                                23
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 28 of 131 PageID #:28




conference calls. Producers now electronically transfer vast amounts of production data to

Agri Stats which, while supposedly anonymous, in fact provide Defendants with sufficient

detail to determine with reasonable accuracy producer-level data on production, cost, and

general efficiencies. This permits the Defendants to share, on a weekly and/or monthly basis,

their confidential production and pricing information, including forward-looking production

information, which is easily forecasted on Broiler breeder flock data that is reported and shared.

       95.     From late 2014 into 2016, chicken input costs fell significantly. Economic theory

predicts that in a competitive market, all else being equal, chicken prices similarly would fall.

However, prices remained artificially inflated due to the Defendants’ agreement to artificially

restrict production and their manipulation of the Georgia Dock Broiler price index, published

by the Georgia Department of Agriculture (“GDA”). The facts surrounding this episode were

unknown to Plaintiff and the public until November 2016, when it became public that the

United States Department of Agriculture (“USDA”) had requested in July 2016 that the

GDA investigate and verify the accuracy of the Broiler prices provided to the GDA by several

Defendants. When the GDA declined to do so, citing the industry’s and its own lack of

interest in verifying prices, USDA began publishing its own chicken price statistic.

       96.     “Plus factors” are economic actions and outcomes, above and beyond parallel

conduct by oligopolistic firms, that are generally inconsistent with unilateral conduct but largely

consistent with explicitly coordinated action. There are numerous “plus factors” in the chicken

industry during the relevant period including, but not limited to, the following: (a) extensive

information sharing through Agri Stats and other means, (b) numerous opportunities to collude

in a variety of forums, (c) a coordinated change from contracts with fixed chicken prices to

chicken prices that float with the chicken spot market, (d) inter-Defendant trades and purchases



                                               24
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 29 of 131 PageID #:29




that often are against independent self-interest, and (e) multiple industry characteristics which

facilitate collusion, such as high vertical integration, high barriers to entry, high industry

consolidation and concentration, inelastic supply and demand, a lack of significant substitutes

for chicken, and a history of government investigations and collusive conduct.

       97.     Defendants’ restriction of chicken supply had the purpose and effect of

increasing prices to Plaintiff and other purchasers nationwide. First, as Defendants themselves

acknowledge, supply and demand in the chicken industry are inelastic. Therefore, a coordinated

decrease in supply as alleged herein necessarily will result in an increase in prices. As one

industry consultant noted, “[b]ecause of the inelastic nature of the supply and demand a

reduction in supply will produce an outcome more preferable to the industry than maintaining

supply with a lower price.”

       98.     Second, as acknowledged by industry experts and Defendants themselves, pricing

in virtually all chicken sales is tied to spot market prices, which are publicly known and available

through industry price indices. For example, expert economist Dr. Colin A. Carter from the

University of California (Davis) has testified in another matter that documents indicate virtually

all chicken products, even if they’re not sold spot, are tied to the spot prices.

       99.     Defendants knew and intended that their coordinated limitation and reduction

in chicken supply would artificially increase all chicken prices—for spot market and contract

sales—above the level they would have been absent the conduct alleged herein.

       B.      Agri Stats Participated In, and Actively Facilitated, Defendants’
               Communications Among Themselves, and Provided Data Necessary to
               Effectuate, Monitor and Enforce the Conspiracy

       100.    The USDA and various other entities publish aggregated weekly, monthly, and

annual supply and pricing information concerning the U.S. chicken industry. But only Agri Stats

receives from individual Defendants, and then provides to all other Defendants, detailed
                                                25
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 30 of 131 PageID #:30




information to accurately determine producer-specific production, costs, and general efficiency.

Agri Stats collects and aggregates chicken industry data considerably more detailed than any

similar types of available reports, including the following data categories:

              Breeder flock size and age, hatchery capacity, and the costs associated with
               breeder flocks, including feed and housing expense;

              Data about the production, delivery and formulation of feed, including corn and
               soybean meal costs, which are two of Defendants’ most significant input costs;

              Grow-out information for chicken “flocks” provided to contract farmers,
               including the number of chickens placed, chick mortality by week and overall
               percentage, chick cost, days between flocks provided to contract farmers (i.e.,
               “down time”), feed conversion rate (pounds of feed per pound of chicken),
               average daily weight gain by chicks, live pounds produced per square foot of
               grower house, grower compensation, including average grower payment in cents
               per pound and cents per square foot, breed composition of flock (breed or cross-
               breed of flocks), detailed information on numerous mechanical aspects of chicken
               housing, and numerous other detailed cost, mortality, and operational information
               about disease, transportation, labor, and other grow out related information;

              Slaughter, processing, and further processing information, including pay for
               processing plant workers, total production volume, market age of chickens at
               slaughter, weight of chickens at slaughter, birds per man hour, processing line
               speeds, and labor hours per pound;

              Inventory levels of chickens; and

              Financial information, such as monthly operating profit per live pound, sales per
               live pound, and cost per live pound.

       101.    Agri Stats collects data from Defendants, audits and verifies the data, and

ultimately reports back to Defendants, detailed statistics on nearly every operating metric within

the industry, including the size and age of breeder flocks. Agri Stats’ survey methodology

involves direct electronic data submissions from—and to—Defendants of financial, production,

breeder flock size and age, capacity, cost, and numerous other categories of information by each

chicken producer on a weekly and monthly basis. At each of Defendants’ chicken complexes,




                                                26
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 31 of 131 PageID #:31




certain employees, typically in the accounting department, are responsible for submitting the data

to Agri Stats once a week (historically, on Thursdays) using an AS400 data link system.

       102.    Agri Stats describes itself as a “benchmarking” service that “allows organizations

to develop plans on how to adopt best practice, usually with the aim of increasing some aspect of

performance.” Sanderson Farms CEO Joe Sanderson claimed “[w]e use Agri Stats, which some

of you are probably familiar with. Agri Stats is a benchmarking service that we submit data to.

Almost everyone in our industry does as well. And we get the data back. It’s anonymous—the

data is anonymous, so we don’t know whose numbers the numbers belong to, but we can see

performance indicators all over the industry.”

       103.    However, contrary to these assertions, Defendants can (and do) readily determine

“whose numbers the numbers belong to.” Indeed, Defendants know that when it provides its

internal, confidential information to Agri Stats, the other producers will be able to access that

information and identify the Defendant that submitted it. Providing this specific, competitively-

sensitive information to Agri Stats constitutes an unreasonable, anticompetitive restraint of trade,

as does Agri Stats’ dissemination of the information in the detailed, readily-decipherable form in

which it is sent to Defendants.

       104.    Agri Stats’ critical importance for a collusive production-restriction scheme in the

chicken market lies not only in the fact that it supplies data necessary to coordinate production

limitations and manipulate prices, but also in its market-stabilizing power. Price-fixing or output-

restricting conspiracies, regardless of industry, are subject to inherent instability in the absence

of policing mechanisms, as each individual member has the incentive to “cheat” other group

members—for example, by boosting chicken production to capture higher prices even as other




                                                 27
   Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 32 of 131 PageID #:32




producers heed their conspiratorial duty to limit production, which is what happened in the

chicken industry for a short period in 2010, when Defendants’ conspiracy temporarily faltered.

       105.    But Agri Stats knowingly participated in the producer Defendants’ efforts to

prevent such cheating.    Agri Stats’ detailed statistics—coupled with its regular, in-person

meetings with each Defendant, and routine participation in trade association events widely

attended by Defendants’ senior executives—serve a monitoring function, allowing each member

of Defendants’ conspiracy to police each other’s production figures (which are trustworthy

because they have been audited and verified by Agri Stats’ team) for any signs of “cheating.”

       106.    While Agri Stats reports are a closely guarded by Defendants, based on a handful

of public comments by Defendants’ senior executives and other information, and after an

extensive investigation, Plaintiff believes and alleges that Agri Stats reports include at a

minimum the following categories of information:

              Name of genetics company used for primary breeder stock;

              Hatchery capacity, costs, and age of Broiler breeder flocks;

              Feed Manufacturing, Delivery and Formulation data, including corn and
               soybean meal costs;

              Growout information for Broiler “flocks” provided to contract farmers,
               including the number of Broilers placed, chick mortality by week and overall
               percentage, chick cost, days between flocks provided to contract farmers (aka,
               “down time”), feed conversion rate (pounds of feed per pound of Broiler),
               average daily weight gain by chicks, live pounds produced per square foot of
               grower house, grower compensation, including average grower payment in
               cents per pound and cents per square foot, breed composition of flock (breed or
               cross-breed of flocks), detailed information on numerous mechanical aspects of
               Broiler housing, and numerous other detailed cost, mortality, and operational
               information about disease, transportation, labor, and other grow out related
               information;

              Slaughter, processing, and further processing information, including pay for
               processing plant workers, total production volume, market age of Broilers at
               slaughter, weight of Broilers at slaughter, birds per man hour, processing line
               speeds, and labor hours per pound;

                                               28
   Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 33 of 131 PageID #:33




               Inventory levels of Broilers;

               Sales data for finished product form and type, such as type of cut (whole bird,
                cut-up, deboned), various packaging forms (such as bulk, tray pack, etc.), and
                data segmented into various categories (such as exports, retail, foodservice, etc.);
                and

               Financial information, such as monthly operating profit per live pound, sales
                per live pound, and cost per live pound.

       107.     Defendants rarely mention their proprietary, privileged, and confidential exchange

of information with one another through Agri Stats. However, on occasion, Broiler producers

(primarily Sanderson Farms) have provided glimpses into their use of Agri Stats information.

For instance:

               Sanderson Farms reported in May 2008 that “every year we review our
                operations and every facet within Agristats… we set operational goals every year
                . . . and [we] try to improve our operations within this benchmarking service we
                call Agristats.”

               Sanderson Farms CEO Joe Sanderson commented on a December 2009
                earnings call that “my judgment is that based on what I see in Agr[i] stats nobody
                is planning on, pullet placements say no ramp up and what I’ve gleaned from
                Agr[i] stats, people are not planning on ramping up. I see a lot of information
                from Agr[i] stats that tells me that nobody is going to ramp up.”

               Sanderson Farms CEO Joe Sanderson commented in a May 2011 earnings call
                that “my judgment is that there will be some others that are going to have to
                make some adjustments that I believe cuts will be forthcoming in our industry
                based on the losses we see in Agri Stats.” Asked later on the call by an analyst
                why he had said on the call and a few months earlier that he “feel[s] confident
                that we are going to see cutbacks” based on Agri Stats data, Sanderson
                indicated “industry participants expected that [the market would improve in
                June and July] and I think they wanted to carry their production into June and
                July and see if the market would reward them for that it appears right now. . . .
                And then once you get past July 4 . . . I think then you will start seeing reduced
                egg sets. . . . Typically in my experience the first cut is not enough and you go
                back and look at 2008, I think the industry started cutting back maybe in June
                and that cut back was not enough and then they made another cut in the late
                fall and I believe the industry became profitable in January.”

               Tyson Foods noted in a December 2014 investor presentation that “[t]he point
                being is that when you talk about the chicken cycle, most people will look at the
                cyclicality. It’s very profitable right now. And we will not hit the top of the top,

                                                29
   Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 34 of 131 PageID #:34




               because within the profitability segmentation right now, the most profitable
               segments are in fact big bird, and secondly, tray pack. We can tell that through
               Agri Stats. Now at the same time, when there is more poultry available and the
               industry may not be as profitable, we would not expect to be anywhere close
               to what the bottom of that cycle would be.”

       108.    Similar to Defendants, Agri Stats on occasion refers to the secret exchange of

information it facilitates among Defendants. In many instances, Agri Stats has played the role of

industry cheerleader rather than industry benchmarking service, with Agri Stats suggesting

specifically how much Broiler production should be cut based on Agri Stats data.

              In July 2012 trial testimony in a lawsuit against Pilgrim’s by contract farmers,
               testimony revealed that a November 2008 Agri Stats report “made statements to
               the effect that it thought the industry was 5-percent oversupplied . . . relative . . .
               to demand.”

              Agri Stats holds regular “poultry outlook conferences” for meat industry
               executives. For instance, Agri Stats hosted an April 23, 2015, conference in
               Atlanta, Georgia for which an agenda indicated a presentation by Agri Stats Vice
               President Sue Trudell would be provided concerning the “broiler market
               situation and outlook” and an analysis of feed and macroeconomic factors.
               Such presentations are restricted from circulation outside the invited participants
               to EMI’s poultry outlook conference and are not publicly available.

              Defendant Sanderson Farms invites Agri Stats employees to present about the
               industry to Sanderson’s own investors, such as an October 18, 2013, presentation
               by Agri Stats Vice President Sue Trudell.

              In January 2009 Agri Stats Vice President Mike Donohue commented that “We
               [i.e., Broiler producers] are an industry that is in demand . . . . We have a
               product that people want and continue to consume.” (emphasis added).

              Agri Stats subsidiary EMI also holds regular invitation-only “Analytics Web
               Conference” calls.

              Agri Stats Vice President Donohue also frequently appears at industry events,
               such as the Spring 2011 IPE conference. Donohue provided comments as part of
               an annual “market intelligence” forum about various industry performance
               metrics. Additionally, Donohue’s co-panelist, Broiler industry insider Paul Aho,
               explicitly suggested “[t]he market is calling for around a 5% reduction in chicken
               production” in order for producers to achieve higher prices in 2011.

              Donohue also authors articles for the Agri Stats publication EMI Vital Signs.
               For instance, the sole “sample” publication available on EMI’s website is a May

                                                30
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 35 of 131 PageID #:35




               2013 article in EMI Vital Signs by Donohue, which analyzes whether Broiler
               producers could continue to achieve high profit levels.          Donohue carefully
               analyzed Agri Stats data concerning pricing, inventory, and production levels,
               ultimately concluding “[w]hen supply and demand factors are in good shape the
               industry can get a good return on investment and for the short and medium term
               it appears that there is certainly room for optimism in these factors.”

              Donohue helps forecast supply and demand for the Broiler industry by using
               Agri Stats data on breeder placements and inventory. For instance, at the US
               Poultry & Egg Association’s Hatchery-Breeder Clinic in January 2012, Donohue
               noted that chicken breast prices were at a particularly high level and “[i]t’s not
               just cutbacks in production that have already occurred but seasonal demand later
               this year which may set the industry up for an even better first half of 2012,” he
               said. “I hope this carries over into the latter half of 2012 based on some of the
               production forecasts that can be made based on breeder placements and
               inventories.” Donohue also noted a concern that “if the industry chose to do so,
               it could ramp up production within a 10-week period of time. The industry could
               blow apart any recover[y] in the short term by filing up incubators again,” but
               noted that Agri Stats data indicates the industry is slaughtering breeder flocks at
               59 to 60 weeks (instead of the typical 65 weeks), which suggested to him the
               industry was managing its production carefully.

       109.    One Broiler industry expert testified in a case brought by contract farmers

against chicken producers that the sharing of information through Agri Stats by Broiler

producers regarding pay for contract-farmers creates “a potential vehicle for collusion” and

presents a “classical antitrust concern.” The same expert also remarked that Agri Stats was

unusual even among other price surveys, noting “[t]he sharing of price and other market

information by so-called competitors is well known as a significant antitrust issue. Grower

payout and cost information shared by most integrators is incredibly detailed and

comprehensive.    As such it could provide critical data for competition investigations and

analyses of oligopoly and oligopsonistic behavior far more complex and advanced than

available for any other agricultural industry. An intensive inquiry is needed.”




                                               31
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 36 of 131 PageID #:36




        C.     Agri Stats’ Detailed Reports Enable Defendants to Accurately Assess and
               Monitor their Competitors’ Production Levels and Breeder Flocks

        110.   Agri Stats purports to maintain the confidentiality and anonymity of individual

companies’ data by giving each company a report identifying only that company’s specific

chicken complexes by name, but not identifying by name other chicken producers’ complexes

described in the report, but rather, listing competitors’ complexes by number. But Agri Stats

reports are so detailed that any reasonably-informed producer can easily discern the identity of

its competitors’ individual chicken complexes. It is common knowledge among producers (and

Agri Stats) that others can do so, with some Defendants referring to the task of determining the

identity of individual competitor’s data as “reverse engineering.”

        111.   As described above, Agri Stats reports identify each complex with unique

numbers, including a coding system identifying the region and sub-region, for each chicken

complex, with the cover pages of each sub-regional report identifying by name the companies

whose complexes are covered in the report itself. Specific complexes are easily identifiable from

their codes. Agri Stats’ coding system made it easy for Defendants’ employees—some of whom,

including senior executives at both Wayne Farms and Pilgrim’s, used to work at Agri Stats—to

decipher production, feed, sales and other competitively-sensitive metrics for their competitors’

facilities.

        112.   In fact, Agri Stats’ coding system, coupled with the insular nature of an industry

where “everybody knows everybody,” allows for Defendants’ employees to identify individual

producers’ data by eyeballing the rows in any Agri Stats report. The coding system has never

changed (e.g., the Tyson complex in Cummings, Georgia has always been identified as complex

“222”), meaning that once a Defendant deciphered the numeric code for a given competitor’s

complex, that Defendant had the ability to know their competitor’s data indefinitely.


                                               32
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 37 of 131 PageID #:37




       113.    Agri Stats plays an important role in Defendants’ signaling practices, coordination

and policing efforts. The specific type or size of breeder flock housing, breed of chick, average

bird size, and production levels listed in Agri Stats data for Defendants’ complexes allows any

given Defendant to “reverse-engineer” and interpret the public statements and other publicly-

available information about its competitors to determine which complexes are cutting back, and

by how much. For example, if in January, a Defendant publicly states its intention to reduce

production—even generically, without specifying which complexes will cut back, or by how

much—all of their fellow producers will be able to tell from the February and March Agri Stats

reports whether that Defendant is following through on its conspiratorial agreement. Further,

Defendants Tyson, Pilgrim, and Sanderson are public companies that report some aggregated

data publicly, which executives from other companies use to match up against the far more

detailed information in the Agri Stats’ reports to identify other specific data from their

competitors.

       114.    Each Defendant receives numerous types of Agri Stats reports, including separate

targeted reports for each major area of operations, such as breeding, hatching, hauling, feeding,

processing, selling, and administration. Defendants’ complex managers typically receive the

targeted reports for the specific aspects of chicken operations for which they have responsibility,

and the CEO, CFO, and a few other of Defendants’ top executives receive Agri Stats’ monthly

“Bottom Line Report” (which, for a portion of the relevant time period, was called the

“Executive Report”) geared to top level executives. The Bottom Line Reports contain one row

for each chicken company reporting to Agri Stats with columns for certain categories of

information, such as operating profit dollars, profit percentage, corporate SG&A (i.e., overhead),

interest expense, and other key operational information related to sales, revenues and costs.



                                               33
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 38 of 131 PageID #:38




       115.    Within each Agri Stats report (including the Bottom Line Report), unique

information referring to supposedly “anonymous” data permits Defendants to identify their

competitors’ information contained within each category of report. For example, Agri Stats data

on “Actual Live Production Cost,” one of many important industry metrics listed in the Bottom

Line Report, includes line-items for each of the “sub-regions” (described above) that shows, for

each particular sub-region, the weighted average figures for “chick cost,” “grower cost,” “feed

ingredient cost,” “[feed] mill delivery cost,” and “vaccination and medical cost.”

       116.    Information helping Defendants assess the size and age of breeder flocks is

available in the “Growth Rate Report” section of Agri Stats, which includes complex-by-

complex numbers showing the average age, in weeks (e.g., “63.22” or “51.76”) of the hens

whose eggs, when hatched, become the chickens later killed for meat consumption and supplied

to Plaintiff and other chicken buyers. The hens comprising the breeder flocks produce fertile

eggs (at a rate of roughly five per week) starting around 20 weeks of age, and are typically

slaughtered at 65 weeks of age, when breeder hens lose the ability to consistently lay fertile eggs.

A breeder hen killed at 60 weeks lays 25 fewer eggs than a hen killed at 65 weeks, meaning that

there are 25 fewer chicks hatched and 25 fewer mature chickens available to Plaintiff and other

chicken buyers.

       117.    The bird-age data from the “Growth Rate Report” shows how close a given

breeder flock is to the end of its egg-laying lifespan, giving Defendants insight into how much

longer that flock’s capacity to lay eggs will impact the supply of chickens available for slaughter

further down the supply chain. In addition, because the “Growth Rate Report” is available each

month, knowing the average age of a given flock from month to month can help determine when

flocks are being slaughtered and removed from the supply chain (e.g., if the average hen age



                                               34
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 39 of 131 PageID #:39




drops to 4.00 weeks after being at 48.00 weeks in the prior month’s “Growth Rate Report,” that

is a clear indication a breeder flock was slaughtered at 48 weeks).

       118.    The “Actual Live Production Cost” section of an Agri Stats report also includes

(again, by sub-region), the average number and overall weight of the chickens being processed.

Other sections of Agri Stats reports include similar, sub-region data for a range of competitively

sensitive metrics, such as bird age and mortality, “chick cost per settled flock,” and “grower

expense.” Knowing the number of complexes each Defendant operates in each sub-region—

which, as detailed above, appear by name at the very beginning of the Agri Stats reports—any

Defendant can, with relative ease, assess the performance of all competing complexes in a sub-

region on a variety of important industry metrics.

               (i)    Agri Stats’ Critical Role in the Chicken Industry

       119.    Agri Stats’ role in the chicken industry extends beyond the collection and

dissemination of competitively-sensitive data. It is an active and knowing participant in, and

facilitator of, Defendants’ scheme. Agri Stats’ employees confirm for Defendants the data for a

particular company at quarterly meetings with each company, or at the numerous trade

association meetings where Agri Stats executives present on a regular basis.

       120.    Agri Stats offers a service to Defendants whereby each quarter, personnel from

Agri Stats meet with each Defendant’s employees and give presentations about both company-

and industry-wide data. These meetings take place at both the production-plant level, where

Agri Stats personnel meet with Defendants’ complex managers, and at the executive level, where

Agri Stats personnel meet with the leadership of Defendants’ hatchery, breeder and feed

departments.

       121.    Since Agri Stats travels and presents among Defendants regularly, discussing

each Defendant’s non-public, proprietary data, Agri Stats is in a position to share information
                                               35
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 40 of 131 PageID #:40




among Defendants at these regular meetings. And that is exactly what happened. For example,

during the conspiracy, mid-level Tyson personnel working at complexes in the Mid-Atlantic

region were advised by their complex managers about competitors’ non-public production

information following quarterly meetings between the Tyson complex managers and Agri Stats

account managers.

       122.    At these regular meetings with Defendants’ executives, Agri Stats lead detailed

discussions about industry profitability and the key contributing factors, including size and

average age of chicken breeder flocks, average hatchability of eggs, mortality rates, average bird

rate, feed cost, and other performance factors based on data Defendants provided. Agri Stats

also led discussions about the overall profit of the company and industry, including rankings of

companies, overall industry average, and the top and bottom third of the industry. Agri Stats also

told Defendants’ executives how much the industry was over- or under-supplying the market and

estimated demand, and shared other information based on data Defendants provided.

       123.    Agri Stats’ presentations to the Defendants were based in part on color-coded data

compilations, known as “books,” specifically tailored for each Defendant based on the data the

Defendant has submitted to Agri Stats. Agri Stats maintained at least six “books” for each

Defendant: (1) the light-blue “Live” book, with information on the Defendant’s breeders,

hatchery feed and grow-out; (2) the red “Sales” book, with information on the Defendant’s

current and year-to-date sales; (3) the light-green “Production” book, with information on the

Defendant’s yields; (4) the brown “Profit” book, with information on the Defendant’s profits and

losses; (5) the mustard-yellow “Rendering” book, with information on the Defendant’s rendering

facilities; and (6) the “Bottom Line” book, with information on the totality of the Defendant’s

sales, revenues and costs.



                                              36
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 41 of 131 PageID #:41




         124.   Anyone at Agri Stats had the ability to pull one or more Defendant’s “books” and

relay that information to other Defendants.      Indeed, Agri Stats has shipped copies of one

Defendant’s “books” to other Defendants on a number of occasions. Despite the impropriety and

illegality of this practice, when it was discovered following a routine review of shipping

information, no one at Agri Stats was held accountable nor were the “books” returned to Agri

Stats.

         125.   In addition to its in-person meetings with Defendants, Agri Stats employees,

including company Vice President Michael Donohue and account managers Paul Austin, Paul

Bunting and Dana Weatherford, regularly host, or present at, chicken industry events and

investor conferences, often citing Agri Stats data in discussing market, production, and demand

trends in the chicken industry. For example, Agri Stats holds events known as “poultry outlook

conferences.”    At one such conference on April 23, 2015 in Atlanta, Donohue made a

presentation that included “broiler market situation and outlook” as an agenda item.

         126.   Donohue also helps forecast supply and demand for the chicken industry by using

Agri Stats data on breeder placements and inventory. At the U.S. Poultry & Egg Association’s

Hatchery-Breeder Clinic in January 2012, for example, he noted that chicken breast prices were

at a particularly high level and “[i]t’s not just cutbacks in production that have already occurred

but seasonal demand later this year which may set the industry up for an even better first half of

2012,” he said. “I hope this carries over into the latter half of 2012 based on some of the

production forecasts that can be made based on breeder placements and inventories.” Donohue

also noted a concern that “if the industry chose to do so, it could ramp up production within a 10-

week period of time. The industry could blow apart any recover[y] in the short term by filing up

incubators again.”



                                               37
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 42 of 131 PageID #:42




               (ii)    Defendants’ Public Statements Show the Relevance of Agri Stats’ Data to
                       their Collective Efforts to Cut Production

       127.    Defendants rarely mention their exchange of information with one another

through Agri Stats.     However, on certain public occasions, such as earnings or investor

conference calls, executives from Defendants Sanderson and Tyson (two of the three publicly-

traded Defendants) noted the important role Agri Stats data plays in the industry.

       128.    For example, Sanderson’s CEO, Joe Sanderson, commented on an earnings call

that he “look[s] at Agri Stats and see[s] what people are doing and not doing,” and similarly

stated on a May 2011 earnings call that “my judgment is that there will be some others that are

going to have to make some adjustments that I believe cuts will be forthcoming in our industry

based on the losses we see in Agri Stats.” (emphasis added). Asked later on the May 2011 call

by an analyst why Mr. Sanderson made this statement and another statement a few months

earlier that he “feel[s] confident that we are going to see cutbacks” based on Agri Stats data, Mr.

Sanderson indicated:

       Industry participants expected that [the market would improve in June and July]
       and I think they wanted to carry their production into June and July and see if the
       market would reward them for that it appears right now. . . . And then once you
       get past July 4 . . . I think then you will start seeing reduced egg sets. . . .
       Typically in my experience the first cut is not enough.

       129.    Tyson similarly noted in a December 2014 investor presentation that:

        [t]he point being is that when you talk about the chicken cycle, most people will
       look at the cyclicality. It’s very profitable right now. And we will not hit the top
       of the top, because within the profitability segmentation right now, the most
       profitable segments are in fact big bird, and secondly, tray pack. We can tell that
       through Agri Stats. Now at the same time, when there is more poultry available
       and the industry may not be as profitable, we would not expect to be anywhere
       close to what the bottom of that cycle would be. (emphasis added)

       130.    Defendants’ use of Agri Stats to secretly share highly confidential and proprietary

information about their breeder flock size and age, pricing, capacity, production, and costs at the

                                               38
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 43 of 131 PageID #:43




level of detail at which they do constitutes an unreasonable and anticompetitive restraint of trade.

In a competitive market, such proprietary, competitively sensitive information should be a

closely guarded secret. Economic theory suggests that the routine exchange among competitors

of such sensitive internal company information reduces competition.

       131.    The FTC’s and DOJ’s 2000 Guidelines For Collaborations Among Competitors

(“FTC/DOJ Guidelines”), and presentations by FTC attorneys, suggest that Agri Stats is far

outside the scope of permissible information sharing among competitors. For example:

              The FTC/DOJ Guidelines note the high risk of antitrust issues for information
               sharing programs in industries with a history of collusion.

               The more competitively sensitive the information being shared, the higher the
               antitrust concern for such information sharing. Upon information and belief, the
               weekly and monthly Agri Stats reports include dozens of categories of detailed
               information that in a competitive industry would be considered trade secrets.
               Therefore, the competitive sensitivity of Agri Stats’ reports suggests a particularly
               high level of antitrust concern.

              The older or more historical the information being shared, the less concern the
               FTC and DOJ have with information collaborations. However, Agri Stats reports
               are issued weekly and/or monthly, and its EMI reports are issued daily, so as to
               provide nearly current production, sales, and other data to Defendants. Moreover,
               the nature of Broiler breeder flocks is that they predict future Broiler supply, so
               by sharing such information in a way that permits company-by-company
               identification, Defendants are in fact sharing future anticipated production
               information with one another, which clearly suggests high antitrust concern under
               the FTC/DOJ Guidelines.

              The FTC/DOJ Guidelines also provide a “safety zone” (i.e., presumptively
               permissible) for collaborations among competitors that account for no more than
               20 percent of each relevant market in which competition may be affected, but
               Defendants account for approximately 90-95% of Broiler production.

       132.    One chicken industry expert testified in a case against Pilgrim’s brought under the

Packers and Stockyard Act, 7 U.S.C. §§ 181-229, that sharing information through Agri Stats by

chicken producers regarding pay for contract farmers creates “a potential vehicle for collusion”




                                               39
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 44 of 131 PageID #:44




and presents a “classical antitrust concern.” The same expert also remarked that Agri Stats was

unusual even among other price surveys, noting:

        [t]he sharing of price and other market information by so-called competitors is
        well known as a significant antitrust issue. Grower payout and cost information
        shared by most integrators is incredibly detailed and comprehensive. As such it
        could provide critical data for competition investigations and analyses of
        oligopoly and oligopsonistic behavior far more complex and advanced than
        available for any other agricultural industry. An intensive inquiry is needed.

        133.    When given access to Agri Stats’ reports in connection with litigation where he

served as an expert witness, an agricultural economist who, to that point, had only “heard rumors

of a secretive poultry industry information-sharing service,” said that he “was shocked at the

incredible detail” of the information presented in the reports.

        134.    A sworn declaration from a poultry and egg industry expert in Freedom of

Information Act litigation seeking disclosure of competitively-sensitive FDA egg-farm reports

stated, with respect to Agri Stats, that:

        Individual disclosure is not required when industry participants are familiar
        enough with the industry to connect the information supplied with the individual
        companies at issue. My experience is that competitors . . . are prolific at
        quantifying their competitor’s business information on their own. For example,
        industry processors share commercial data through companies such as
        AGRISTATS (Fort Wayne, IN), a shared business database company . . . started
        for the poultry industry in 1985. AGRISTATS has the following mission
        statement: “IMPROVE THE BOTTOM LINE PROFITABILITY FOR OUR
        PARTICIPANTS          BY      PROVIDING         ACCURATE         AND      TIMELY
        COMPARATIVE DATA WHILE PRESERVING THE CONFIDENTIALITY
        OF INDIVIDUAL COMPANIES.” Note the mission is to share comparative data
        while protecting individual companies. I can speak personally that I have seen and
        read these broiler industry reports, and, based on my familiarity with the industry,
        I can easily connect the information supplied with the individual companies
        whose confidentiality is supposedly preserved. Therefore, it is my opinion that
        virtually everyone in the industry can connect the information supplied in
        AGRISTATS with the individual companies who supplied the data.




                                                40
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 45 of 131 PageID #:45




       135.    A 2017 Bloomberg News article titled “Is the Chicken Industry Rigged? Inside

Agri Stats, the Poultry Business’s Secretive Info-Sharing Service,” highlighted the role Agri

Stats plays in Defendants’ efforts to monitor and police their conspiratorial activity:

       Peter Carstensen, a law professor at the University of Wisconsin and former
       Justice Department antitrust lawyer who has studied Agri Stats while researching
       the modern poultry industry, casts the level of plant-by-plant detail in the
       company’s reports as “unusual.” He explains that information-sharing services in
       other industries tend to deal in averaged-out aggregated data – for example,
       insurance rates in a given state. Such services run afoul of antitrust law, he says,
       when they offer projections or provide data so detailed that no competitor would
       reasonably share it with another. Getting detailed information is a particularly
       useful form of collusion, Carstensen says, because it allows co-conspirators to
       make sure they’re all following through on the agreement. “This is one of the
       ways you do it. You make sure that your co-conspirators have the kind of
       information that gives them confidence – so they can trust you, that you’re not
       cheating on them,” he says. “That is what creates stability for a cartel.”

       136.    Agri Stats has profited by its participation in this conspiracy through its receipt of

payments from producer Defendants of a share of the revenues earned from supracompetitive

prices charged for chicken as a result of the conspiracy.

       D.      Defendants’ Conspiracy Artificially Increased and Maintained Chicken
               Prices

               (i)     The State of the U.S. Chicken Market in 2007.

       137.    In the year preceding the beginning of Defendants’ conspiracy, the U.S. chicken

market was floundering. In 2007, a glut of chicken—the result of significant overproduction by

Sanderson Farms, Mountaire Farms and Raeford—began to flood the market, and prices

cratered. By the time the Great Recession fully hit the American economy in 2007 (or, by some

accounts, 2008), the oversupply and low prices of chickens put Defendants—individually and

collectively, as an industry—in dire straits.

       138.    In 2007, the two largest chicken producers, Pilgrim’s and Tyson, reduced their

production, and a few other producers—Foster, Peco Farms and Perdue—followed their lead.


                                                41
   Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 46 of 131 PageID #:46




But cuts by only five industry participants were not enough to affect industry supply to the point

that prices would meaningfully increase. In addition, production cuts in 2007 followed the

typical pattern of focusing on short-term reductions in production, such as slaughtering chickens

early, but not on significant cuts at the top of the supply chain, particularly culling of breeder

flocks, which have longer-term effects on supply.

       139.    The failure of the 2007 shorter-term production cuts to raise prices made Tyson

and Pilgrim’s realize that their unilateral supply cuts would not raise industry prices without a

broader industry supply cut by most of their competitors, and further, that cuts that did not

reduce Broiler breeder flocks left the industry vulnerable to near-term increases in supply.

Tyson and Pilgrim’s realized that by making cuts that were not followed by their smaller

competitors, they were essentially giving away market share to those competitors.

       140.    In 2008, during an early stage of the Great Recession, Defendants faced what

promised to be a historically bad year for the chicken industry. So they made a joint decision not

to return to the previous industry practice of short-term or medium-term production cuts, which

had led to the destructive boom-and-bust cycles that plagued chicken producers for years.

       141.    In early 2008, through press releases, earnings and investor calls, at investment

bank conferences, at events hosted by Agri Stats, and at the myriad trade association meetings

attended by many of their senior-most executives, Defendants began calling on one another to

heed the mistakes of the past, preaching that oversupply was decimating industry profits, and

increased supply-side “discipline” was needed to halt the downward trajectory of chicken prices.

       142.    This production “discipline”—i.e., the reduction or relative stabilization of

industry capacity, particularly at the breeder flock level, where such efforts would be most

effective—was a mechanism to increase Defendants’ profits. Defendants’ efforts were supported



                                              42
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 47 of 131 PageID #:47




by public statements made by their executives, which involved more than an announcement of a

Defendant’s own conduct. In fact, as alleged below, many of Defendants’ executives’ calls for a

new era of “discipline” included explicit statements that deeper production cuts were an

industry-wide imperative that would pay dividends for “the industry” as a whole. Defendants,

who collectively control nearly 90% of the U.S. chicken market, jointly engaged in this

production reduction effort.

       143.    While spearheaded by the CEOs and senior personnel of Defendants Tysons and

Pilgrim’s—who, as publicly-held entities holding sizable shares of the U.S. chicken market, were

well-positioned to rally the entire industry—Defendants’ executives’ public discussion of

industry conditions was not limited to the larger, publicly-held Defendants.       For example,

Harrison CEO Mike Welch and Sanderson Farms COO Lampkin Butts were panelists at a

symposium hosted by industry journal Watts PoultryUSA, where             the discussion    topics

included industry consolidation, efficiency, and bird size, with references to information

gleaned from Agri Stats (whose vice president, Mike Donohue, was in the audience).3

               (ii)   Defendants Depart from Historical Practice by Collectively Reducing
                      Breeder Flocks in Unprecedented Amounts Beginning in 2008

       144.    By early 2008, Defendants had implemented their conspiracy by making

significant production cuts, including unprecedented cuts in their breeder flocks. The vertically

integrated Defendants have the ability to manipulate supply to the chicken market at one or more

stages of the supply chain. At the top of the supply chain, Defendants can most effectively




3
 Excerpts of comments made by Messrs. Welch and Butts are publicly available on Watts
PoultryUSA’s YouTube channel. See “Broiler company executives say bird size increase will
continue,” available at https://www.youtube.com/watch?v=ZBgEecBi7D4 and “Lampkin Butts
describes       changes         in    the      poultry    industry,”    available     at
https://www.youtube.com/watch?v=RN1IAphbQXs&t=53s. (both last visited January 26, 2018).
                                              43
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 48 of 131 PageID #:48




manipulate supply by reducing the size of breeder flocks, and retiring or killing breeders at an

earlier age than the optimum age. Reducing breeder flocks has the most significant, and long-

lasting, effect on supply of chickens in the market.

          145.   Because breeder flocks are created from a limited pool of so-called “grandparent”

chickens from one of only three genetics companies (Aviagen, Hubbard, and Tyson’s Cobb-

Vantress), it takes substantial time—anywhere from six to eighteen months, or more—to re-

populate a breeder flock that has been reduced through early culling. While Defendants

continued to use their traditional methods to affect their supply-reduction scheme (at the middle

or end of the supply chain, such as by reducing eggs placements, killing newly-hatched chicks,

or idling processing plants), their conspiracy was cemented by the long-term effects of breeder

flock reductions.

          146.   Defendants’ collective output-restriction caused a significant slowing in overall

chicken production during the conspiracy, bucking the historic trend of steady annual production

increases. The overall effect is shown in the graph below, drawn from USDA data, showing that

while chicken production grew a total of 21% from 2000 to 2008 (an average of 2.3% per year,

proof that the “3% more broilers” quip is more than anecdotal), but then slowed to a total of

roughly 10% from 2008 through 2016 (an average of slightly more than 1% per year)—a

significant decrease in the pace, timing and manner of chicken production during the conspiracy

period:




                                                44
   Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 49 of 131 PageID #:49




       147.   Broiler prices were significantly elevated during the relevant period due to

Defendants’ conduct. This is contrary to pricing patterns prior to the relevant period, and

contrary to what would be expected in a competitive market. For instance, during much of

the Great Recession, Broiler prices steadily rose despite flat or declining input costs.

Similarly, Broiler prices during the 2015 through 2016 time period remained artificially

inflated and failed to account for the historic drop in corn and soybean prices, which

constitute 50 – 70% of Broiler input costs.




                                              45
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 50 of 131 PageID #:50




       148.    A 2013 industry analyst forecasts predicted that Broiler prices would drop 7.1%

in 2014 due to a 50% fall in corn prices. But instead, Broiler prices increased 9.2%.

       149.    Since January 1, 2008, by one measure Broiler prices have been at or near all-

time highs roughly half of the time, despite the effects of the Great Recession.

                              (a)     Defendants’ Executives Publicly Decried the Effect of
                                      Oversupply on “Our Industry,” Telling their
                                      Competitors that Unified Action Was Necessary

       150.    On January 23-25, 2008, Defendants attended the International Poultry Expo

conference in Atlanta where, according to the trade association organizing the annual multi-day

event, attendees representing over 99.4% of the production of the major chicken companies

participated. Numerous employees from Defendants attended the conference, including some of

Defendants’ senior executives.



                                               46
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 51 of 131 PageID #:51




       151.    On a January 28, 2008, earnings call, Tyson CEO Dick Bond—who in the same

call disclosed that the company had re-joined Agri Stats and had “just recently . . . got our first

series of data”—stated that “we have no choice [but] to raise prices substantially.” However, the

commodity nature of chickens does not allow one producer to successfully raise market prices in

the absence of widespread reductions in supply relative to the then-current demand, so Bond’s

comment does not make sense absent an intention (or knowledge) on his part that Defendants

would coordinate an industry-wide reduction in supply. After learning in 2007 that production

cuts that it made alone could not force up industry prices, Tyson also sent a clear message to its

co-conspirators: we are not making production cuts until you do.

       152.    The day after Tyson’s statements confirming its use of Agri Stats and expressing

its plans to increase prices, Pilgrim’s told its competitors to reduce their production of chickens

to allow prices to recover. On a January 29, 2008, earnings call, Pilgrim’s CFO Rick Cogdill

said the industry’s oversupply of chickens was hurting market prices. Cogdill explained that

Pilgrim’s had done its part in 2007 by reducing production 5%, so “the rest [] of the market is

going to have to pick-up a fair share in order for the production to come out of the system.”

       153.    Cogdill went on to explain that Pilgrim’s alone could not reduce supply enough to

help market prices recover, and that its past efforts to reduce supply had merely led to smaller

players increasing their market share at Pilgrim’s expense. Cogdill noted that “[W]e have

walked away from sales in certain cases, where the pricing just did not make any sense. So we

are trying to hold the line. We are losing at times the competitive bids . . . . So we are trying to

take a leadership position from a pricing perspective.” He then made the following statements

urging Pilgrim’s competitors to do their part in reducing chicken industry supply:

              “[A]ctions are going to have to be taken one way or the other through the industry
               to pass along these costs. We were the leader in cutting production last year to

                                               47
   Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 52 of 131 PageID #:52




               help drive that. .. . [W]e’ve got to make sure that we get the supply in line with
               demand at an acceptable price, not just in line with what the customer wants to
               buy at a cheap price;”

              When asked by an analyst “do you have an estimate internally of what the state of
               oversupply in the industry might be? What you would hope to see cut from others
               that would make you feel like the industry was more rational?” Cogdill replied
               “It’s really hard to say that the faster we get to production adjustment the quicker
               the recovery could happen . . . . And if the industry doesn’t react soon enough it
               will have to react stronger in the end;” and

              Cogdill responded to an analyst’s query about the industry’s failure to follow
               Tyson’s 2007 cuts by stating that, “I think you kind of hit on it there. . . . It’s not
               like we had 5% of surplus capacity that we could just reduce our operations and
               not feel that . . . I mean we cannot be the ones that are out there continually
               reducing production, and let the other producers capitalize on that. I mean if it’s
               5% last year, 5% this year, 5% next year, you can see that that’s a spiral to the
               demise of our company, which we are not willing to accept.”

       154.    On a January 31, 2008, earnings call, Sanderson Farms CEO Joe Sanderson

explained that he, too, anticipated the industry would cut production. Asked about production

cuts by an analyst, Mr. Sanderson said he thought a production cut was “probable” and “if it’s

bad and ugly and deep in February, March and April, you’ll see the production cuts take place

during that period of time. There’s still 25% of the industry still making money but I would

expect to see those reductions come over the next 90 to 120 days.”

                              (b)     Defendants Begin to Cut Production in Concert

       155.    Around March 4, 2008, senior executives from Defendants, including Pilgrim’s

newly-installed CEO, Clint Rivers, Tyson Senior VP Donnie Smith, and Fieldale Farms

President Thomas Hensley, met in Washington, D.C., at an Executive Committee meeting of the

National Chicken Council’s Board of Directors.

       156.    Shortly after that trade association meeting, Pilgrim’s again sounded the call to

cut overall industry supply, and proceeded with production cuts. On March 12, 2008, Pilgrim’s

new CEO Clint Rivers, publicly announced the closure of seven chicken facilities in order to


                                                48
   Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 53 of 131 PageID #:53




reduce industry oversupply, stating “we believe [these] actions . . . are absolutely necessary to

help bring supply and demand into better balance . . . . That portion of the demand for our

products that exists solely at pricing levels below the cost of production is no longer a demand

that this industry can continue to supply.” (emphasis added).

       157.    Under competitive conditions, other chicken producers would typically respond to

Pilgrim’s substantial supply cuts by increasing their production. Yet just the opposite occurred.

Following Pilgrim’s announcement, a series of production cuts were publicly announced by

other Defendants between April 3 and April 11, 2008:

       April 3, 2008: Fieldale Farms announced a 5% production cut stating that “We’re hoping
       this cut puts supply and demand back into better balance.” Fieldale Farms is not a
       publicly-traded company, and there was no reason—other than signaling to its fellow
       producers that it was following through on its conspiratorial agreement—why it would
       publicly disclose its production plans.

       April 9, 2008: Simmons announced in a press release a 6% reduction in production
       throughout its processing plants, a move heralded by Wall Street analysts, who noted that
       production cuts across smaller companies in the chicken industry, like Simmons, would
       be positive for chicken prices. Simmons is not a publicly-traded company, and there was
       no reason—other than signaling to its fellow producers that it was following through on
       its conspiratorial agreement—why it would publicly disclose its production plans.

       April 10, 2008: Cagle’s Inc. (later acquired by Koch Foods) announced in a press release
       a 4% reduction in processing of chickens, noting that the cut “will reduce product being
       sold through less profitable commodity outlets.”

       April 3-11, 2008: Wayne Farms, O.K. Foods, and Koch Foods each announced 2-8%
       reductions in production. None of these companies are publicly-traded, and there was no
       reason—other than signaling to their fellow producers that they were following through
       on their conspiratorial agreements—why they would publicly disclose their production
       plans.

       158.    Several other chicken producers cut their production between April 1, 2008 and

May 15, 2008, but did not publicly announce them. But because of Agri Stats, there was not a

need to make a public announcement. For instance, at his BMO Capital Markets Agriculture &

Protein Conference presentation on May 15, 2008 at the Millennium Broadway Hotel in New

                                              49
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 54 of 131 PageID #:54




York City, Sanderson Farms CEO Joe Sanderson stated—in the presence of several competitors

attending the conference, including Pilgrim’s CEO Clint Rivers and CFO Richard Cogdill and

Tyson CEO Richard Bond—that “we have seen for the last 6 or 7 weeks . . . some companies in

our industry announce cutbacks.       There have been I think six companies have announced

cutbacks. I know some companies have cut back and have not announced.” (emphasis added).

Such knowledge of non-public production cuts by competitors is highly suggestive of

communication among chicken companies, either secret direct communications among

themselves, or using Agri Stats as a facilitator, or both.

       159.    After seeing many of its competitors abide by capacity reductions between April

3-11, on April 11, 2008, Pilgrim’s suggested it might close its large El Dorado, Arkansas

processing plant, which employed 1,620 workers. Then, on April 14, 2008, it announced a

further production cut of 5% of egg sets.

       160.    On April 29, 2008, Tyson CEO Dick Bond told a Wall Street analyst, “I think the

industry has changed . . . . I don’t think the industry will be up [in production] that much

anymore, we have seen some sizable declines here lately in egg sets and placements. So, we’re

going to be up a little bit but probably not a significant amount, not as much as we might have

once anticipated.”

       161.    Despite the large number of coordinated production cuts announced by producers

in April 2008, Pilgrim’s CEO, Clint Rivers, encouraged further action by the industry at a May

15, 2008, speech at the BMO Capital Markets conference at the Millennium Broadway Hotel—

the same conference, also attended by Tyson CEO Richard Bond, where Sanderson Farms CEO

Joe Sanderson disclosed his knowledge of non-public, unannounced production cuts by

competitors. According to an industry publication, Rivers announced that he hoped to see the



                                                 50
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 55 of 131 PageID #:55




chicken industry continue to cut production to help the industry return to profitability, stating

that “he would like the industry to trim total production by 3%-4%, calling it a prudent move in

light of recent price volatility in the grain markets.” He also noted that “[t]he cuts need to be

fairly deep.”

       162.     A June 2008 Agri-Stats report noted that “[b]eginning in April [2008], the weekly

hatchery data started to show declines in egg sets and chick placements relative to year-earlier,

which confirms the announced intentions to reduce broiler production and will result in slaughter

falling below year-ago by mid-June.” The same report also noted that “[i]t is unclear how long

the slaughter declines will continue, and if other companies will choose to cut production as well

making them deeper than initially thought. Those who have announced cutbacks indicate they

will continue until margins normalize. At this time we expect to see the declines continue until

at least late 2009, and cuts could be deeper than now projected.”

       163.     A May 21, 2008, Wall Street Journal article noted that conditions in the industry

were starting to change: “Three things are making analysts more optimistic: Companies are

cutting production, weekly egg-set numbers are declining (egg sets are fertile eggs placed in

incubators), and prices are responding positively to the thinning supply lines.” The article also

noted “[i]t is unusual for egg sets to decline at this time of year.” The reason such a reduction

was unusual in May is that egg sets result in chickens that are ready for market approximately 10

weeks later, which in this case would have been first week of August, and is still the peak of the

high-demand summer grilling season.

       164.     During an earnings call on May 22, 2008, Sanderson Farms CEO Joe Sanderson

was asked if he thought industry cuts were sufficient to keep the industry profitable in the

autumn. Sanderson responded: “[w]e don’t know yet. We will make a cut as we always do after



                                               51
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 56 of 131 PageID #:56




Labor Day. We will make a 4-5% cut following Labor Day as we always do going into

Thanksgiving, Christmas, and January [and] we reduce our egg sets and around Thanksgiving,

Christmas, New Years and Martin Luther King. That is a period of slow demand for us, and we

don’t announce that, but we always do it. It is just a period when we take downdays and we will

do that. But if we think more is needed, we will evaluate that sometime in August, and if need

be will do it. We cut back in 2006, we cut back in ’97-98. I don’t know if we announced it or

not, but we will do what we need to do.” Mr. Sanderson provided no explanation why Sanderson

Farms chose to publicly disclose its “regular” production cut if it had never done so in the past.

       165.    In early June 2008, Pilgrim’s CEO Clint Rivers noted in a June 4, 2008,

presentation that “[o]ur supply in chicken, we are oversupply . . . we need to see some balance in

the supply. . . . Simply put, at this time there is still too much breast meat available to drive

market pricing significantly higher.”

       166.    Other Defendant CEOs soon picked up on Rivers’ call for further action. On June

19, 2008, chicken industry executives participated in a media conference call intended to lobby

the federal government to limit the ethanol mandate—a federal program requiring the production

of corn-based ethanol, which Defendants claimed drove up their corn costs by lessening the

amount of corn they could buy to feed their chickens. According to one report, Mark Hickman,

Chairman of the National Chicken Council and CEO of Peco Foods, told participants that “the

poultry industry is entering a second phase of production cutbacks, following a 1 percent to 2

percent cutback in production earlier this year “and that “we are hearing talk that this was not

nearly enough, so liquidation is in round two.”         This statement referred to the need for

Defendants’ decision to reduce chicken breeder flocks to affect longer-term supply restraint in




                                                52
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 57 of 131 PageID #:57




the industry, rather than the short-term production cuts like breaking eggs or slaughtering

chickens earlier to reduce weight.

       167.    On June 23, 2008, shortly after Peco Foods’ CEO publicly suggested that further

production cuts were needed, Wayne Farms announced a 6% production cut. Wayne Farms

President & CEO Elton Maddox said in a statement that “[s]oaring feed ingredient costs

aggravated by the government’s food for fuel mandate has created the need for us to rationalize

our business.” Like many other executives, Maddox cited ethanol subsidies as the reason for the

production cuts. Wayne Farms’ announcement came only three days after Agri Stats suggested

further cuts were needed and four days after Peco Foods CEO Hickman suggested further cuts

were needed.

       168.    On July 2, 2008, Foster Farms announced it was abandoning plans to build a new

chicken plant in northeastern Colorado that it had previously announced in April 2008 would

employ about 1,000 people. In a statement, Foster Farms CEO, Don Jackson, noted “[i]n these

difficult conditions with costs escalating primarily due to grain and fuel prices and chicken prices

lagging it does not make economic sense to go forward with expansion at this time.”

       169.    On July 7, 2008, O.K. Foods announced a 7.5% reduction in egg sets, citing

“record high prices for corn and soybean meal, which it attributes to the U.S. government’s

mandated ethanol policies along with recent flooding in the Midwest ‘Corn Belt’ region.”

       170.    On August 11, 2008, Pilgrim’s announced the closure of its Clinton, Arkansas,

processing plant and a facility in Bossier City, Louisiana. Pilgrim’s press release noted the

closures “are part of the company’s ongoing effort to operate more efficiently and return to

profitability amid high feed costs and an oversupply of chicken on the market.” The closure of

the Clinton processing plant represented an additional 1.25% incremental increase of the



                                               53
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 58 of 131 PageID #:58




company’s previously announced production cuts. Pilgrim’s stated that it would keep both plants

idled until “industry margins can be sustained at more normalized levels of profitability.”

Pilgrim’s also noted that “[w]ith Labor Day approaching and no indication that the actions taken

to date by Pilgrim’s Pride or other industry members are having a positive effect on selling prices

for our products, it is now clear that more significant decisive action is necessary.”

       171.    In August 2008, Raeford announced publicly, as reported by newspaper the

Charlotte Observer, that it would begin reducing its chicken production by 5 percent. The

company said in a statement to industry publication Watt Poultry that “[t]he current obstacles

that face our industry require that supply be brought in line with demand.” A production cutback

was remarkable for Raeford, which had pursued a strategy of aggressive production growth that

resulted in the company doubling its chicken production from 2001 to 2007.

       172.    On an August 26, 2008, earnings call, Sanderson Farms CEO Joe Sanderson

stated that “[s]o long as this weakness continues, the poultry industry will need to cut production

further until supply is in line with demand.” When asked later whether the industry had already

made enough production cuts, he noted “we kind of thought we were going to see reductions in

July . . . [based on] 213/214 [million] egg sets back in April and that really did not materialize.

When you look at USDA slaughter numbers in July, they were 100% and 101% and now we’re

looking at egg sets of 206 and 207 million that are going to show up sometime in October or

November. We’ll see when we get there. Those are barely impressive cuts. My suspicion is, as

I’ve told you in May, the industry typically make the cut [sic] and it’s tentative. We’ll have to

see if it works. . . . I’m very skeptical that those cuts are going to be enough to return us margins

to cover these grain costs.”




                                                54
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 59 of 131 PageID #:59




       173.    By September 2008, chicken industry publication Watts PoultryUSA reported that

“[m]ost U.S. chicken integrators ha[d] announced plans to close small operations, consolidate

complexes and further processing plants and to reduce output by 3 percent to 5 percent to

‘maximize efficiency.’”

       174.    On October 3, 2008, Defendants’ senior executives attended the National Chicken

Council’s Annual Meeting in Washington, D.C. Agri Stats CEO, Blair Snyder—elected the day

before as a “director-at-large” to the National Chicken Council’s board—moderated a CEO panel

that included the CEOS of Pilgrim’s, Tyson, Perdue and Sanderson Farms . Explaining Pilgrim’s

desire to push through an industry-wide price increase, Pilgrim’s CEO Clint Rivers told panel

members and the audience “[w]e need to get those [input] costs pushed through, but we’ve yet to

see that happen.”

       175.    On October 10, 2008, in response to a USDA report of falling egg sets in the

chicken-industry, Pilgrim’s told the Associated Press that “[t]his is very positive news for the

industry and may signal that the industry is taking a more rationalized approach to production

heading into the fall.”

       176.    Indeed, an industry analyst noted that at the time “the industry has cut about 10 to

12 percent of its production.”

       177.    During Fall 2008, Sanderson Farms also implemented its previously announced

“fall cuts” a month early and delayed the opening of a new deboning facility.

       178.    On October 18, 2008, Wayne Farms President & CEO Elton Maddox released a

statement (even though Wayne Farms was not a publicly-traded company) announcing the

closure of the company’s College Park, Georgia plant, resulting in the layoff of over 600




                                               55
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 60 of 131 PageID #:60




employees. Maddox cited “changing market conditions” and a need to “maximize efficiencies”

as justification for the plant closure.

        179.    By December 23, 2008, it was reported that Tyson had cut its production by 5%.

Tyson also noted that it had reduced production “in recent years through the closing or sale of

poultry plants and by running the company’s remaining operations at reduced capacity

utilization.”

        180.    In a February 18, 2009, interview, Tyson Senior Group Vice President Donnie

Smith noted that “[a]cross our industry, we’re down about six percent versus where we were a

year ago. We’re seeing an impact from that on market prices . . . the industry fundamentals are

improving.”

        181.    In late February 2009, a report noted that Pilgrim’s had cut another 9-10% of its

production.

        182.    According to the same report, Tyson told the audience at a February 2009

investors’ conference that it did not intend to reduce its production further because “[u]sing

WATT PoultryUSA data on ready-to-cook (RTC) pounds, our numbers have declined 5-7%

from 2000 to 2008 on RTC pounds while at the same time the industry has grown 31%. Over

time, we have done plenty of cutting back.” In other words, Tyson felt it had already taken its

fair share of needed production cuts, so competitors needed to take any further action. However,

as indicated below, Tyson’s statements about not reducing production appear to be posturing,

because generally Tyson did reduce its production during the 2008-2015 time period in line with

other producers.

        183.    By February 25, 2009, Sanderson Farms told The Morning News of Northwest

Arkansas that it had made cuts to its supply of chickens by processing smaller chickens and



                                               56
   Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 61 of 131 PageID #:61




running its plants at lower capacity utilization rates. Sanderson Farms also told a group of

investors around this time that “[b]ecause we don’t expect much help from the demand side,

chicken market improvement will have to come from supply cuts.”

       184.   Similarly, the CEO of Simmons Foods, Todd Simmons, noted in a February 25,

2009, interview that “[w]e are seeing lower demand in the food-service customer base. We have

made adjustments in bird weights to ensure our production meets with our customer’s needs.”

       185.   Seeing further cuts from smaller producers in the industry led Pilgrim’s to

announce historically large cuts to its production on February 27, 2009. In a press release

announcing the closure of three processing plants located in Douglas, Georgia, El Dorado,

Arkansas, and Farmerville, Louisiana, Pilgrim’s stated the plants were “underperforming” and

said the closures would “improve the company’s product mix by reducing commodity production

and to significantly reduce its costs in the midst of an industry-wide oversupply of chicken and

weak consumer demand resulting from a national recession.” Pilgrim’s also stated that the idling

of these three plants would reduce its total pounds of chickens produced by 9-10%.

       186.   Overall, “[a]t least 11 companies reported reductions in weekly ready-to-cook

production in 2008,” including Defendants Tyson, Pilgrim’s, Perdue, Simmons, Raeford, Cagle’s

(later bought by Koch Foods), George’s, O.K. Foods, Harrison, and GNP Company (now owned

by Pilgrim’s). Other companies reduced their planned production levels or delayed the planned

opening of new chicken complexes.

                             (c)    Defendants’ Chicken Production Cuts, from 2008 to
                                    Early 2009, Included Unprecedented Reductions to
                                    Chicken Breeder Flocks

       187.   As noted above, in 2008, Defendants ended a decades-long trend of annual

additional chicken production, surprising industry observers. What makes the production cuts in

2008 and early 2009 remarkable is that chicken producers did not just reduce the pounds of
                                             57
   Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 62 of 131 PageID #:62




chickens they produced—they also went further up their supply chains than ever before to

restrict their ability to ramp up production for years into the future. While previous downturns

had led some producers to use short-term methods to reduce overall pounds of chickens supplied

to the market, in 2008, Defendants took their reductions to the next level by substantially

reducing their breeder flocks, as shown in the highlighted section of the graph below:




       188.    The effect of the supply cuts on chicken pricing in 2008 and the first months of

2009 was clear—during the worst recession in generations, chicken prices rose through mid to

late 2008, staying at or near all-time highs until late 2009. For instance, by May 28, 2009,

Sanderson Farms reported strong profits that were twice the estimates of Wall Street analysts,

which according to one industry publication was “aided by production cuts and lower feed costs

that offset still-weak demand.”




                                              58
   Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 63 of 131 PageID #:63




       189.    Similarly, at a May 14, 2009, BMO Capital Markets conference in New York

City, interim Tyson CEO Leland Tollett noted that “poultry market fundamentals had improved.

Pullet placements, an[] indication of future broiler supplies, have been down the past five

months compared to the same period last year. Egg sets continue to run six percent or more

below year ago levels and cold storage inventories of poultry have declined about 20 percent

since peaking in November 2008.”

       190.    During 2009 and 2010, Defendants’ senior executives continued to meet with one

another at trade association meetings and industry events, such as the National Chicken Council

and the International Poultry Expo. For instance, at the National Chicken Council’s October

2009 Annual Conference, one industry analyst wrote that participants had emphasized continued

“production discipline,” Defendants’ euphemism for limiting chicken supply.

       191.    However, as prices continued to rise during late 2009 and early 2010, producers

started increasing production in response to the higher prices just as they had done in previous

decades—although, because of 2008 and 2009’s unprecedentedly deep and early breeder flock

culls, this temporary spike in production took months to effectuate, rather than the few weeks it

would have taken had producers killed off their breeder flocks at the rates and times at which

they had done so in the past. The rising production by producers in early 2010 led to a reported

oversupply of chickens that began to depress prices by late 2010. It was time for Defendants to

revamp their faltering conspiracy to make it more effective. Defendants had learned the value of

coordinated supply reductions in 2008; they were quick to react with a new round of publicly-

announced production cuts in the first half of 2011, which quickly helped prices recover.




                                              59
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 64 of 131 PageID #:64




                                (d)     Defendants’ Conspiracy, Hatched in the Great
                                        Recession Continued into 2011 With Another Round of
                                        Collective Production Cuts

        192.    Around early 2011, Tyson, in addition to limiting its own production, embarked

on a strategy to soak up excess supply produced by its competitors. Tyson called the strategy

“Buy vs. Grow.” Tyson’s Buy vs. Grow strategy allowed Tyson to buy up excess production

from its competitors and avoid the depression of prices that would occur had the excess

production been sold on the open market. In return, Tyson could communicate the volumes of

Broilers it would be willing to purchase from competitors in the current and future months, thus

suggesting to each competitor the amount of production it should cut that would not be

purchased by Tyson. As one investment analyst described it, Tyson’s program “involves

maintaining or even reducing [Tyson’s] own chicken production levels, with buying more

chicken on the open market from their rival chicken producers, in an effort to keep the chicken

market from being over supplied.” Even though it would have been cheaper (with respect to the

cost of pounds purchased) for Tyson to grow its own Broilers instead of buying them from a

competitor, Tyson engaged in its Buy vs. Grow program because it allowed Tyson to better

control supply and production in the Broiler industry and reap the benefit of higher market prices

on all of the rest of its Broiler pounds sold.

        193.    On January 24-26, 2011, Defendants’ senior executives attended the International

Poultry Expo in Atlanta, Georgia, including Tyson CEO Donnie Smith. The IPE featured an

annual market intelligence panel with Mike Donohue from Agri Stats and industry-insider Paul

Aho. According to one report, Donohue noted that “‘2008 was the worst year financially for the

(U.S.) broiler industry that most people have ever seen’ . . . The industry’s response in 2008 was

a 5 to 6% reduction in pounds produced. He said that the broiler industry is currently at record

high weekly slaughter volumes.” Aho noted “[t]his could be a very difficult year with cutbacks,
                                                 60
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 65 of 131 PageID #:65




rationalization, and consolidation . . . . The market is calling for around a 5% reduction in

chicken production.”

       194.    On a February 4, 2011, Tyson earnings call, COO James Lochner noted that “until

industry supply more closely aligns with demand” Tyson’s Broiler business would “be

challenged.” Tyson CFO Dennis Leatherby also referred to a supply-demand imbalance in the

chicken industry.

       195.    On a February 16, 2011, Cagle’s earnings call, Cagle’s reportedly said it had

begun a 20% reduction in production at a deboning operation in an effort to balance supply and

demand. Cagle’s told one publication that it was “optimistic that the industry will exhibit the

production restraint necessary to support higher pricing for Cagle’s products allowing for return

to profitable margins.”

       196.    On or around February 25, 2011, Sanderson Farms CEO, Joe Sanderson,

announced on an earnings call that Sanderson would be delaying the development and

construction of a second North Carolina Broiler complex.

       197.    On March 7, 2011, House of Raeford announced a 10% reduction in egg sets that

began in early February. CEO Bob Johnson noted in an accompanying press release that “we

decided that acting now was a responsible action for our company in light of continuing unstable

economic conditions. . . . Hopefully the chicken prices will begin to increase later this year. In

addition, if Congress will take action to cut unreasonable government support for the ethanol

industry, then grain prices should decrease to a more manageable pricing level.”

       198.    On March 15, 2011, Simmons announced it was laying off 180 workers at its

Siloam Springs, Arkansas processing plant “[d]ue to economics specific to our industry, resulting




                                              61
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 66 of 131 PageID #:66




from high grain prices predominantly caused by corn being used in ethanol, we have decided to

realign some of our production resulting in the elimination of 180 positions as of April 15.”

          199.   On April 13-15, 2011, the Georgia Poultry Federation held its annual meeting at

the Brasstown Valley Resort in Georgia. Defendants’ senior executives attended the meeting.

Among other positions that Defendants’ employees were elected to at the meeting, Donnie

Wilburn (Director Live Operations, Harrison Poultry) was elected Vice Chairman of the Board

of Directors and Phillip Turner (Plant Manager, Mar-Jac) was elected to the Board of Directors.

          200.   On April 15, 2011, Defendant Mountaire disclosed, in a press report, the

abandonment of a planned capacity increase, with Mountaire President Paul Downes explaining

that “the only way to higher prices is less supply. The only way to less supply is chicken

companies will shut down or cut back. . . . I think that’s what we’re going to see.” (emphasis

added).

          201.   Downes’ view of the state of the chicken industry was echoed, and amplified, by

Joe Sanderson, CEO of Defendant Sanderson Farms, who stated on a May 24, 2011 earnings call

that “the deal is that the industry—forget Sanderson—the industry cannot sustain losses like they

are sustaining for a long period of time. They will—they can’t do it and you have been

observing this for years and years and the industry has been losing money since Novemberish

and balance sheets deteriorate and losses have to stop. The only way to stop losses with $7 corn

is to reduce production and get prices up. That is the rule and the law of the jungle.” Sanderson

continued, “my judgment is that there will be some others that are going to have to make some

adjustments that I believe cuts will be forthcoming in our industry based on the losses we see in

Agri Stats.” (emphasis added).




                                               62
   Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 67 of 131 PageID #:67




         202.   Sanderson’s comments came roughly one week after he and Lampkin Butts,

Sanderson’s President and COO, attended the BMO Farm to Market Conference in New York

City, along with the CEOs of Defendants Pilgrim’s Pride (Bill Lovette) and Tyson (Donnie

Smith). The conference included a presentation by Lovette that noted Pilgrim’s new focus on

matching production to meet demand, including by adjusting “head,” i.e., breeder flocks, to

better balance supply and customer demand.

         203.   During 2011, Fieldale Farms reduced its production by an unspecified amount.

         204.   During 2011, Mar-Jac reduced its production 10% and reported that other Broiler

producers were doing so as well.

         205.   On May 17-18, 2011, senior executives from Sanderson Farms, Pilgrim’s, and

Tyson attended the BMO Farm to Market Conference. Attending were Sanderson Farms CEO &

Chairman Joe Sanderson, Sanderson President & COO Lampkin Butts, Pilgrim’s President &

CEO Bill Lovette, Tyson CEO Donnie Smith, and Tyson Senior Group VP of Fresh Meats Noel

White.

         206.   Pilgrim’s President & CEO Bill Lovette presented at the May 17, 2011, BMO

Farm to Market Conference. Lovette’s presentation noted Pilgrim’s shift away from fixed-rate

contracts to market-based pricing. Pilgrim’s also noted its new focus on matching production to

forecasted demand, including by adjusting head and bird weights at selected plants to better

balance supply and customer demand.

         207.   On a June 6, 2011 earnings call announcing it would not increase capacity in the

foreseeable future, Cagle’s—a Georgia-based integrator whose assets were bought by Defendant

Koch Foods in 2012 following Cagle’s bankruptcy—said that “the industry must lower supply in

order to offset reduced demand and to support higher market prices. Cagle’s continues to



                                              63
   Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 68 of 131 PageID #:68




process at 80 per cent of capacity at its Pine Mountain Valley deboning facility and does not

contemplate any increase in the foreseeable future.” (emphasis added).

       208.    On approximately June 20, 2011, Tyson begin pulling eggs from its incubators to

reduce Broiler volumes.

       209.    On June 21, 2011, Cagle’s announced it was laying off 300 employees at its Pine

Mountain Valley, Georgia plant to reduce Broiler volumes.

       210.    In June and July 2011, Defendants’ senior executives attended industry events,

including a seminar held by the 2011 Food Media Seminar, which included a panel made up of

the CEOs of Defendants Tyson (Donnie Smith), Peco Foods (Mark Hickman), and Perdue (Jim

Perdue), and Defendant Sanderson Farms’ President and COO (Lampkin Butts). On June 27-29,

2011, the US Poultry & Egg Association held a Financial Management Seminar at the Ritz

Carlton in Amelia Island, Florida. Among other presentations, Pilgrim’s President & CEO Bill

Lovette presented to a group of 150 attendees that included senior executives from Defendants.

       211.    On June 27, 2011, Simmons announced it was laying off 223 employees by

August at its Siloam Springs, Arkansas plant to “shift production to better address soaring corn

prices.” In its press release, Simmons blamed U.S. Ethanol policies for reducing its production.

       212.    On July 12, 2011, Tyson CEO Donnie Smith, Tyson executive Bernard Leonard

(Chairman of the NCC at the time), Sanderson Farms COO Lampkin Butts, Peco Foods CEO

Mark Hickman, and Perdue CEO Jim Perdue participated in a panel together at the 2011 Food

Media Seminar.

       213.    On July 29, 2011, Pilgrim’s announced the closure of its Dallas, Texas processing

plant and the layoff of 1,000 employees. Pilgrim’s President & CEO Bill Lovette explained that

“[w]hile the decision to close a plant and eliminate jobs is always painful, we must make better



                                              64
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 69 of 131 PageID #:69




use of our assets given the challenges facing our industry from record-high feed costs and an

oversupply of chicken . . . . A key component of that effort is improving our capacity utilization

through production consolidation and other operational changes. By closing the Dallas facility,

we can consolidate that production volume at three other plants and help those sites run closer to

full capacity.”

       214.       On an August 1, 2011 earnings call, Sanderson Farms CEO, Joe Sanderson,

informed analysts that the company’s normal fall production cut of 4% beginning in November

would remain in place beyond January 2012 or until such time as demand improved. Sanderson

also stated that it “wouldn’t surprise me if the industry makes further, deeper reductions in egg

sets in October or November . . . Nobody knows what cuts might be needed until we get to

October, but I think that the cutbacks may need to be more than the 6% in head that the industry

has in place.” (emphasis added).

       215.       A week later, on August 8, 2011, Tyson’s CEO said on an earnings call that

“domestic availability must be in balance with demand before industry economics can improve.

Tyson continuously strives to match our supply to demand and as a result we made a production

adjustment in the third quarter . . . . Our goal is to match supply to demand. And following over-

production the industry experienced, we cut production in the third quarter, but those cuts have

not yet impacted the market.” (emphasis added).

       216.       On August 18, 2011, Cagle’s announced it was reducing 20% of its production at

its large Pine Mountain Valley, Georgia plant.

       217.       In early October 2011, Defendants’ senior executives attended the National

Chicken Council’s 57th Annual Conference in Washington, D.C. Among the discussion panels

at the event was one about the “new paradigm” in the chicken industry. The panel included



                                                 65
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 70 of 131 PageID #:70




senior executives from Defendants Perdue (Clint Rivers, by then Perdue’s President of

Foodservice and Supply Chain, after having been Pilgrim’s CEO) and Koch Foods (Mark

Kaminsky, COO and CFO). Panelists said that “the industry is accustomed to cycles, but not one

quite like the latest, and companies are going to need to adjust. Discipline on the supply side

was one suggestion. Getting better prices from retailers was another.”

       218.    On November 17, 2011, Wayne Farms issued a press release announcing the

closure of its Decatur, Alabama plant and layoffs of 360 employees.

       219.    On a November 21, 2011, earnings call, Sanderson Farms CEO, Joe Sanderson,

responded to a question about a production decrease that “when we talk about the 4% number,

that is what we project the industry to be. Obviously, we’re going to be a part of that.”

       220.    Throughout 2012, Defendants continued to meet at trade association meetings and

industry events, giving them the opportunity to discuss the impact of their collective production

cuts and otherwise monitor their conspiracy. In the first quarter of 2012, for example,

Defendants’ top executives attended the National Chicken Council’s board of directors meeting

in Atlanta, which was held in conjunction with the January 25-26, 2012 International Poultry and

Processing Expo. On March 20-21, 2012, the National Chicken Council’s board of directors,

which included many of Defendants’ senior executives, met again in Washington, D.C.

       221.    In early 2012, Sanderson Farms cut its production by 4%, which included a

reduction in breeder flocks.

       222.    At USPOULTRY’s Hatchery-Breeder Clinic in January 2012 in Atlanta, Agri

Stats Vice President, Mike Donohue, noted the importance of reducing breeder flocks, stating

that “if the industry chose to do so, it could ramp up production within a 10-week period of time.

The industry could blow apart any recover[y] in the short term by filing up incubators again.”



                                               66
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 71 of 131 PageID #:71




But he also noted that the Agri Stats data indicated that the industry was slaughtering breeder

flocks at 59 to 60 weeks, instead of the typical 65 weeks. The kind of early slaughter of breeder

flocks—including, for example, the bird-age data included in the “Growth Rate Report”

described above—meant that Defendants subsequently were unable to increase production for at

least eighteen months, as they would have been able to do had they not made cuts at the top of

the supply chain.

       223.    The shift in the way the industry supplied chicken was summarized in a March

2012 report published by agricultural lender, CoBank. Entitled “The U.S. Chicken Industry: Re-

invented and Revitalized” with sections captioned “‘Same-Old, Same-Old’ – No More” and “It’s

a New Ballgame,” the report noted that the:

       U.S. chicken industry has gone through the proverbial wringer, but last year
       appears to have been the low point. In recent years, the chicken companies have
       all lost money, some more than others. And five U.S. companies have exited the
       industry since 2008. As the losses mounted, the industry realized that its standard
       business practices sorely needed to be reformed. The surviving chicken
       companies found it to be not just prudent, but absolutely essential to revise those
       practices. The poultry industry today operates much differently than it did just a
       few years ago.

       224.    The CoBank report highlighted one of the reasons for this sea-change: the

Defendants’ reduction of breeder flocks that began in mid-2011, noting that “the recent cuts in

the hatchery flock will prevent a quick response,” with “U.S. chicken production [. . . ] on track

to fall to its lowest level in 5 years by mid-2012.” The highlighted section of the following graph

shows that these cuts bucked the historical trend of breeder flock reductions, going even deeper

than the then-unprecedented 2008-2009 cuts:




                                               67
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 72 of 131 PageID #:72




       225.    The sentiment of CoBank’s March 2012 report was mirrored by Pilgrim’s CEO,

Bill Lovette, on an April 27, 2012 earnings call, where he reported that “the die is cast for 2012,”

and that “we’re comfortable that the industry is going to remain constrained.” (emphasis added).

       226.    Trade association meetings and industry events in the middle of 2012 gave the

Defendants additional opportunities to meet and discuss the effect of their collusive efforts to

reduce production. Examples of these opportunities to conspire included the National Chicken

Council Board of Directors met in Washington D.C. on March 20 – 21, 2012; Urner Barry’s

annual marketing seminar, from April 29 – May 1, 2012; the National Chicken Council’s board

of directors meeting in Lake Tahoe on June 21, 2012; and the July 15, 2012 meeting of the

National Chicken Council’s marketing committee in Stowe, Vermont. Each of these meetings

were attended by a number of Defendants’ senior executives.




                                               68
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 73 of 131 PageID #:73




       227.    In a July 9, 2012, article, Tyson CEO Donnie Smith was quoted as saying “the

company will not over produce chicken at these expensive grain levels, preferring to buy

commodity pieces in the secondary market to fill orders where necessary.”

       228.    On an August 6, 2012, earnings call, Tyson CEO, Donnie Smith, stated that

“[o]ver the past couple of years we have substantially reduced a number of fixed price contracts

we have with customers and currently have less than 15% of our Poultry volume [on] annual

fixed price contracts. The vast majority of our contracts are tied to specific markets or allow for

conversations about adjusting prices to move – prices to offset higher input and we will continue

to push for even more of these types of contracts. I believe supply will begin to rationalize as

well, making it easier for us to have those pricing conversations.”

       229.    On August 23, 2012, Koch Foods CEO, Joseph Grendys, gave an interview with

Bloomberg News. He stated that “[c]osts have gone up so much due to the drought that the

industry will be forced to get price increases of 10 to 15 percent across all product lines” for

2013 over this year. He went on to note that “‘[t]he industry needs to be smart’ and focus on

pricing to ensure it remains profitable . . . . Even if it does become unprofitable in the fourth

quarter, the industry may resume making money after the first quarter of 2013.” The article also

mentioned Koch was going to use quarterly adjustments for price in its contracts for the first time

since 2008.

       230.    On August 28, 2012, Sanderson Farms announced a further 2% production cut

that it blamed on corn and soybean prices.

       231.    By September 2012, Defendants’ 2011 production cuts, particularly their

reduction of breeder flocks, had resulted in increased prices for Plaintiff. Cutting those flocks

meant that Defendants could not increase Broiler supplies in the short or medium term, even if



                                               69
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 74 of 131 PageID #:74




they wanted to. The higher chicken prices seen in the market by September 2012 were not

justified by the costs of Defendants’ primary inputs, corn and soybean meal, which by the fourth

quarter of 2012, had dropped significantly in price following near-record highs in the summer of

2012.

        232.   On October 10-11, 2012, the National Chicken Council held its annual meeting in

Washington, D.C. Among Defendants’ senior executives attending the meeting were the

President of Defendant Fieldale Farms (Thomas Hensley) and CEO of Defendant O.K. Foods

(Paul Fox). Messrs. Hensley and Fox participated in an “Industry Outlook Panel” where

participants discussed the question of what the industry “learn[ed] from 2011 and how will the

industry apply those lessons in 2012 and 2013.” (emphasis added).

        233.   These actions, taken collectively and not in isolation, demonstrate a level of

coordination and “discipline” not seen in this industry prior to the relevant period.

                               (e)    Drastically-Reduced Breeder Flocks Boost Chicken
                                      Prices and Raise Defendants’ Profits to Record Levels

        234.   Defendants’ cuts to the Broiler breeder flocks in 2011-2012 sent flock levels

down to levels not seen for almost two decades, as shown in the following graph:




                                                70
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 75 of 131 PageID #:75




        235.   For most of the remainder of 2012 through 2016, Defendants reaped the benefits

of their coordinated supply restraints as prices rose and profits soared to record levels. During

this time, Defendants’ executives repeatedly heralded the industry’s newly found supply

“discipline.” For example, on a May 3, 2013 investor call, Pilgrim’s Pride CEO, Bill Lovette,

said that:

        Obviously, revenue is going to be a function of price, in part, and in this case a
        big part; and obviously, price is going to strengthen as supply continues to be
        disciplined and constrained . . . So I think the industry is doing an admirable job
        in being disciplined on the supply side and I think we’ve got a combination where
        we combine that discipline with strong demand for product and that’s why you’ve
        seen the pricing environment that we’re now enjoying. . . . I believe the industry
        has learned over the past three to five years that chicken economics is going to be
        driven by the supply and demand of chicken and not necessarily what corn or
        soybean meal costs. I think I’m confident to say, we’ve figured that out and we’re
        doing a good job of balancing supply and demand. (emphasis added).




                                               71
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 76 of 131 PageID #:76




       236.    On the May 3, 2013 investor call, Lovette specifically referenced the continued

importance of restraining the industry’s breeder flocks:

       I only know what we’ve seen happen in the past. Now, certainly, this summer if
       the industry chooses to grow the breeder supply significantly, that’s definitely
       going to impact 2014. What I’m saying is, so far, we’ve seen no indication that
       the industry plans to grow the breeder supply and as a matter of fact, it’s actually
       shrunk. . . . I’ll reiterate that I think the industry has learned that the economics of
       our business is tied very closely to the supply of chickens and we’ve done a good
       job so far of maintaining discipline such that even paying nearly $8.50 for corn,
       we’ve been able to be profitable as an industry. (emphasis added).

       237.    On October 4, 2013, Defendants’ CEOs and other senior executives met at the

annual meeting of the National Chicken Council in Washington, D.C., where a panel, including

the CEOs of Defendants Tyson (Donnie Smith) and Simmons Foods (Todd Simmons), was

“chipper about the prospects for their industry in the next few years.”

       238.    Defendants had reason to be positive. For example, on a January 31, 2014,

earnings call, Tyson CEO, Donnie Smith, reported that through Tyson’s “buy versus growth

strategy we continue to keep our supply short of demand . . . .” Tyson’s continued use of Buy vs.

Grow, including through the present, allows Tyson and other Defendants to reduce production on

a month-to-month basis and have opportunities to learn more information about one another’s

production and pricing.

       239.    On a February 21, 2014 earnings call, Pilgrim’s Pride CEO, Bill Lovette, reflected

on what had led to the company’s record earnings. Lovette noted that “I think the one thing that

creates . . . has created the stability is the discipline of the industry to not allow profitability in

the past to drive supplies in the future . . . And I think that discipline really . . . is the one

ingredient that has made for more stable earnings that we have seen.” (emphasis added).

       240.    At a March 12, 2014 industry conference, Tyson CEO, Donnie Smith, told

attendees that a “meaningful change” in chicken production would not occur until the second


                                                 72
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 77 of 131 PageID #:77




half of 2015, a statement he could confidently make because Defendants’ unprecedented 2011-

2012 cuts in breeder flocks made it impossible for them to “meaningfully change” chicken

production any sooner.

       241.    Industry analysts noted the change in the nature of Defendants’ production cuts.

On May 6, 2014, a Stephens, Inc. analyst said in an interview that historically “it has been very

easy to increase the chicken supply because the cycle is so short. It only takes four to eight

weeks to grow a chicken, but U.S. chicken producers are having a hard time increasing the

chicken supply by much. They cut production capacity throughout the supply chain when grain

prices were very high. Because of this, they cannot materially increase supply for 2014. We

likely won’t see a material increase in production until the second-half of 2015.”

       242.    During 2013 and into 2014, Defendants continued to find ways to actively depress

the size of Broiler hatchery flocks, such as using the pretext of avian flu in Mexico to justify

exporting hatchery flock Broilers to Mexico to repopulate flocks rather than use such Broilers to

increase domestic production levels. Indeed, Defendants continued their program of exporting

Broiler hens and eggs to Mexico in 2015, with Tyson explicitly noting in a May 4, 2015,

earnings call that it was sending 3% of its eggs to Mexico to “fill incubators.” Similarly, during a

July 2016 earnings call, Pilgrim’s CEO Bill Lovette noted his “confidence that we’re going to do

the right thing with respect to maintaining [] discipline. We’ve certainly had the hatching egg

supply to grow much more if we chose not to export those eggs. I think in May we exported 81

million hatching eggs or so outside of the country. The industry could have chosen to set some

of those eggs domestically, but that was not the choice that was made. And so again that gives

us confidence that we’re going to continue to be disciplined as an industry.”




                                               73
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 78 of 131 PageID #:78




       243.    Defendants’ coordinated exportation of Broiler hatching eggs from the U.S. from

2013 through the present is an active effort to artificially reduce the supply of Broilers in the

U.S. below what it would be absent Defendants’ active and continued participation in an illegal

antitrust conspiracy. Upon information and belief, Tyson and other Defendants exported

hatching eggs to Mexico and other foreign countries from 2013-2016 to artificially reduce the

supply of Broilers in the U.S. and increase the price of Broilers in the U.S. The value Tyson and

others received for exporting hatchery eggs to Mexico would have been far exceeded by the

price Tyson would have received for hatching those same eggs in the U.S. and selling the

resulting Broiler meat in the U.S. market.     Therefore, but for Defendants’ agreement and

conspiracy as alleged in this Complaint, it would have been against Tyson’s independent

economic self-interest to export hatching eggs to Mexico and to forgo higher hatching egg prices

in the United States. But Defendants’ new-found discipline ameliorated any remaining risk and

resulted in higher U.S. broiler prices.

       244.    An October 2014 CoBank analysis noted that Defendants’ strategy of targeting

breeder flocks paid dividends during 2013 and 2014. According to the report:

        [P]roduct demand should remain robust through the rest of this year and well into
       2015, bolstered by a gradually improving domestic economy, continued strength
       in export demand, and the towering prices of beef and pork. Broiler production,
       however, has been slow to respond, with integrators having had problems
       expanding the number of chicks placed for growout. Broiler meat production is on
       track to grow just 1.5 percent in 2014 from a year ago, with a similarly modest
       gain expected for 2015. Producers have been somewhat constrained in their
       attempts to expand the nation’s chicken flock by the limited supply of broiler
       hatching eggs. When the broiler-producing industry reduced production in 2011
       and 2012, the hatchery supply flock was also reduced, and it has not yet been
       rebuilt to prior levels. Following seven months of [Year-over-Year (“YoY”)]
       declines, the number of chicks placed for growout finally posted a modest 1
       percent YoY gain in August. However, it will take another 6-9 months for
       integrators to rebuild the supply of broiler hatching eggs in preparation for
       expanding the overall flock, so significant growth in broiler production will not
       materialize until late 2015 or early 2016.

                                              74
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 79 of 131 PageID #:79




       245.    The October 2014 CoBank report also noted the effect of these production cuts,

stating that wholesale prices for chicken “have risen to unusually high levels.”

       246.    On October 10, 2014, NCC President Mike Brown wrote an op-ed in The

National Provisioner.    The title of Brown’s article, “Biofuel policy holds back production

rampup,” continued to blame the Broiler industry’s boogey man of the Renewable Fuel Standard

(aka the ethanol mandate) instead of Broiler producers’ collusive agreement to not increase

production in line with demand. Brown wrote, “current favorable market conditions would

normally stimulate production to be somewhat higher, that is, a percentage more aligned with the

long-run annual average of 4 percent. So why are chicken producers not stepping up production

to better match the long-term average of 4 percent? We would if we could, but we can’t. We

would like to produce more pounds of chicken, but unfortunately we are not there yet. The

primary reason for the industry’s inability to increase production can be attributed to problems

caused by a failed policy” of the Renewable Energy Standard. Brown also went on to blame

fertility issues in the breeder stock and a propane shortage that made it difficult to heat chicken

houses as other reasons the industry could not increase production.

       247.    On October 29, 2014, Simmons Foods announced the closure of its Jay,

Oklahoma spent hen processing plant. Spent hens are Broiler breeders that have reached the end

of their productive life cycle. The Simmons facility processed spent hens on behalf of many

Defendants, providing Simmons with opportunities to monitor changes in other Defendants

Broiler breeder supplies. The closure of Simmons’ Jay, Oklahoma facility is indicative of the

reduced Broiler breeder capacity resulting from Defendants’ initiatives to cut Broiler breeder

capacity across the industry.




                                               75
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 80 of 131 PageID #:80




       248.    During a February 12, 2015, earnings call, Pilgrim’s President & CEO Bill

Lovette summed up the restriction of supply which Defendants had implemented since 2008: “I

looked at some numbers supplied by Agri Stats earlier in the week and found some interesting

facts. If you go back to 2008, the industry slaughtered 8.35 billion head. And by 2011, that

slaughtered head had declined by approximately 8% to 7.7 billion. And it’s actually remained

about that same level through 2014 at about 7.7 billion. If you look at live weight pounds

produced, it was 47.1 billion in 2008. It declined to 45.06 billion in 2011. And in 2014, for the

first time since 2008, it reached 47.3 billion, so only 200 million more pounds above 2008 levels.

And then on the average weight side, the average weight in 2008 was 5.64, and it’s averaged just

above 6 from 2011 through 2014. So with all of that data in mind, what it tells me is the industry

remains fairly disciplined on the supply side and demand has been increasing for chicken against

the backdrop of increasing beef and pork supplies.”

       249.    The year 2015, like 2014, was a banner year for Defendants’ profits resulting

from their conspiracy. Watts PoultryUSA’s March 2016 issue noted, for example, that Tyson

had achieved “record earnings and sales in fiscal year 2015 . . . . posting $40.6 billion in sales,

including ringing up higher chicken sales. Yet, Tyson lowered chicken production in 2015.

What’s at work here? This paradoxical performance, in part, reflects the fact that Tyson, along

with other top U.S. broiler companies, is redefining its business model to achieve profitable

growth.” The true explanation for the 2015 performance of Tyson and its competitors, however,

was the conspiracy alleged in this Complaint.

       250.    In late 2015, Broiler industry analyst Heather Jones noted that chicken supplies

had not increased as expected from the avian flu due to the fact Defendants had started breaking




                                                76
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 81 of 131 PageID #:81




eggs rather than setting eggs. Defendants coordinated the breaking of eggs with one another

during 2015, in part, by the exchange of production information through Agri Stats.

       251.    This trend continued into 2016. With the notable exception of the Georgia Dock,

chicken prices declined in 2016, but significantly less than input costs. Defendants maintained

artificially high chicken prices and high profitability during 2016 by exercising “discipline” on

the supply-restriction.

       252.    For instance, during an April 2016 earnings call, an analyst noted that Pilgrim’s

CEO, Bill Lovette, “mentioned that you think the industry domestically has been much more

disciplined than they have been in the past, I’m wondering if you could just elaborate a little bit

more on what sort of drives that view and then maybe what gives you confidence that this

discipline will hold.” Lovette responded, “[w]hat drives the view is the actual numbers that we

see, ready to cook pounds are up about 3.1% year to date. If you look at placements year to date,

they’re up 1%, egg sets up 0.7%, hatchery utilization actually declined in Q1 to 91%. So in the

phase of coming off two of the most profitable years in the industry, we’re not seeing, not

realizing large amount of production increases.”

       253.    Tellingly, Pilgrim’s CFO Fabio Sandri added immediately after Lovette’s

comments that “what drove that I believe it is that [the] industry is more geared towards

profitability rather than just market share or field growth.” (emphasis added). In other words,

Defendants were no longer competing with one another to gain market share by growing their

companies as one would expect in a competitive market, but instead, worked collectively to

increase profitability by being “disciplined” in terms of supply growth.

       254.    Defendants also kept up the regular use of signaling one another to perpetuate

their collusion during 2016 by using the code word “discipline” to note their continued



                                               77
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 82 of 131 PageID #:82




adherence to the supply-restriction dimension of their conspiracy by keeping breeder flocks low.

For instance, during a February 2016 earnings call, Pilgrim’s CEO, Bill Lovette, noted that:

       [T]he industry continues to be disciplined in terms of U.S. supply. Although
       monthly pullet data tend to be volatile and have occasionally been at the high end
       of our expectations, we see modest growth of the breeder flock, and more
       importantly, little to no increase in egg sits [sic] and chick placements as a
       positive. We believe that at least part of the reason is because chicken producers
       are being disciplined and are much quicker to react than in the past and in
       adjusting supply growth to the actual market conditions. (emphasis added).

       255.    Other CEOs also had to try to explain the marked shift in the chicken industry’s

profitability in recent years, after the decades-long pattern of boom and bust regarding chicken

pricing and profitability. During a February 2016 Sanderson Farms earnings call, BMO Capital

Markets analyst Ken Zaslow noted the industry’s history of volatility in pricing and profitability

for chicken companies, questioning if there was “any changing of the industry dynamic” that had

occurred. Sanderson Farms CEO Joe Sanderson replied “we might be at a capacity wall, you

know? . . . Since back in 2007 . . . there are three or four plants shuttered . . . It does feel

different.”

       256.    On an analyst call on May 26, 2016, Mr. Sanderson echoed his earlier statements

about how much the industry had changed since 2007, noting that “when you go back and look

and see how many eggs are being set right now and you go back and look at what the industry

will [sic] set in 2007 . . . egg sets in 2007 were 220 million eggs a week, and we’re setting 208

million, 209 million, 210 million eggs a week.” Sanderson’s comments about egg sets were

amplified by Pilgrim’s CEO Bill Lovette later that summer, stating on a July 28, 2016 analyst

call that “I think what we have seen with egg sets is absolutely a testament to the discipline of

our industry that we’ve seen in the last really two to three years.”

       257.    On the July 28, 2016 call, Lovette also commented on Defendants’ continued

restraint of breeder flock population, noting that “the breeder flock in total is only up about
                                                78
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 83 of 131 PageID #:83




0.5%” over the same time period, and ended the analyst call describing the “positive notion [we]

have about the discipline that we continue to see exhibited by the entire industry,” which “gives

us more confidence that we’re going to do the right thing with respect to maintaining that

discipline. . . .and . . . gives us confidence that we’re going to continue to be disciplined as an

industry.”

        258.    On an August 8, 2016 earnings call, Tyson’s former CEO Donnie Smith—who

was then transitioning the CEO role to Thomas Hayes, the company’s former Chief Commercial

Officer who became the CEO in late 2016—stated that “our chicken business is . . . it continues

to do great,” a comment seconded by Hayes, who said about the company’s chicken business

that “year-over-year, we’re doing great . . . all that business is very profitable to us.”

                (iii)   Collusively Manipulating the Georgia Dock Benchmark Price Index

                                (a)     Overview of the Georgia Dock, USDA Composite,
                                        Urner Barry, and EMI chicken price indices

        259.    Broiler chicken prices are reported primarily by three entities: Urner Barry (a

commodity price reporting service), the Georgia Department of Agriculture (aka “Georgia

Dock,”), and the USDA. Additionally, as discussed below, Agri Stats collects detailed pricing

information through its subsidiary Express Markets, Inc. (“EMI”).

        260.    Urner Barry collects and publishes daily price information for Broilers, while for

the USDA’s Composite index, USDA collects and publishes Broiler price information on a

weekly basis. USDA’s Composite price index is publicly available for free. Urner Barry’s

chicken price information is subscription-based, so all producers and many purchasers

subscribe for a fee. The USDA and Urner Barry’s Broiler price indices are based upon a

system of double verification, which includes telephonic and written surveys of all or nearly




                                                 79
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 84 of 131 PageID #:84




all chicken producers, but also verification of reported prices from purchasers such as brokers

and customers.

          261.   The most detailed price report is not publicly available and is produced by Agri

Stats and its subsidiary, Express Markets, Inc. According to a May 2010 FarmEcon study,

EMI’s pricing report4 includes “pricing data on whole birds and chicken parts that is

considerably more detailed than the USDA,” Urner Barry, or Georgia Dock reports, as it is based

on actual sales invoices from Broiler companies.

          262.   Published prices for Broilers from Urner Barry, Georgia Dock, and USDA relate

to the spot market for Broilers. However, prices for chicken, whether sold under contract or on

the spot market, generally move with spot market prices as reported by Georgia Dock or Urner

Barry.

          263.   Statements by chicken company executives and industry experts confirm that

chicken sales, whether by contract or on the spot market, are tied to spot market pricing. For

instance, Sanderson Farms CEO Joe Sanderson explained in a May 2008 speech that Sanderson

Farms’ contract sales to retail customers have prices tied to the Georgia Dock price survey and

Sanderson Farms’ contract sales to food distributors are “based on formulas tied to the Urner

Barry.”     Similarly, expert economist Dr. Colin A. Carter from the University of California

(Davis) testified that “internal Pilgrim’s documents show that virtually all chicken products, even




4
  Agri Stats subsidiary EMI was formed around 2000 to compete with the price reporting
service of Urner Barry. Unlike Agri Stats reports for Defendants, EMI releases daily pricing
data to both Defendants and potential purchasers of Broilers, though the reporting service
costs thousands of dollars and is not publicly available. EMI reports capture all
transactions by Broiler producers, who automatically transmit invoice information
electronically from each transaction to EMI. The reports include all sales volume information
from the previous day, including the size of containers, type of cut, whether the product was
chilled with ice or CO2, the price, and numerous other pieces of information.
                                               80
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 85 of 131 PageID #:85




if they’re not sold spot, are tied to the spot prices. . . . 83 percent of Pilgrim’s chicken sales are

reflecting the spot price within a given year. So there’s only about 16 percent of their sales that

are not tied to the spot market over a relatively short period of time.” Further, because half of

“fixed contracts” actually had terms tied to Broiler spot market prices, Dr. Carter concluded that

92% of Pilgrim’s Broiler sales were tied to Broiler spot market prices such as Georgia Dock.

       264.    As a consequence of the inelasticity of supply and demand in the Broiler industry

(discussed below) and the availability of the spot market price indices (discussed above), public

price increase announcements by Defendants were unnecessary. Defendants knew and intended

that a decrease in supply pursuant to their agreement would increase Broiler spot market prices,

and therefore that all Broiler prices would increase.

                               (b)     The Georgia Dock Pricing Methodology and Its
                                       Susceptibility to Manipulation

       265.    Defendants’ successful efforts to boost chicken prices by collectively reducing

supply were buttressed in the latter years of their output-reduction scheme through their collusive

manipulation of the Georgia Dock benchmark price index, a chicken industry pricing benchmark

contained in contracts between Defendants and a significant proportion of their customer. The

Georgia Dock, USDA Composite, and Urner Barry all measure the same (or very similar) size

and grade of chicken.5 The Georgia Dock benchmark price index, like the other two indices, sets

prices for both the “whole bird” and various parts of the chicken (wings, tenders, leg quarters,

thighs, drumsticks and breasts) using the same pricing methodology. The “whole bird” price is

the baseline for pricing all parts of a chicken.



5
  Unlike the other indices, the Georgia Dock benchmark price did not include freight or
transportation costs. At its inception, the Georgia Dock benchmark price was known as the
“Georgia F.O.B. Dock” price; the Georgia Dock was “F.O.B.” the supplier’s shipping dock,
meaning that the buyer was responsible for paying the freight.
                                                   81
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 86 of 131 PageID #:86




       266.    Buyers, including Plaintiff, relied on the Georgia Dock benchmark price index

because they believed it accurately reflected the market price for the chicken they bought—

especially since the Georgia Dock was an industry-accepted benchmark price index for

wholesale chicken prices that was meant to reflect the market price of chicken. And, the Georgia

Dock Defendants came together to manipulate the Georgia Dock benchmark price index.

       267.    Compared to the other two indices available to chicken buyers, there were

significant differences in how the Georgia Dock benchmark price index was compiled that made

it highly susceptible to manipulation by the Georgia Dock Defendants, who are the ten chicken

producers that submitted price quotes to the GDA for inclusion in the index. The Georgia Dock

Defendants are the ten producers whose price quotes went into the Georgia Dock index, namely

(ranked by their market share in Georgia, which dictated how much weighting each producer’s

quote was given in compiling the Georgia Dock benchmark price): Pilgrim’s Pride (33%); Tyson

(14%); Fieldale (14%); Perdue (9%); and Sanderson Farms, Koch, Claxton, Mar- Jac, Harrison

and Wayne Farms, each with a 5% market share.

       268.    The significant difference between the Georgia Dock price index and other

Broiler price indices in recent years cannot be explained by only one or two outlier companies

reporting artificially high Broiler prices to the GDA, as the one cent Rule requires that outlier

prices deviating by more than one cent from the initial dock price be excluded from the final

Georgia Dock price. Instead, the deviation of the Georgia Dock price index from other indices—

indices that are themselves based on verified sales by Defendants—can only be attributed to all

or nearly all participating Broiler producers collectively submitting artificially high and identical

or very nearly identical Broiler prices to the GDA.




                                                82
   Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 87 of 131 PageID #:87




       269.   To compile the Georgia Dock price index, according to an internal GDA

document provided recently to the New York Times through an open records request, “each

participating [Broiler producer] company is called [by the GDA] on Wednesday every week to

report the price offered to companies in which they have contracts in place with.” A single price

is given by each Broiler producer company and it is accepted without any verification of actual

invoices or any other form of auditing to verify accuracy. In response to a recent press inquiry,

the GDA explained its failure to audit any self-reported data from Defendants by stating, “We

don’t see any reason they would submit information that wasn’t truthful.”

       270.   Despite the GDA’s public statements about confidence in the Georgia Dock price

index, the GDA employee who collected prices each week from Broiler companies, Arty

Schronce, was deeply concerned. In a September 2016 internal GDA memorandum, disclosed

publicly for the first time on November 17, 2016, in a Washington Post article, Schronce wrote

that he “continue[d] to have concerns about” the Georgia Dock, had “voiced concerns in the

past,” and that he thought the Georgia Dock price index was “a flawed product that is a liability

to the Georgia Department of Agriculture.” Schronce also noted, “I was told that poultry

companies know what they are doing and all I need to do is to gather and consolidate the info I

am provided. However, I have come to question the validity of some of the information

provided.”

       271.   Schronce’s Memorandum confirms the significance of the one cent rule.

Schronce’s memorandum noted that after a January 2016 article about the Georgia Dock price

index in the Wall Street Journal (see below, ¶ 266), one “company appears to basically not take

part in the Whole Bird Dock Price process. They seem to deliberately submit a low bid that they

know will be kicked out. However, they can claim that they are submitting something lower. In



                                              83
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 88 of 131 PageID #:88




essence, they can take advantage of a high whole bird price while maintaining that they want it to

be lower.”

        272.    Until late 2016, the Georgia Dock pricing methodology was not publicly

available. Chicken buyers whose transactions with Defendants were based on the Georgia Dock

whole-bird price, mistakenly believed it reflected the actual market price of chicken. Moreover,

because (until August 2016) the USDA also published the Georgia Dock benchmark price

alongside the USDA Composite, many chicken buyers erroneously believed the Georgia Dock

price to be a USDA price.

        273.    In addition, Defendants falsely represented that the Georgia Dock benchmark

price is based on a complicated “algorithm” from the GDA that takes into account various

factors, such as bird weights, weather, mortality rates, and demand. Plaintiff was misinformed

that the Georgia Dock benchmark was supposed to be based on the Georgia Dock Defendants’

actual sales prices as reported to the GDA. But neither was true: there was no complicated

“algorithm,” nor did the Georgia Dock Defendants report their true prices to the GDA, agreeing

instead to intentionally report false, artificially-high (or artificially-stabilized) prices. The reality

was that the Georgia Dock price was simply whatever the Georgia Dock Defendants said it was.

Hypothetically, if one week the Georgia Dock price was $1.75, and the following week the

Georgia Dock Defendants told the GDA that the sales price of their chicken was now $2, the

Georgia Dock price was $2—and the prices that Plaintiff and others paid for chicken increased

commensurately.

        274.    Once a week, Schronce, would call the same ten individuals at the Georgia Dock

Defendants to collect price quotes, which were supposed to reflect their actual sales prices. He




                                                  84
   Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 89 of 131 PageID #:89




weighted each producer’s price quote by its above-referenced relative market share (referred to

by the GDA as that company’s “voice”).

       275.    The price quoted by each Georgia Dock Defendant to the GDA was based on 2.5-

to-3 pound whole chickens, but only a handful of the Georgia Dock Defendants actually

processed 2.5-to-3 pound birds in Georgia, so, according to internal GDA documents, the

Georgia Dock Defendants were “supposed to adjust their whole bird quote as if they are

producing that sized bird.” Once the final Georgia Dock whole bird price was calculated, the

GDA then used a formula to calculate prices for different chicken cuts and parts based on the

whole bird price the Georgia Dock Defendants provided to the GDA each Wednesday.

       276.    In compiling the Georgia Dock benchmark price, there was no team of

economists or statisticians surveying buyers and sellers in the national chicken market. Unlike

the USDA Composite or Urner Barry, which use data from numerous producers and buyers on

both sides of the market, the Georgia Dock reflected prices sourced solely from a handful of

producers.

       277.    Schronce, who began compiling the Georgia Dock Defendants’ price quotes in

2012 following the retirement of his predecessor, first made a preliminary calculation based on

the single price quotation from each company. Then “[a]ny company that provides a whole bird

quote that is more than one cent above or below the initial dock price calculation will not be

included in the calculation for the whole bird dock price that week. Its voice is taken out of the

formula and the dock price is recalculated without it.”       This so-called “one-cent rule” is,

according to internal GDA documents, meant “to shield [] one company having the ability to

greatly influence the price up or down.”




                                              85
   Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 90 of 131 PageID #:90




       278.   Due to the GDA’s one cent rule, it was not possible for only one or two Broiler

companies to report a significantly higher Broiler price to the Georgia Dock without being

disregarded as outliers by the GDA. Accordingly, on information and belief, Plaintiffs allege

that Defendants began collectively reporting prices to the GDA that not only were identical or

nearly identical, but also were significantly above the actual market rate. As a result, Georgia

Dock prices continued to rise and later stabilize during 2015-2016 at near historic highs. As

described further in this Complaint, it was not until a series of articles was published between

November 3, 2016 and November 17, 2016 that information was publicly available to show

Defendants may have fixed the Georgia Dock price.

       279.   Nothing was done to verify or substantiate these numbers. There was no “double-

verification;” customers were never contacted to check to see if the producers’ prices were

legitimate. The entire process was based on unverified, verbal “price quotes” from the same

small set of chicken producers (the Georgia Dock Defendants) submitted each week to a single

GDA employee, a methodology that was “susceptible to manipulation.”

       280.   To facilitate their control of the Georgia Dock benchmark price, the Georgia

Dock Defendants convinced the GDA to convene a non-public, non-governmental “Advisory

Board” composed of senior executives from eight of the ten private sector Georgia Dock

Defendants to advise the GDA on the Georgia Dock price. From at least September 2012 through

2016, the Advisory Board included Gus Arrendale (CEO, Fieldale Farms), Mike Welch (CEO

and President, Harrison), Jerry Lane (Former CEO, Claxton Poultry), Jayson Penn (EVP Sales

and Operations, Pilgrim’s), Pete Martin (VP of Operations, Mar-Jac), Vernon Owenby (Manager

of Tyson’s facility in Cumming, Georgia), Steve Clever (VP of Fresh Sales, Wayne Farms), and

Dale Tolbert (VP of Sales, Koch Foods).



                                             86
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 91 of 131 PageID #:91




       281.    The existence and conduct of this private sector Advisory Board was not known

to chicken buyers until November 2016 when it was first made public following a press report

about a September 2016 memorandum written by Schronce that was highly critical of the

Georgia Dock methodology. He wrote in the memorandum that he had “questions about the

‘Advisory Board’ and its role over an office of a state regulatory agency that is supposed to be

independent. I was told I could not make any changes without clearing them with the Advisory

Board.” The Advisory Board gave the Georgia Dock Defendants a vehicle to discuss and

artificially set price quotes to ensure compliance with their price-fixing agreement.

       282.    In December 2015, the GDA began an internal review process of the Georgia

Dock pricing methodology, in large part, because the agency had “serious concerns” about the

way the index was compiled. The GDA’s internal review was not made public at the time it

began, and was not revealed until it was described in a series of press reports beginning in

November 2016. Schronce, in his September 2016 memorandum, expressed concerns that some

companies have a “larger, even outsized role in determining the Georgia Whole Bird Dock

Price,” and that “[i]n essence, they can take advantage of a high whole bird price.”

       283.    On July 19-20, 2016, high level USDA officials met with GDA representatives in

Atlanta, Georgia to discuss the Georgia Dock price. The USDA officials shared their conclusion

that GDA could no longer simply accept Broiler prices from Defendants and their Producer Co-

Conspirators without verification, and instead would have to verify invoice-level data to confirm

reported prices. On July 20-21, 2016, USDA officials requested that the GDA provide the

USDA with data from Broiler producers to “test and review” the Georgia Dock price for

accuracy.




                                               87
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 92 of 131 PageID #:92




       284.    On July 22, 2016 USDA’s weekly BMNR publication noted that beginning on

August 5, 2016, GDA “will be issuing a new weekly market report for negotiated Georgia

broiler/fryer whole birds and bird parts, which will replace the current [Georgia Dock price].”

The GDA did not comply with USDA’s August 5 deadline, however, and in the August 5 USDA

BMNR all price information from the GDA and Georgia Dock was removed and only a

hyperlink to the GDA’s website was included.

       285.    In 2016, high level officials within the GDA began to raise antitrust concerns

regarding the Georgia Dock. For instance, a July 27, 2016, report from GDA Director of

Regulatory Compliance & Budget Alec Asbridge to GDA Commissioner Gary Black concluded

that “[t]he top 10 poultry producing companies now control over 80% of the industry output.

The combination of vertical integration, limited competition and lowered production periods has

led to steady prices that have shown to be fairly resistant to changing market conditions. These

factors alone illicit [sic] anti-trust review.” (emphasis added).

       286.    GDA Director Asbridge’s July 27, 2016, report also noted that over time, the

GDA became a vehicle for Defendants to “report[] a weighted average price per pound on

broilers [Georgia Dock price] based off of contracts that have been determined at the private

level and reported without regulatory oversight. The formulas to calculate weighted average

prices have been determined on the private level and have not been standardized since the

inception of the [GDA Poultry Market News division] in 1968, which there is no written record

of.” (emphasis added). In other words, it was Defendants themselves who wrote the rules and

formulas that make up the Georgia Dock price, not the GDA.

       287.    Director Asbridge’s July 27, 2016, report also concluded that “[t]he extent of the

use of the [Georgia Dock price] in contract negotiations is presently unknown but inquiries made



                                                 88
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 93 of 131 PageID #:93




by media and other governmental entities indicate that it is utilized on a more regular basis than

previously expected.” (emphasis added). In short, the GDA had been publishing the Georgia

Dock price for decades, but until the last few months, apparently did not know the scope of

reliance on the Georgia Dock price. Notably, a revised and highly sanitized version of the July

27, 2016 report from Director Asbridge to GDA Commissioner Black was circulated internally at

GDA on August 5, 2016. The sanitized August 5 report removed references to the existence of

factors in the Broiler industry eliciting “antitrust review” and to the fact that the Georgia Dock

price was reported for decades by GDA “without regulatory oversight.”

       288.    On August 12, 2016, GDA Director Asbridge provided Georgia Poultry

Federation President Mike Giles with the sanitized version of the report and asked Giles to

review it before the GDA sent it to the USDA, “to ensure what I presented is accurate and best

represents industry’s concern with only reporting a spot price.” As noted elsewhere in this

Complaint, the Georgia Poultry Federation represents the poultry industry in Georgia, and most

Defendants are members. Remarkably, the GDA also noted in a separate email the same day to

Giles and the Georgia Poultry Federation that “[t]he GDA is in agreement with the poultry

industry that there is no desire to review invoices for verification of data reported,” even though

the information and means to do so are readily at hand—Defendants already report such invoice

information to Agri Stats on a daily basis. According to a subsequent email dated August 24,

2016, Georgia Poultry Federation President Giles called GDA Director Asbridge back and gave

“his and industry’s sign off on the dock price summary report. We can move forward with

sending to USDA.” GDA Director Asbridge also proposed another meeting between GDA and

the Georgia Poultry Federation to discuss recommendations about verifying Georgia Dock data.




                                               89
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 94 of 131 PageID #:94




       289.    Under pressure from the USDA, and realizing that the Georgia Dock pricing

methodology raised significant antitrust concerns, the GDA considered revising the methodology

in the autumn of 2016.          After the Georgia Dock Defendants balked at the GDA’s new

methodology—which required them to verify and attest to the accuracy of their price quotes—

the GDA halted the Georgia Dock benchmark price index altogether when it did not receive

sufficient price quotes to compile the index. The last Georgia Dock benchmark price was

published by the GDA on November 23, 2016. However, for several months after the last

Georgia Dock price was published by the GDA, certain Defendants, including at least Pilgrim’s,

continued to use the November 23, 2016 benchmark price of $1.0975/lb. to set their wholesale

prices to chicken buyers.

       290.    On October 6, 2016, a USDA press release noted the expansion of its National

Whole Broiler/Fryer report, which included new weekly price information regarding 2.5-to-3

pound Broilers that replaced the same weight Broiler previously reported by the Georgia Dock

price. Importantly, the new USDA price roughly matched the Urner Barry price, suggesting that

the Georgia Dock price continues to be subject to manipulation by Defendants and does not

reflect actual market prices.

       291.    On November 3, 2016, the New York Times published the first account of the

USDA’s inquiry into the Georgia Dock, based on information received via Freedom of

Information Act and open records requests for internal USDA and GDA documents.

Subsequently, a November 8, 2016, article by the Washington Post provided additional detail on

the inquiry, including a comment from the USDA that “they discontinued publishing the Georgia

Dock price ‘when data from the source report could not be independently verified.’” In the

Washington Post article, Sanderson Farms CFO Mike Cockrell was quoted as saying “the



                                              90
   Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 95 of 131 PageID #:95




Georgia Dock has come to be a trusted reflection of the supply and demand for retail stores.” In

a press release cited in a Bloomberg News article on November 17, 2016, Tyson stated that

“[w]hen the Georgia Department of Agriculture asks us for pricing data, we provide accurate

information based on actual and recent transactions.” Sanderson Farms’ and Tyson’s continued

defense of the Georgia Dock price index as one that customers should trust shows that

Defendants continue their efforts to conceal the conspiracy alleged in this Complaint.

                              (c)    Georgia Dock Prices Diverged from the USDA
                                     Composite and Urner Barry Price Indices Beginning in
                                     2013

       292.    In early 2013, the behavior of the Georgia Dock index significantly changed.

The changes resulted from the conspiracy by the Georgia Dock Defendants to agree on artificial

prices quoted to the GDA for inclusion in the Georgia Dock benchmark price.

       293.    Beginning in early 2013 and continuing until November 2016, the Georgia Dock

Defendants agreed among themselves to submit artificially high and identical, or near-identical,

prices to the GDA, which allowed them to continually increase, and successfully stabilize,

chicken prices tied to the Georgia Dock benchmark price index.

       294.    Historically, the Georgia Dock benchmark price was highly correlated to the

prices in the USDA Composite and Urner Barry indices; the movement (i.e., volatility) of the

Georgia Dock price mirrored the patterns of the other two indices (e.g., prices go up or down

depending on market forces, such as supply and demand). This changed in 2013, when the price

volatility that had marked the Georgia Dock (and which still marks the other two indices) largely




                                              91
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 96 of 131 PageID #:96




disappeared. Georgia Dock prices mostly stabilized, while prices in the other two indices

remained volatile. 6

       295.    Starting in 2013, monthly price volatility in the Georgia Dock markedly

decreased, particularly with respect to downward price movements (i.e., when prices dropped,

they dropped far less drastically than they had prior to 2013). This near-disappearance of price

volatility was unique to the Georgia Dock. Both of the other price indices stayed volatile while

the Georgia Dock remained stable, as reflected in the following graph, which compares prices of

the various indices both before and during the relevant period:




6
  Plaintiff alleges that prices reported in the EMI, Urner Barry, and USDA Composite price
indices were also supracompetitive and artificially inflated by the conduct of Defendants.
                                               92
     Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 97 of 131 PageID #:97




        296.   Beginning in 2013, the Georgia Dock benchmark price began to behave in a

markedly different manner due to Defendants’ price-fixing conspiracy. Starting in early 2013,

the Georgia Dock component of Defendants’ conspiracy kicked into high gear, as the Georgia

Dock price—for the first time ever—became negatively correlated with the other two price

indices (i.e., the Georgia Dock price increased while prices in the other two indices decreased).

This marks a dramatic change from 2002 to 2012, where all three indices were positively

correlated with each other (i.e., they moved up and down together).7

        297.   After at least a decade of high correlation with the USDA Composite and Urner

Barry indices, the Georgia Dock benchmark price diverged dramatically from the other two

indices in 2013 and thereafter—Georgia Dock prices were far more stable, and substantially

higher, than the USDA Composite and Urner Barry prices. The stability and level of Georgia

Dock prices from 2013 through November 2016 was the direct result of Defendants’ conspiracy.

        E.     The Structure and Characteristics of the Chicken Market Make It Highly
               Susceptible to Collusion

               (i)    Highly-Concentrated Market with Vertically-Integrated Producers

        298.   The Broiler industry is almost entirely vertically integrated, with Broiler-

processing firms owning or tightly controlling almost all aspects of production, processing, and

marketing. In the Broiler industry, “vertical integration” means the chicken company owns or

controls each aspect of breeding, hatching, rearing, feeding, basic processing, and selling of

chicken. Many integrated chicken companies also own further processing plants.




 7
  After 2013, the USDA Composite and Urner Barry indices remained positively correlated
 with each other.

                                              93
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 98 of 131 PageID #:98




       299.    Because chicken producers have determined over time that the economics of

growing chicks into full size Broilers are unfavorable, the chicken industry has developed a

system of production-contract farming. The integrated producers provide the feed and chicks to

farmers (which remain under ownership of the integrated producer); the contract farmer then has

roughly 6-7 weeks to grow the chicks into full size broiler chickens. During this “grow out”

period, the integrated producer’s employees frequently monitor the chickens. Once fully grown,

chickens are picked up by the integrated producer and brought to an integrator-owned

processing plant (aka, slaughterhouse).      Some of the chickens are sold without any further

processing, while other chickens are further processed by integrated companies into value-added

specialty products (e.g., chicken nuggets, etc.).

       300.    The graphic below indicates the key stages of Broiler production that vertically

integrated chicken companies control, which are all those points in the production process which

provide integrated chicken companies complete control over supply and allow them to capture the

greatest profit margin:




                                                94
    Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 99 of 131 PageID #:99




       301.    According to a paper prepared in connection with the USDA and DOJ's failed

effort to increase competition in the Broiler industry in 2010, “[c]ontrol over the number of birds

delivered to the processing plants allows processors to match more closely inputs to plant

capacities and lower per-unit processing costs, as well as to better meet consumer requirements.”

In connection with the same effort by the USDA and DOJ, a former expert witness for Defendant

Tyson, Michael Dicks, wrote, “[i]n the poultry industry vertical coordination allows integrators

to manage excess capacity to manage price. Integrators can minimize the effect on producers by

increasing the time between collection and delivery of birds or reducing the number of flocks per

year rather than terminating grower contracts in much the same way the USDA requires all

commodity program recipients to adhere to acreage reduction program guidelines and grower

associations require members to cut back marketable output.”

                                               95
  Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 100 of 131 PageID #:100




         302.   Modern chicken producers rely on a handful of unique breed lines to mass

produce essentially identical chickens with desirable genetic traits. Genetics companies, which

develop strains of grandparent and great-grandparent breeding stock, sell to integrated Broiler

producers breeders that have special hybrid characteristics, such as a tendency to produce a large

chicken breast. Genetics companies create a “biological lock” on their unique Broiler lines by

tightly controlling the purebred genetic strain that they develop. After an integrated producer

purchases young breeder hens (aka “breeder pullets”) from a primary breeder, the integrated

producer raises the birds to be breeders that lay eggs to be taken to incubators at an integrator-

owned hatchery. The chicks from Broiler company hatcheries are then sent out to the integrated

producer’s contract-farmers to raise into adult Broilers.

         303.   At present, no company except Tyson owns the genetics or produces the

grandparent or great-grandparent strain for the Broilers it raises and slaughters. Nearly all U.S.

producers now rely on 3 global genetics conglomerates: Cobb-Vantress (owned by Tyson),

Hubbard, and Aviagen.        These three companies supply the breeder stock, and therefore

ultimately the Broilers, that account for 98% of Broilers raised in the U.S. and 80% of Broilers

raised globally.    While there were 26 Broiler genetics companies world-wide in 1981,

acquisitions by the three remaining companies have essentially eliminated any other meaningful

competitors in the U.S.     Tyson’s Cobb-Vantress subsidiary has approximately 50% market

share.

         304.   Since a supply of primary breeders is essential to each Broiler producer’s

business, Tyson’s ownership and control of subsidiary Cobb-Vantress provides it with

exceptional leverage over other Defendants to mandate compliance with Defendants’ illegal

agreement. Tyson can offer other Defendants the carrot of access to Cobb-Vantress’ unique



                                                96
  Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 101 of 131 PageID #:101




Broiler genetic lines, with desirable qualities like high conversion rates of feed into meat.

However, Tyson can also use Cobb-Vantress as a stick against any competitor who Tyson and/or

its co-conspirators believe is overproducing chickens by providing such competitors inferior,

sick, or an insufficient number of breeder pullets, or withholding breeder pullets altogether that

the competitor needs to operate a profitable business.

       305.    Perdue was the last Broiler integrator in the U.S. to maintain its own genetics

research company besides Tyson, but Perdue sold its genetics company to Tyson in 2014. In

announcing the sale, Perdue issued a press release that stated “there are no longer significant

advantages to having our own breed . . . it is important that we have the flexibility to select the

breeder combination that works best for each specific customer requirement.” The press release

went on to note that “[w]ith the outstanding exception of the Cobb-Vantress enterprise owned by

Tyson Foods, no producer has managed to effectively compete using an in-company breeding

program against a multinational primary breeder. To be cost effective a genetics program based

on index selection incorporating the measurement of significant traits and applying sophisticated

molecular markers and field testing requires a magnitude of scale exceeding the capacity of

individual producers.”

               (ii)      The Market For Broilers Is Characterized By Inelastic Supply And
                         Demand

       306.    Inelastic demand means that increases in price result in limited declines in

quantity sold in the market. In order for a group of companies to profit from raising prices above

competitive levels, demand must be inelastic at competitive prices, which allows group members

to raise prices without seeing a decline in sales revenue. Industry studies show that in the U.S.

chicken market, not only is the demand for chicken inelastic, it has become increasingly more

inelastic over the past 40 years. In connection with a joint DOJ-USDA workshop on the poultry


                                               97
  Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 102 of 131 PageID #:102




market in 2010, agriculture economist, Dr. Michael Dicks, presented research demonstrating

how vertical integration incentivizes chicken producers to implement supply restrictions, stating

that in the U.S. poultry industry “vertical coordination allows integrators to manage excess

capacity to manage price. Integrators can minimize the effect on producers by increasing the

time between collection and delivery of birds or reducing the number of flocks per year…

Because of the inelastic nature of the supply and demand a reduction in supply will produce an

outcome more preferable to the industry than maintaining supply with a lower price.”

               (iii)   There Are No Significant Substitutes For Broiler Chickens

       307.    Pork and beef are the most likely alternative sources of protein to chicken, but

pork and beef are not economic substitutes for chicken. Numerous studies have found that the

cross elasticity of demand between chicken, beef, and pork is either negative or statistically

insignificant, meaning that pork and beef are complements to chicken, but not substitutes.

       308.    The historically high spread between the price of pork and beef versus chicken

since 2008 has also reduced any possibility of substitution of chicken with pork or beef.

               (iv)    The Broiler Industry Has Experienced High Consolidation And Is Highly
                       Concentrated

       309.    According to a November 2013 USDA report, “[d]uring the past 16 years, firms

in the Broiler industry continued to decrease in number and grow in size, thereby gaining further

economies of scale and scope in processing and marketing. According to the National Chicken

Council, 55 federally inspected Broiler companies operated in 1995, compared with 41

companies in 2010.” By 2014, there were only 35 such companies.

       310.    In fact, the trend towards consolidation among all segments of the Broiler

industry goes back decades, as shown below. This consolidation has largely squeezed out the




                                               98
  Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 103 of 131 PageID #:103




large number of smaller Broiler companies that used to represent a significant portion of Broiler

industry production.




       311.   As of 2015, Defendants controlled 88.8% of Broiler production in the United

States. Since the start of the relevant period, there has been surprising stability in market

share for each Defendant, as shown by the graph below. The two exceptions are Pilgrim's

loss of market share due to its large plant closures during bankruptcy in 2008-2009 and Koch

Foods' increase in market share due to the purchase of a plant from Tyson and purchase of

bankrupt Cagle's, Inc.




                                              99
  Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 104 of 131 PageID #:104




       312.    Broiler companies increasingly rely on de facto consolidation whereby

Defendants acquire nearly complete control over seemingly independent smaller Broiler

companies. Defendants’ de facto consolidation creates “zombie” Broiler companies that on

paper are separate and independent entities, but are in fact completely controlled by Defendants

through co-packing contracts. For instance, Tyson Foods has co-packing arrangements with a

number of smaller Broiler producers in which Tyson purchases either (1) the company’s entire

production of Broilers (including dark meat) or (2) all of the company’s white meat (i.e., chicken

breast and wings) and encourages the company to export the less valuable dark meat to

remove that supply from the United States market.

       313.    Upon information and belief, Defendants’ co-packing contracts with smaller

producers are typically 2-5 years in length. Even where the co-packing arrangement is only 10-

20% of a smaller producer’s overall supply, Defendants are in a position to pressure smaller

producers to limit their production. Co-packing contracts give Defendants unprecedented control

over supposedly independent producers, including control over the breed of bird grown, what

feed can be used, how many birds can be grown, and numerous other aspects of raising Broilers.

                                              100
  Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 105 of 131 PageID #:105




With respect to processing, Defendants not only require exacting specifications for co-packing

partners, but also put Defendants’ own employees in the processing plants of their co-packers

and supervise every significant detail of the slaughter and packing process.

       314.    Upon information and belief, the purpose and/or effect of Defendants’ co-packing

arrangements is to avoid scrutiny from antitrust regulators that would come with formal merger

arrangements, including possible discovery of Defendants’ anticompetitive agreement to reduce

the supply of Broilers in the U.S.

               (v)     The Broiler Industry Has A History of Government Investigations And
                       Collusive Actions.

       315.    In April 1973, the United States Department of Justice filed a civil antitrust action

against the National Broiler Marketing Association (“NBMA”) alleging the NBMA and its

members conspired to fix Broiler prices and restrict Broiler production in violation of Section 1

of the Sherman Act. The DOJ sought to enjoin the NBMA and its dozens of members from

continuing a conference call program where members (and even some non-members)

coordinated the pricing and production of Broilers. In response, numerous private civil antitrust

actions were filed against the NBMA and 42 individual defendants in the In re Chicken Antitrust

Litigation case. The NBMA and Broiler producers eventually settled the case, resulting in a

settlement of roughly $30 million.

       316.    Beginning in 2010, the USDA undertook a series of public workshops to explore

competition issues in the upstream, contract-farmer Broiler market.            A workshop held in

Normal, Alabama, on May 21, 2010, focused on corporate concentration and lack of

competition in the Broiler industry. The workshops led to the proposal of new rules aimed at

encouraging competition in the meat industry, but extreme political pressure from Defendants




                                               101
     Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 106 of 131 PageID #:106




and their allies eventually watered down the rule and led to the resignation of the official charged

with imposing tougher regulations.

         317.   In 2011, George’s Inc. acquired the Harrisonburg, Virginia processing plant from

Tyson Foods. The DOJ brought an action to stop the acquisition (United States v. George’s,

Inc.),8 which alleged the purchase would impermissibly reduce the available options for contract

farmers to sell their grower services. The DOJ eventually settled with George’s in June 2011

after obtaining an agreement to require George’s to make capital improvements to the facility

that would increase its capacity and permit contract farmers to sell more grower services to the

processing plant.

         318.   According to a June 2014 USDA Report, “the [Broiler] industry faces a range of

public policy issues, [including] competition . . . . [c]oncerns[, including] the exercise of market

power by Broiler integrators have prompted merger litigation, USDA regulatory initiatives,

congressional proposals, and investigations by Federal agencies.”

         319.   Numerous cases in recent years have documented the lack of competition in the

contract-farmer Broiler market, which while upstream in the supply chain from the direct

purchaser market in which Plaintiff purchased chicken from Defendants, suggest an absence of

true competition and instead suggest a practice of coordination and collusion among Defendants.

In cases such as Adams v. Pilgrim’s Pride, No. 2:090-cv-00397 (E.D. Tex.), Been v. O.K.

Industries, No. 08-7078 (E.D. Okla.), and Wheeler v. Pilgrim’s Pride Corp., No. 5:06-cv-00004

(E.D. Tex.), contract-farmers have alleged violations of the Packers and Stockyards Act by

integrated Broiler producers.




8
    United States v. George’s Foods, LLC et al., No. 5:11-cv-00043 (W.D. Va.).
                                               102
  Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 107 of 131 PageID #:107




               (vi)    Existence of Numerous Trade Associations and Access to Competitors’
                       Data through Agri Stats

       320.    The existence of industry trade associations makes a market more susceptible to

collusive behavior because they provide a pretext under which co-conspirators can engage in

anticompetitive conduct. Industry trade associations also provide mechanisms for sharing

information, and monitoring, deterring, detecting and punishing cheating. The following U.S.

chicken industry trade associations, all of which count all or nearly all Defendants as members,

allowed Defendants to coordinate their price-fixing and supply restriction conspiracy: National

Chicken Council, United States Poultry & Egg Export Council, U.S. Poultry & Egg Association,

Georgia Poultry Federation, North Carolina Poultry Federation, and Poultry Federation

(representing chicken producers in Arkansas, Missouri and Oklahoma). Indeed, according to

Communication in Poultry Grower Relations: A Blueprint to Success, a book written by a

management consultant affiliated with the U.S. Poultry & Egg Association, “representatives

from the various [chicken producers] readily share information while attending the numerous

seminars offered by the U.S. Poultry & Egg Association, National Chicken Council” and other

trade groups, further noting that “industry leaders realize the industry’s tremendous potential,

and their spirit of cooperation is based on knowing that which is good for individual companies

is good for the industry.”

       321.    Defendants are members of several Broiler-related trade associations and other

forums, which they used to facilitate their conspiratorial conduct. Integrated Broiler producers

have numerous regular events through which they can communicate in person with one another.

Regular and frequent attendance by Defendants’ CEOs and top level executives at trade

association meetings is the norm rather than the exception.




                                               103
  Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 108 of 131 PageID #:108




       322.    According to its website, “[t]he National Chicken Council represents integrated

chicken producer-processors, the companies that produce, process and market chickens.

Member companies of NCC account for approximately 95 percent of the chicken sold in the

United States.” The CEOs of the top integrated Broiler producers are routinely on the board of

directors and meet at least quarterly with one another through the NCC.

       323.    The NCC has three annual board meetings attended by Defendants’ senior

executives, including most or all Defendants’ CEOs and other top executives. CEOs generally

always attend the following three NCC meetings each year, in addition to special committee

meetings or other special NCC events: (a) the January meeting of the NCC held along with the

International Poultry Expo, (b) the mid-year Board of Directors meeting, and (c) the NCC

Annual Meeting in October. Generally, CEOs arrive the night before an NCC meeting and

socialize with their colleagues, then have small private dinners with one or more of their

competitors’ CEOs or top executives. The next day, the formal NCC meetings are held and

executives from Agri Stats and other allied industry organizations make presentations at the

meeting. A formal lunch is held during the meeting and provides CEOs and top executives and

opportunity to talk casually with their competitors. Following the meeting, Defendants’ CEOs

and top level executives often meet, socialize and golf, hunt, or fish together.

       324.    Upon information and belief, CEOs and top level executives from Defendants

discuss topics with one another relating to pricing, production, and other non-public, proprietary

information outside of NCC’s formal meetings at the informal settings surrounding NCC

meetings described above. These regular, informal, and in-person opportunities to discuss

pricing and production in the Broiler industry gives CEOs and top level executives comfort that

their competitors remain committed to a plan to artificially restrict Broiler production.



                                               104
  Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 109 of 131 PageID #:109




       325.    The United States Poultry & Egg Export Council (“USAPEEC”) has its home

office in Stone Mountain, Georgia. Defendants are members of USAPEEC. USAPEEC has a

network of international offices and consultants in key export markets.         The mission of

USAPEEC is to promote exports of U.S. poultry and eggs around the world. The group has

evolved into an association that is an advocate for the industry on trade policy issues.

USAPEEC has about 200 member companies and organizations. USAPEEC holds Board of

Directors meetings quarterly and includes executives from all or nearly all Defendants and co-

their conspirators.

       326.    The U.S. Poultry & Egg Association (“U.S. Poultry”) describes itself as the

world’s largest and most active poultry organization. U.S. Poultry’s members include producers

and processors of Broilers, turkeys, ducks, eggs and breeding stock, as well as allied companies.

Defendants are all members of U.S. Poultry. U.S. Poultry holds regular Board of Directors

meetings each quarter during January, March, June, and each fall.

       327.    The Georgia Poultry Federation “is a non-profit trade association which

represents the poultry industry in Georgia, the nation’s leading broiler producing state. The

Federation was founded in 1951, and since that time has represented the interests of the entire

poultry industry at the state and federal level on legislative and regulatory matters.”      The

Georgia Poultry Federation’s mission is “[t]o protect and improve the competitive position of the

poultry industry in Georgia, the nation’s leading poultry producing state.” The Georgia Poultry

Federation has regular meetings each April, August, and September which typically are attended

by Defendants’ senior executives. Defendants House of Raeford, Perdue, Fieldale Farms,

Wayne Farms, Tyson, Sanderson Farms, Pilgrim’s, Mar-Jac Poultry, Harrison Poultry, and

Claxton Poultry are members of the Georgia Poultry Federation.



                                              105
  Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 110 of 131 PageID #:110




       328.    The North Carolina Poultry Federation “has been the voice of the North Carolina

poultry industry since 1968.” The mission of the North Carolina Poultry Federation “is to create

a favorable climate for business success for everyone involved in the poultry industry in North

Carolina.” The North Carolina Poultry Federation holds regular meetings each year, including

annual meetings and Board of Directors meetings which typically are attended by Defendants’

senior executives. Defendants Tyson Foods, Perdue, Mountaire Farms, House of Raeford,

Wayne Farms, Sanderson Farms, and Pilgrim’s are each members of the North Carolina Poultry

Federation.

       329.    The Poultry Federation was established in 1954 as a non-profit trade organization

to represent the poultry and egg industries in Arkansas, Missouri, and Oklahoma. In 1998, the

Arkansas, Missouri, and Oklahoma organizations were consolidated and became The Poultry

Federation. The Poultry Federation claims to promote all poultry interests relating to production,

distribution, merchandising, and consumption of poultry, and poultry products. It disseminates

information relating to the various phases of the Broiler industry to improve and expand markets,

to increase efficiency in production and marketing, and to encourage and support research in

production and marketing of poultry. The Poultry Federation holds regular meetings each year,

including Board of Directors meetings with Defendants’ senior executives identified below.

Defendants Foster Farms, O.K. Industries, Inc., Pilgrim’s, Simmons Foods, Peco Foods, Tyson

Foods, George’s, Inc., and Wayne Farms are each members of the Poultry Federation.

       330.    The International Poultry Expo (“IPE”) was held annually from 2008-2012. The

IPE billed itself as “the networking hub of the world for the poultry industry.” The IPE was held

annually in late January in Atlanta, Georgia. Defendants’ senior executives, and numerous

mid-level executives and other employees, attended the IPE each year. The International



                                              106
  Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 111 of 131 PageID #:111




Producers and Processors Expo (“IPPE”) is the world’s largest annual poultry, meat, and

feed industry event. IPPE held its first event in January 2013 and combined three previously

separate expos—the IPE, the International Feed Expo, and the International Meat Expo.

According to the IPPE’s website, a wide range of international decision-makers attend this

annual event to network and become informed on the latest technological developments and

issues facing the industry. The 2015 IPPE featured more than 7,245 international visitors from

over 103 countries, including attendees from Chile, France, Singapore, and Australia. IPPE

indicates that Defendants each sent their “Top Management” to the 2014 IPPE in January 2014.

The most popular panel each year is the “market intelligence” forum, which features an Agri

Stats executive speaking regarding the Broiler industry.       Similarly, Defendants’ senior

executives attended IPPE in 2015 and 2016.

       331.   The International Poultry Council (“IPC”) was formed in 2005 and is composed

of national trade associations from 23 countries, as well as 40 individual companies that are

“Associate” members. The IPC website bills the organization as the “voice of the global poultry

industry” and its mission is to “strengthen communication between the industries of different

countries.” The NCC, USAPEEC, and USPOULTRY are members of the IPC on behalf of

United States poultry producers, along with individual company members of the IPC, including

Tyson, Cobb-Vantress (a Tyson subsidiary), Sanderson Farms, and JBS S.A. (Pilgrim’s parent

company). Additionally, the Chilean poultry trade association (“APA”) and the Australian

Chicken Meat Federation (“ACMF”) are also members of the IPC.

       332.   Defendants’ CEOs and senior executives participate in numerous investor

conferences organized by Wall Street analysts, providing further opportunities to meet and

communicate with one another. Such conferences are held on an annual and/or ad hoc basis



                                             107
  Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 112 of 131 PageID #:112




including, but not limited to, the Goldman Sachs Global Staples Forum (held every May), Bank

of America Merrill Lynch Global Agriculture Conference (held every February), BMO Capital

Markets Annual Ag & Protein Conference (held every May), BMO Capital Markets Conference

(held every May), BMO Farm to Market Conference (held every May), Urner Barry Annual

Executive Conference and Marketing Seminar (held every April or May), and JP Morgan Basic

Materials Conference (held every June).

       333.    Defendants also permitted one another to tour each other’s Broiler plants, which

revealed confidential business methods employed by a company. While such tours were often

framed as “best practices” information exchanges, they permitted the opportunity to conspire

among senior executives.

       334.    Defendants also accessed each other’s above-described data through co-

Defendant Agri Stats to monitor cheating in the conspiracy. Agri Stats acted as an active

facilitator of Defendants’ conspiracy.

               (vii)   High Barriers to Entry.

       335.    The existence of high barriers to entry is one factor which makes markets

susceptible to collusion. A collusive arrangement that raises product prices above competitive

levels would, under basic economic principles, attract new entrants seeking to benefit from the

supracompetitive pricing. Where, however, there are significant barriers to entry, new entrants

are less likely. Thus, barriers to entry help facilitate the formation and maintenance of a

conspiracy.

       336.    The existence of high entry barriers in the U.S. chicken market is demonstrated by

the trend of increasing consolidation, with larger vertically integrated companies increasing their

control over the industry. Beyond the issue of vertical integration, there is a wide range of

government food safety, worker safety, and environmental regulations that must be addressed by
                                                 108
  Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 113 of 131 PageID #:113




any new entrant into the chicken market. The existence of low, and highly variable, profit

margins also act as significant barriers to entry. With such barriers to entry, companies that have

the available resources and significant start-up capital to enter the market and benefit from

economies of scale are able to reduce their average cost by producing more. Companies already

in the market—such as Defendants—are motivated to exclude other companies from the market

to maintain their coordinated supply restriction conspiracy, and ultimately keep prices at

artificially inflated levels.

        337.    Substantial barriers impede entry into the Broiler market. A new entrant into

the market would face costly and lengthy start-up costs, including multi-million dollar costs

associated     with   research   and   development, construction of processing plants, feed mills,

hatcheries, equipment, energy, transportation distribution infrastructure (aka, “rolling stock”),

skilled labor, experienced management, a skilled contract-farmer base in a specific geographic

area, long-standing customer relationships, safety and quality assurance, and regulatory

approvals relating to environmental, worker safety, and food safety issues.

        338.    Defendants themselves acknowledge the substantial costs of entering the market

and view it as important that new entrants not be able to purchase closed facilities. For example,

when the State of Louisiana pressured Pilgrim’s to sell its closed Farmerville Broiler complex,

Pilgrim’s executives expressed concern about any state assistance to the buyer to purchase the

Farmerville Broiler complex because such assistance could substantially reduce the buyer’s cost

basis therein, which could then permit the buyer to flood the market with low-cost Broilers.

        339.    The price of construction of a new integrated Broiler processing complex

(hatchery, feed mill, and processing plant) able to compete on price with current integrated

producers is relatively high. Even for a current market participant, such as the third-largest



                                                109
  Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 114 of 131 PageID #:114




producer (Sanderson Farms), construction of a new Broiler complex (i.e., feed mill, hatchery,

and processing plant) in 2010 was estimated to cost $100-$125 million. However, these costs

fail to account for other hurdles to new market participants, discussed above.

       340.    The barriers to entry in the Broiler industry have proved insurmountable for

potential new market entrants. No company has created a new poultry company from scratch in

decades. Further, when one foreign meat company (a Ukrainian company, Omtron) tried to enter

the U.S. market in February 2011 by buying a portion of the assets of bankrupt Broiler producer

Townsend’s, Omtron invested $35 million to improve the facility’s processing operations, but

went bankrupt only five months after making the purchase.

       341.    A number of large foreign meat conglomerates have acquired U.S. Broiler

producers in the past decade, including Brazil’s JBS S.A. (Pilgrim’s), Mexico’s Industrias

Bachoco (O.K. Foods), Belgian company Continental Grain Company (Wayne Farms), and

Marfig Alimentos S.A. (Keystone Foods). However, each of these foreign meat conglomerates

were already large players in the global meat industry and simply continued operating their pre-

existing U.S. Broiler company as a subsidiary. Ownership of U.S. Broiler subsidiaries by such

large, well-financed conglomerates deter entry by smaller, non-globalized companies that might

want to enter the U.S. Broiler production business.

       342.    A further barrier to new entrants is the unwillingness of large vertically integrated

producers to sell an idled Broiler complex, which also keeps open the threat that an integrated

producer will restart a closed Broiler complex. Pilgrim’s has been explicit about this threat to

new market entrants. For instance, in a February 2014 earnings call, Pilgrim’s was asked

whether it had any plans to sell “a couple of idled U.S. facilities . . . to use that as a source of

capital,” to which Pilgrim’s CFO Fabio Sandri replied “[n]o. We are thinking those are held



                                               110
  Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 115 of 131 PageID #:115




defensive, so we don’t plan to sell them in this short-term or in the near future.” Such a threat of

restarting idled facilities, rather than selling those facilities, represents a substantial barrier to

entry for new market participants because an existing Broiler producer can merely restart a

closed mill to drive down prices and run a new entrant out of business.

               (viii)   Defendants Have Similar Cost Structures And Work Collaboratively To
                        Share Cost Information

       343.    Another factor antitrust law and economics have identified as making markets

susceptible to price-fixing is similar cost structures.     The majority of production costs for

Broiler producers are variable. All other factors being equal, when variable costs are a high

percentage of production costs, there is less incentive for a producer to operate its facilities at

full capacity, and this may allow a group of producers to boost prices artificially with greater

success than when fixed costs are the largest component of production costs.

       344.    The single largest cost component of producing Broilers is feed, which primarily

consists of soybean meal and corn. Broiler feed prices have varied widely from 2007-2016,

reaching 71% of the cost of growing Broilers in 2012, but falling to only about 50% by 2014.

       345.    Input costs other than feed include processing plant labor costs (~15%), materials

(~11%), and capital equipment (~2.5%). Labor costs have declined significantly over the past

two decades for Defendants, while at the same time labor productivity has substantially

increased.

       346.    Broiler feed costs have been decreasing sharply since record highs in 2012. For

instance, prices for soybean meal were down 10% in 2014. Since January 1, 2008, corn prices

have declined roughly 21% and soybean prices have declined 13%. During the same period,

Broiler prices increased roughly 50%.




                                                111
  Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 116 of 131 PageID #:116




       347.     Defendants have relatively similar cost structures. The technology and process

of industrial scale growing and processing Broilers is well known and Defendants employ the

same types of equipment and processes in the production process. Defendants also have only

three companies from which they can obtain breeder stock from which to raise Broilers, so there

are very limited options with respect to purchasing the most cost efficient Broiler genetic lines.

Similarly, Defendants all purchase corn and soybeans on the open market, so they have limited

ability to obtain substantially different pricing on these key variable cost inputs for their Broilers.

       348.     Defendants use Agri Stats to share extraordinarily detailed cost information (as

discussed below), so they are able to constantly realign their cost structures with one another.

Agri Stats permits each Defendant to have extremely unusual knowledge of competitor costs and

to make adjustments to standardize each company’s cost structure across all Agri Stats

participants.

       349.     Defendants engage in a program of “feedmill cross-testing” in which some

Defendants exchange feed and chicks with one another for the purported purpose of determining

which Defendants’ feed and/or chicks have superior qualities. Defendants claim this strategy

helps them maximize efficiency. However, it is not economically rational in a truly competitive

market for a producer to provide its proprietary feed mixes and/or chicks to its competitor,

thereby giving away any competitive cost advantage over its competitors.

       350.     Another sign that Defendants do not view production costs as secret is the fact

that it is not unusual for Defendants to permit competitor’s CEOs access to each other’s

production complexes.      In a competitive industry, production methods typically are closely

guarded to protect proprietary methods of production that save a company money and give it a

competitive advantage over its competitors.         However, this is not the case in the Broiler



                                                 112
  Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 117 of 131 PageID #:117




industry. For example, from April 19-21, 2013, Pilgrim’s President & CEO Bill Lovette, Perdue

Chairman of the Board Jim Perdue, and Sanderson Farms President & COO Lampkin Butts

attended a three day long “Chicken Media Summit” in North Carolina that included visits by

attendees to a Sanderson Farms growhouse and processing plant. Similarly, from April 19-21,

2015, another Chicken Media Summit was sponsored by the NCC and USAPEEC and included

tours of Perdue’s operations and panel discussions with Defendants’ senior executives.

       F.      Defendants Collusively Adopted Additional Strategies to Reinforce Their
               Conspiracy

       351.    Defendants collectively adopted several strategies to buttress and sustain their

conspiracy.

               (i)    A Collective Shift Away from Long-Term Fixed-Price Contracts

       352.    First, starting in 2008, the Defendants moved away from long-term fixed-price

contracts to shorter-term contracts with variable pricing pegged to one of several publicly-

available price indices (including the USDA composite Urner-Barry, and the Georgia Dock). A

coordinated move away from fixed price contracts to contracts permitting prices to fluctuate with

an indexed public market price helps facilitate an antitrust conspiracy. See In re High Fructose

Corn Syrup Antitrust Litig., 295 F.3d 651, 659 (7th Cir. 2002). Defendants’ shift indicates that

they anticipated higher prices resulting from their production cuts, and wanted the flexibility to

take advantage of such increased prices.

       353.    Starting around January 2008, senior executives from Koch Foods, Pilgrim’s,

Perdue, Sanderson Farms, and Tyson publicly announced an effort to reduce annual fixed-price

contracts. This change coincided with Defendants’ efforts to reduce chicken industry supplies so

as to drive chicken market prices higher.




                                              113
  Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 118 of 131 PageID #:118




       354.    On January 28, 2008, Tyson CEO Dick Bond announced on an earnings call that

Tyson was looking at shortening its fixed price contracts, and by June 2009 Tyson reported it

had “dramatically” shortened the amount of fixed-price contracts over 90 days.

       355.    On January 29, 2008, Pilgrim’s CFO Rick Cogdill reported on an earnings call

that Pilgrim’s had started moving away from fixed-price contracts, noting that “in a situation like

where we are now where we need to drive commodity prices up, that [i.e., having less fixed price

contracts] is going to give us the opportunity for more immediate benefit to our P&L than what

we would have had say, historically three year[s] ago, when a higher percentage was fixed

price.” Pilgrim’s later reported that by March 2012, it had reduced its exposure to fixed price

contracts, with most contracts now market-based or including a reset provision linked to the

underlying commodity. By 2014, Pilgrim’s reported that less than 5% of all its contracts were

12-month fixed price contracts.

       356.    On July 28, 2008, Perdue spokesperson Julie DeYoung told an industry

publication that Perdue was looking to shorten its contract terms, stating, “the company is also

seeking to raise prices and shorten its contracts.”

       357.    Sanderson Farms’ CEO Joe Sanderson noted in a July 31, 2008, earnings call that

the industry may move towards “shorter term agreements.”

       358.    Industry observers noted the trend of Broiler producers moving away from fixed

price contracts. For instance, a December 2013 report by Stephens, Inc. analyst Farha Aslam

noted that “[w]ith volume growth generally limited, companies are developing more

sophisticated strategies to generate profits . . . . ‘Rather than annual fixed price contract[s] that

are negotiated every fall, companies are partnering with customers and creating contracts that

can be multi-year in duration. Contracts are now being negotiated all year long and employ a



                                                114
  Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 119 of 131 PageID #:119




wide variety of pricing methodologies.’” This confirms that even contracts which are long-term

in duration are not “fixed” so as to prevent price increases when coordinated supply reductions

drive up Broiler market price indices.

               (ii)   Inter-Defendant Sales

       359.    Second, Defendants use direct purchases of chickens from one another and from

smaller producers to meet each company’s own sales needs. In addition to exemplifying the

commodity nature of the chicken market, these inter-Defendant sales allowed Defendants to soak

up excess supply that could potentially depress prices in the market and facilitated the

opportunity to expressly discuss prices with competitors.       Such purchases also permitted

companies to maintain market share despite reducing their production. In many instances large

inter-Defendant purchases were negotiated by CEOs or other senior level executives of

Defendants, thereby providing additional opportunities to conspire.

       360.    In 2011, for example, Tyson began using what was described as a “very unique

strategy,” called “Buy vs. Grow.” Tyson’s strategy essentially treated the industry supply as

though it were for a single unified company, rather than competing businesses that would rather

sell self-produced product to a customer than a competitor. Tyson’s adoption of this strategy

was indeed “unique,” because only a few years prior to adopting the “Buy vs. Grow” strategy, it

had derided a similar strategy as a “stupid” subsidization of competitors’ growth, with a Tyson

executive explaining on an April 29, 2008 earnings call that “I think what we said along is we’re

going to match our supply and demand. We’re not going to cut beyond that and then go out and

buy open market meat to subsidize other people’s growth.” Tyson’s strategic shift in 2011 to

buying chicken on the open market is evidence that by that time, it was confident that its fellow

producers would maintain their production levels as they were and not increase them.



                                              115
  Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 120 of 131 PageID #:120




       361.    In a November 5, 2012, interview, Fieldale President Thomas Hensley noted his

company was also pursuing a strategy to purchase excess supply from its competitors, stating

that “[i]f you don’t have a home for your chickens on Monday morning, you shouldn’t have

those chickens. Now we know where all our chickens are going. So we are buying chickens in

that lower price area instead of selling them. So, no expansion for us.”

       362.    By the end of 2014, Tyson reported it was buying over four million pounds of

chickens on the open market each week. Four million pounds of chicken per week is more than

any of the 24th-30th largest chicken companies produce on a weekly basis, so the amount of

Tyson’s purchases was quite significant.

       363.    During the first part of 2015, Tyson increased its Buy vs. Grow purchases by 50

percent, expanding its purchases from competitors to unprecedented levels. Tyson announced

plans in May 2015 to increase its Buy vs. Grow strategy to 10 percent of its sales in the second

half of 2015 and 2016. Ten percent of Tyson’s 2014 ready-to-cook pounds was 17.6 million

pounds per week, a volume that by itself would dwarf the entire average weekly production of

any of the 15th-30th largest chicken producers. Notably, Tyson also announced in May 2015

that it planned to reduce its production after July 2015 and keep it flat through 2016 by

increasing its Buy vs. Grow purchases.

               (iii)   Atypical Increases in Defendants’ Exporting of Chickens

       364.    Third, during 2013 and into 2014, Defendants found new ways to actively depress

the size of breeder flocks, such as using the pretext of avian flu in Mexico to justify exporting

flock chickens to Mexico to repopulate flocks rather than use such chickens to increase domestic

production levels. Indeed, Defendants continued their program of exporting chicken hens and

eggs to Mexico in 2015, with Tyson explicitly noting in a May 4, 2015, earnings call that it was

sending 3 percent of its eggs to Mexico to “fill incubators.”
                                               116
  Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 121 of 131 PageID #:121




       365.    Similarly, during a July 2016 earnings call, Pilgrim’s CEO Bill Lovette noted his

“confidence that we’re going to do the right thing with respect to maintaining [] discipline.

We’ve certainly had the hatching egg supply to grow much more if we chose not to export those

eggs. I think in May we exported 81 million hatching eggs or so outside of the country. The

industry could have chosen to set some of those eggs domestically, but that was not the choice

that was made. And so again that gives us confidence that we’re going to continue to be

disciplined as an industry.”

       366.    Defendants’ coordinated exportation of chicken hatching eggs, from 2013 through

2016, was an active effort to artificially reduce the supply of chickens in the U.S. below what it

would have been absent their active and continued participation in an illegal antitrust conspiracy.

       367.    Tyson and other Defendants exported hatching eggs to Mexico and other foreign

countries from 2013-2016 with the intent to artificially reduce the supply, and increase the price,

of chickens in the U.S. The revenues Tyson and others received for exporting hatchery eggs to

Mexico was far less than they would have generated hatching those same eggs and selling the

chicken meat in the U.S. market. Thus, but for Defendants’ agreement and conspiracy as alleged

in this Complaint, it would have been against Tyson’s independent economic self-interest to

export hatching eggs to Mexico and forego higher hatching egg prices in the U.S.               But

Defendants’ new-found “discipline” ameliorated any remaining risk and resulted in higher

overall U.S. chicken prices.

       368.    Some of the Defendants, including Wayne Farms, Peco Foods, Sanderson Farms,

Pilgrim’s, and Tyson, participated in Overseas Distribution Solutions (“ODS”), an organization

of exporters founded in 1999 that operated through 2011. As alleged above, those exports were




                                               117
  Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 122 of 131 PageID #:122




part of Defendants’ conspiratorial efforts to artificially reduce supply and raise prices of chicken

sold in the United States.

       G.      The Statute of Limitations Does Not Bar Plaintiff’s Claims

               (i)     Plaintiff Did Not Discover (and Could Not Have Discovered) the
                       Conspiracy Until 2016

       369.    Plaintiff had neither actual nor constructive knowledge of the facts constituting its

claims for relief. Plaintiff did not discover, and could not have discovered through the exercise of

reasonable diligence, the existence of the conspiracy alleged herein until approximately 2016.

Defendants engaged in a secret conspiracy that did not reveal facts that put Plaintiff on inquiry

notice that there was a conspiracy to fix prices for chickens.

       370.    With respect to the output-restriction element of Defendants’ conspiracy, Plaintiff

did not discover, nor could have discovered through the exercise of reasonable diligence, the

facts supporting their claims for relief, until the filing of a direct purchaser class action,

Maplevale Farms, Inc. v. Koch Foods, Inc. et al., in this District in September 2016. The filing

of the Maplevale Farms complaint, which alleges a class of which Plaintiff is an absent member,

caused Plaintiff and its counsel to start an independent and extensive investigation into the facts

alleged in this Complaint.

       371.    With respect to the manipulation of the Georgia Dock, a January 18, 2016 Wall

Street Journal article regarding Defendants’ possible manipulation of the Georgia Dock

benchmark price raised the possibility of collusion to artificially raise, fix, or maintain chicken

prices using the Georgia Dock.       Subsequently, a series of articles in various publications

published between November 3 and 17, 2016, detailed for the first time that the USDA had

discontinued its reliance on the Georgia Dock benchmark price because its input prices could not

be verified.


                                                118
  Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 123 of 131 PageID #:123




       372.    Yet even when faced with these public revelations, Defendants continued to assert

the fairness and accuracy of the Georgia Dock benchmark price. For example, in a November 8,

2016, Washington Post article, Defendant Sanderson Farms represented that the Georgia Dock

benchmark price was “reliable,” so as to induce purchasers of chickens to believe the benchmark

price was not subject to illegal manipulation by the Georgia Dock Defendants.          Not until

November 10, 2016, was it disclosed publicly that the Georgia Dock Defendants had formed a

secret Georgia Dock Advisory Board that facilitated opportunities for executives to meet and

also discuss their scheme to fix the Georgia Dock benchmark price. The existence of this Board

was not known to Plaintiff, nor would it have been able to learn of how Defendants’ executives

conducted themselves in their non-public Georgia Dock Advisory Board meetings. Not until

November 17, 2016, was it publicly disclosed that the Florida Attorney General’s Office was

investigating the Georgia Dock benchmark price and its calculation and manipulation by the

Georgia Dock Defendants.

       373.    Defendants’ anticompetitive conspiracy, by its very nature, was self-concealing.

Chickens are not exempt from antitrust regulation, and thus, before these recent events Plaintiff

reasonably considered the U.S. chicken industry to be a competitive industry. Accordingly, a

reasonable person under the circumstances would not have been alerted to begin investigating

the legitimacy of Defendants’ chicken prices before these recent events.

       374.    Plaintiff exercised reasonable diligence.   Plaintiff could not have discovered

Defendants’ alleged conspiracy at an earlier date by the exercise of reasonable diligence because

of the deceptive practices and techniques of secrecy employed by Defendants.

               (ii)   Defendants Actively Concealed Their Conspiracy

       375.    Throughout the relevant period, Defendants effectively, affirmatively, and

fraudulently concealed their unlawful combination and conspiracy from Plaintiff.
                                              119
  Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 124 of 131 PageID #:124




       376.    The combination and conspiracy alleged herein was fraudulently concealed by

Defendants by various means and methods, including, but not limited to, (1) secret meetings, (2)

surreptitious communications between Defendants via the wires (telephones, emails, text

messages and other electronic communications) and in-person meetings at trade association

meetings (and elsewhere) in order to prevent the existence of written records, (3) limiting any

explicit reference to competitor pricing or supply restraint communications in documents, (4)

communicating competitively sensitive data to one another through Agri Stats, a “proprietary,

privileged, and confidential” system that kept both the content and participants in the system

secret, and (5) concealing the existence and nature of their competitor supply restraint and price

discussions from non-conspirators (including customers).

       377.    Defendants used code words including “discipline” and “capacity discipline” in

their public statements to conceal their conspiracy and signal one other in furtherance of their

conspiracy to restrain production while shielding their conspiracy from detection or suspicion.

As alleged above, specific examples of the use of such coded language include, without

limitation: (1) the National Chicken Council’s Annual Conference in October 2011 where a

report reflected that panel members Clint Rivers (then of Perdue) and Mark Kaminsky of Koch

Foods noted that “[d]iscipline on the supply side was one suggestion” to increase chicken prices;

(2) on a May 3, 2013, earnings call, Pilgrim’s President & CEO Bill Lovette stated that “price is

going to strengthen as supply continues to be disciplined and constrained….and “we’ve done a

good job so far of maintaining discipline;” and (3) on a July 2016 earnings call Lovette noted

that “I think what we’ve seen with egg sets is absolutely a testament to the discipline of our

industry that we’ve seen the last really two to three years.”




                                                120
  Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 125 of 131 PageID #:125




       378.    As alleged above, in 2008, after years of boom and bust cycles of production

leading to the regular rise and fall of prices, the price of chickens began an unprecedentedly

steady increase that continued at least through 2016. Defendants affirmatively and falsely

attributed rising prices to, among other things, increases in the price of inputs. Defendants used

these pretexts used to cover up the conspiracy. In fact, the chicken price increases were the

result of Defendants’ collusive conduct, which was undisclosed at the time.

       379.    During the relevant period, Defendants affirmatively made numerous misleading

public statements falsely portraying the market for chickens as a competitive one. For example,

Defendants provided testimony at workshops held by the U.S. Department of Justice and USDA

suggesting the chicken industry was competitive and not subject to anti-competitive practices

and agreements, including testimony at a May 21, 2010 workshop of a National Chicken

Council-commissioned study by Dr. Thomas Elam, which stated that “the chicken industry is

competitive and thriving,” and has “[i]ntense competition” that promotes “product innovation

and lower prices for consumers.”

       380.    To explain the decreasing supply of chickens since 2012, Defendants have

provided a variety of pretextual explanations, including: (1) a breeding issue with chickens

during 2014, (2) a Russian ban of U.S. chicken imports starting in 2014, and (3) a 2013 shortage

in supply due in part due to an Avian Flu outbreak in Mexico that caused a surge in demand for

hens to repopulate chicken farms in Mexico.         These explanations were pretextual in that

Defendants sought to hide their conspiracy from discovery by blaming chicken price increases

on these factors rather than Defendants’ own collusive conduct (including their unprecedented

cuts to breeder flocks).




                                              121
  Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 126 of 131 PageID #:126




       381.    Throughout the relevant period, Defendants repeatedly also cited increasing input

costs as a pretext for their collusion to restrain supply and increase prices.        For instance,

Defendants repeatedly claimed that input cost increases during 2008 justified chicken price

increases. However, while corn was $5/bushel in 2005-2006 and increased to $9 by May or June

2008, it quickly fell back to below $5/bushel by fall 2008. Higher chicken prices later in the

relevant period also were not justified by increased costs of corn, which, after a temporary spike

in the summer of 2012, were not increasing at the level that would have warranted higher

chicken prices. Defendants, through the National Chicken Council, other trade groups, and press

releases, speeches, and other public statements by their employees, also repeatedly and publicly

blamed the federal government’s ethanol mandate for increased chicken prices, asserting that it

increased their corn costs. Defendants made all of these pretextual representations to conceal

their conspiracy and avoid disclosing their agreement to illegally restrain the supply of chickens.

       382.    By virtue of Defendants actively and intentionally concealing their above-

described wrongful conduct, the running of any applicable statute of limitations has been (and

continues to be) tolled and suspended with respect to Plaintiff’s claims and causes of action

resulting from Defendants’ and Agri Stats’ unlawful combination and conspiracy alleged in this

Complaint under the fraudulent concealment doctrine and/or doctrine of equitable estoppel.

               (iii)   Plaintiff’s Claims Were Tolled By the Direct Purchaser Class Action
                       Complaint Filed in 2016

       383.    Plaintiff was a member of direct purchaser class action complaint asserted against

Defendants, including, but not limited to Maplevale Farms, Inc. v. Koch Foods, Inc., et al., No.

1:16-cv-08637 ( Dkt. No. 1) (N.D. Ill. Sept. 2, 2016).




                                               122
  Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 127 of 131 PageID #:127




       384.     Plaintiff’s claims were tolled under American Pipe & Construction Co. v. Utah,

414 U.S. 538 (1974), and related authorities during the pendency of that direct purchaser class

action asserted against Defendants, commencing at least as early as September 2, 2016.

    VI.    ANTITRUST IMPACT

       385.     Defendants’ conspiracy had the following effects, among others:

               Price competition has been restrained or eliminated with respect to Broilers;

               The prices of Broilers have been fixed, raised, stabilized, or maintained at
                artificially inflated levels; and

               Purchasers of Broilers have been deprived of free and open competition among
                Defendants.

       386.     During the relevant period, Plaintiff purchased chicken from nearly all of the

Defendants (and their affiliates). As a direct and proximate result of Defendants’ above-

described illegal conduct, Plaintiff was compelled to pay, and did pay, artificially inflated prices

for chickens.

       387.     As a direct and proximate consequence of Defendants’ and Agri Stats’ above-

described wrongful conduct, Plaintiff sustained substantial losses and damage to their businesses

and property in the form of overcharges for chickens.           The full amount and forms and

components of such damages will be calculated after discovery and presented upon proof at trial.

   VII.    CLAIMS FOR RELIEF AND CAUSES OF ACTION

                                        COUNT I
                                VIOLATION OF 15 U.S.C. § 1
                               (AGAINST ALL DEFENDANTS)
       388.     The preceding factual statements and allegations are incorporated by reference.

       389.     Defendants entered into and engaged in a combination or conspiracy in

unreasonable restraint of trade in violation of Section 1 of the Sherman Act, 15 U.S.C. § 1.



                                                123
  Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 128 of 131 PageID #:128




       390.    Defendants’ acts in furtherance of their combination or conspiracy were

authorized, ordered, or done by their officers, agents, employees, or representatives while

actively engaged in the management of Defendants’ affairs.

       391.    At least as early as January 1, 2008, and continuing until at least as late as 2016,

the exact dates being unknown to Plaintiff, Defendants entered into a continuing agreement,

understanding and conspiracy in restraint of trade to fix, raise, stabilize, and maintain prices for

Broilers, thereby creating anticompetitive effects.

       392.    Defendants’ anticompetitive acts involved United States domestic commerce and

import commerce, and had a direct, substantial, and foreseeable effect on interstate commerce by

raising and fixing prices for Broilers throughout the United States.

       393.    The conspiratorial acts and combinations have caused unreasonable restraints in

the market for Broilers.

       394.    As a result of Defendants’ unlawful conduct, Plaintiff has been harmed by being

forced to pay inflated, supracompetitive prices for Broilers.

       395.    In formulating and carrying out the alleged agreement, understanding and

conspiracy, Defendants did those things that they combined and conspired to do, including but

not limited to the acts, practices, and course of conduct set forth in this Complaint. Defendants’

conspiracy had the following effects, among others:

              Price competition in the market for Broilers has been restrained, suppressed,
               and/or eliminated in the United States;

              Prices for Broilers sold by Defendants, their divisions, subsidiaries, and affiliates,
               and all of their co-conspirators have been fixed, raised, stabilized, and maintained
               at artificially high, non-competitive levels throughout the United States; and

              Plaintiff, which directly purchased Broilers from Defendants, their divisions,
               subsidiaries, and affiliates, and all of their co-conspirators, has been deprived of
               the benefits of free and open competition in the purchase of Broilers.


                                               124
  Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 129 of 131 PageID #:129




          396.   Defendants took all of the actions alleged in this Complaint with the knowledge

and intended effect that their actions would proximately cause the price of Broilers on the spot

market to be higher than it would be but for Defendants’ conduct. Defendants also knew and

intended that such an artificial inflation of spot market prices would increase other Broiler

market prices, including those paid by Plaintiff.

          397.   As a direct and proximate result of Defendants’ anticompetitive conduct, Plaintiff

has been injured in its business or property and will continue to be injured in its business and

property by paying more for Broilers than they would have paid and will pay in the absence of

the conspiracy.

          398.   The alleged contract, combination, or conspiracy is a per se violation of the

federal antitrust laws.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that the Court:

          A.     Enter joint and several judgments against Defendants in favor of Plaintiff;

          B.     Award Plaintiff damages in an amount to be determined at trial to the maximum

extent allowed under federal antitrust laws, and enter a joint and several judgment in favor of

Plaintiff against Defendants in an amount to be trebled to the extent such laws permit;

          C.     Award Plaintiff its post-judgment interest as provided by law, with such interest

to be awarded at the highest legal rate;

          D.     Award Plaintiff its attorneys’ fees, litigation expenses, and costs, as provided by

law; and

          E.     Grant Plaintiff such other and further relief that the Court may deem just and

proper.


                                                 125
  Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 130 of 131 PageID #:130




                                        JURY DEMAND

        Pursuant to Federal Rule of Civil Procedure 38, Plaintiff demands a trial by jury on all

issues so triable.




                                               126
  Case: 1:18-cv-00700 Document #: 1 Filed: 01/30/18 Page 131 of 131 PageID #:131




                                     Respectfully Submitted,



Dated: January 30, 2018                      s/ Jared Kosoglad

                                     Jared Kosoglad (ARDC #6286633)
                                     223 W. Jackson
                                     Suite 200
                                     Chicago, IL 60606
                                     312-513-6000

                                     Scott E. Gant
                                     Jonathan M. Shaw
                                     Kyle Smith
                                     BOIES SCHILLER FLEXNER LLP
                                     1401 New York Avenue, NW
                                     Washington, DC 20005
                                     Tel: (202) 237-2727
                                     Fax: (202) 237-6131
                                     Email: sgant@bsfllp.com

                                     Attorneys for Plaintiff




                                       127
